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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                     §
In re:                                               §
                                                     §    Jointly Administered
DAY ONE DISTRIBUTION LLC, et al.                     §
                                                     §    Under Case No. (24-31133-11)
                                   Debtors. 1        §        (Subchapter V)


              GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
          METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTOR’S
           SCHEDULES OF ASSETS AND LIABILITIES AND STATEMENTS
                          OF FINANCIAL AFFAIRS

        DAY ONE DISTRIBUTION, LLC (“DOD Debtor”) and ZERO DAY NUTRITION
  COMPANY f/k/a GB NUTRITION COMPANY (“ZD Debtor”) (collectively “Debtors”)
  in the above-captioned jointly administered chapter 11 cases have each filed Schedules of
  Assets and Liabilities (collectively the “Schedules”) and Statements of Financial Affairs
  (collectively the “Statements”) in the United States Bankruptcy Court for the Southern
  District of Texas (the “Court”). The Debtors, with the assistance of legal and financial
  advisors, prepared the Schedules and Statements in accordance with section 521 of chapter
  11 of title 11 of the United States Code (the “Bankruptcy Code”) and rule 1007 of the Federal
  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

       These Global Notes and Statement of Limitations, Methodology, and Disclaimers
  Regarding the Debtor’s Schedules and Statements of Financial Affairs (the “Global Notes”)
  are incorporated by reference and comprise an integral part of the Debtors’ respective
  Schedules and Statements and should be referred to and considered in connection with any
  review of the Schedules and Statements.

         While the Debtors have made reasonable efforts to ensure that the Schedules and
  Statements are accurate and complete based on information which was available at the time
  of preparation, the subsequent receipt or discovery of information and/or further review and
  analysis of the Debtors’ books and records may result in material changes to financial data
  and other information contained in these Schedules and Statements, and inadvertent errors or
  omissions may exist.

          The Schedules and Statements do not purport to represent financial statements
  prepared in accordance with Generally Accepted Accounting Principles in the United States
  (“GAAP”). Additionally, the Schedules and Statements contain unaudited information that is
  subject to further review and potential adjustment and reflect each of the Debtor’s reasonable
  efforts to report the assets and liabilities of each of the Debtors.




Global Notes & Disclaimers
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          Nothing contained in the Schedules and Statements shall constitute a waiver of rights
  or judicial admission with respect to each Debtor’s chapter 11 case including, but not limited
  to, any issues involving pending litigation by or against the respective Debtor, or any
  employees, officers, directors, agents, affiliates or insiders of the Debtors, objections to
  claims, equitable subordination, defenses, characterization or recharacterization of contracts,
  and/or causes of action arising under the provisions of chapter 5 of the Bankruptcy Code or
  any other relevant applicable laws to recover assets or avoid transfers.

           The Debtors and each of its officers, employees, agents, attorneys, and consultants do
  not guarantee or warrant the accuracy or completeness of the data that is provided in the
  Schedules and Statements and shall not be liable for any loss or injury arising out of or caused
  in whole or in part by the acts, omissions, whether negligent or otherwise, in procuring,
  compiling, collecting, interpreting, reporting, communicating or delivering the information
  contained in the Schedules and Statements. Except as expressly required by the Bankruptcy
  Code, the Debtors and each of its officers, employees, agents, attorneys, and consultants
  expressly do not undertake any obligation to update, modify, revise, or re-categorize the
  information provided in the Schedules and Statements or to notify any third party should the
  information be updated, modified, revised, or re-categorized. Each of the Debtors, on behalf
  of itself, their officers, employees, agents and advisors disclaim any liability to any third party
  arising out of or related to the information contained in the Schedules and Statements and
  reserve all rights with respect thereto.

          In reviewing and signing the Schedules and Statements, the Debtors’ representative
  relied upon the efforts, statements and representations of each Debtor’s other personnel and
  professionals. The representative has not (and could not have) personally verified the
  accuracy of each such statement and representation, including, for example, statements and
  representations concerning amounts owed to creditors and their addresses.

         The Global Notes are in addition to any specific notes contained in the Schedules or
  Statements. The Schedules and Statements and Global Notes should not be relied upon by
  any persons for information relating to current or future financial conditions, events, or
  performance of the Debtors.


                             Global Notes and Overview of Methodology

 1.         Description of Cases. On March 14, 2024, (the “Petition Date”), DOD Debtor filed a
            voluntary petition for relief under Subchapter V of Chapter 11 of the Bankruptcy
            Code under Case No. 24-31133 and ZD Debtor filed a voluntary petition for relief under
            Subchapter V of Chapter 11 of the Bankruptcy Code under Case No. 24-31134. On
            March 14, 2024, the Court entered an order authorizing joint administration of these
            cases (Docket No. 6).

 2.         Global Notes Control. These Global Notes pertain to and comprise an integral part
            of each of the Schedules and Statements and should be referenced in connection
            with any review thereof. In the event that the Schedules and Statements conflict with
            these Global Notes, these Global Notes shall control.
Global Notes & Disclaimers
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 3.         Reservations and Limitations. Since mid-summer 2023, the Debtors effectively been
            without a CFO or any senior accounting staff to maintain the books and records. As of
            the Petition Date, the books and records of each Debtor were not fully reconciled and
            contained inconsistencies. Shortly before the bankruptcy, the Debtors engaged a
            financial advisor, who has been engaged in the bankruptcy cases, to assist with
            reconciling and correcting the books and records.            The financial advisor and
            management have used their best efforts to ascertain the information required to
            complete the Schedules and Statements. However, certain inconsistencies in the books
            and records have been discovered which could impact the information provided.
            Commercially reasonable efforts have been made to prepare and file complete and
            accurate Schedules and Statements; however, as noted above, inaccuracies,
            inadvertent errors or omissions may exist. The Debtors reserve all rights to amend and
            supplement the Schedules and Statements as may be necessary or appropriate. Nothing
            contained in the Schedules and Statements constitutes a waiver of any of the Debtors’
            rights or an admission of any kind with respect to either of these chapter 11cases,
            including, but not limited to, any rights or claims of either of the Debtor’s against any
            third party or defenses or causes of action arising under the provisions of chapter 5 of
            the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy
            laws to recover assets or avoid transfers. Any specific reservation of rights contained
            elsewhere in the Global Notes does not limit in any respect the general reservation of
            rights contained in this paragraph.

      (a)        No Admission. Nothing contained in the Schedules and Statements is intended or
                 should be construed as an admission or stipulation of the validity of any claim
                 against either Debtor, any assertion made therein or herein, or a waiver of either
                 Debtor’s rights to dispute any claim or assert any cause of action or defense against
                 any party.

      (b)        Recharacterization. Notwithstanding that the Debtors have made commercially
                 reasonable efforts to correctly characterize, classify, categorize, or designate certain
                 claims, assets, executory contracts, unexpired leases, and other items reported in
                 the Schedules and Statements, the Debtors nonetheless may have improperly
                 characterized, classified, categorized, or designated certain items. The Debtors
                 reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                 reported in the Schedules and Statements at a later time as is necessary and
                 appropriate.

      (c)        Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                 Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                 “executory” or “unexpired” does not constitute an admission by either Debtor of the
                 legal rights of the claimant or contract counterparty, or a waiver of either
                 Debtor’s rights to recharacterize or reclassify such claim or contract.


      (d)        Claims Description. Any failure to designate a claim on either Debtor’s Schedules
                 and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
                 an admission by the respective Debtor that such amount is not “disputed,”
                 “contingent,” or “unliquidated.” Debtors reserve all rights to dispute, or assert
Global Notes & Disclaimers
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                 offsets or defenses to, any claim reflected on its respective Schedules and
                 Statements on any grounds, including, without limitation, liability or
                 classification, or to otherwise subsequently designate such claims as “disputed,”
                 “contingent,” or “unliquidated” or object to the extent, validity, enforceability,
                 priority of any claim. Moreover, listing a claim does not constitute an admission
                 of liability by either Debtor against which the claim is listed or by any of the
                 Debtors. The Debtors reserve all rights to amend their respective Schedules and
                 Statements as necessary and appropriate, including, but not limited to, with respect
                 to claim description and designation.

      (e)        Estimates and Assumptions. The preparation of the Schedules and Statements
                 required the Debtors to each make reasonable estimates and assumptions with
                 respect to the reported amounts of assets and liabilities, the amount of contingent
                 assets and contingent liabilities on the date of the Schedules and Statements, and
                 the reported amounts of revenues and expenses during the applicable reporting
                 periods. Actual results could differ from such estimates.

      (f)        Causes of Action. Despite commercially reasonable efforts, the Debtors may not
                 have identified all current and potential causes of action the Debtors may have
                 against third parties in their respective Schedules and Statements, including,
                 without limitation, avoidance actions arising under chapter 5 of the Bankruptcy
                 Code and actions under other relevant bankruptcy and non-bankruptcy laws to
                 recover assets. The Debtors reserve all rights with respect to any causes of action,
                 and nothing in these Global Notes or the Schedules and Statements should be
                 construed as a waiver of any such causes of action.

      (g)        Intellectual Property Rights. Exclusion of certain intellectual property from the
                 Schedules and Statements should not be construed as an admission that such
                 intellectual property rights have been abandoned, have been terminated or
                 otherwise expired by their terms, or have been assigned or otherwise transferred
                 pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
                 intellectual property rights in the Schedules and Statements should not be construed
                 as an admission that such intellectual property rights have not been abandoned,
                 have not been terminated or otherwise expired by their terms, or have not been
                 assigned or otherwise transferred pursuant to a sale, acquisition, or other
                 transaction.

      (h)        Insiders. In the circumstance where the Schedules and Statements require
                 information regarding “insiders,” each Debtor has included information with
                 respect to certain individuals who served as officers and directors, as the case may
                 be, during the relevant time periods. Such individuals may no longer serve in such
                 capacities.

                 The listing or omission of a party as an insider for purposes of the Schedules and
                 Statements is not intended to be, nor should it be, construed as an admission of any
                 fact, right, claim, or defense and all such rights, claims, and defenses are hereby
                 expressly reserved. Information regarding the individuals listed as insiders in the
                 Schedules and Statements has been included for informational purposes only and
                 such information may not be used for: (i) the purposes of determining (A) control
Global Notes & Disclaimers
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                 of the Debtors; (B) the extent to which any individual exercised management
                 responsibilities or functions; (C) corporate decision-making authority over the
                 Debtors; or (D) whether such individual could successfully argue that he is not an
                 insider under applicable law, including the Bankruptcy Code and federal securities
                 laws, or with respect to any theories of liability or (ii) any other purpose.

 4.         Methodology.

      (a)        Basis of Presentation. The Schedules and Statements do not purport to represent
                 financial statements prepared in accordance with Generally Accepted Accounting
                 Principles in the United States (“GAAP”) nor are they intended to be fully
                 reconciled to the financial statements of each Debtor. The Schedules and
                 Statements contain unaudited information that is subject to further review and
                 potential adjustment. The Schedules and Statements reflect each Debtor’s
                 commercially reasonable efforts to report the assets and liabilities of the
                 respective Debtor.

      (b)        Confidential Information. There may be instances in the Schedules and
                 Statements where the Debtors deemed it necessary and appropriate to redact from
                 the public record information such as names, addresses, or amounts. Generally, the
                 Debtors haves used this approach because of a confidentiality agreement between
                 the respective Debtor and a third party, for the protection of sensitive commercial
                 information, or for the privacy of an individual.

      (c)        Duplication. Certain of each Debtor’s assets, liabilities, and prepetition payments
                 may properly be disclosed in multiple parts of the Statements and Schedules. To
                 the extent these disclosures would be duplicative, the Debtors have endeavored to
                 only list such assets, liabilities, and prepetition payments once.

      (d)        Net Book Value. In certain instances, current market valuations for individual
                 items of property and other assets are neither maintained by, nor readily available
                 to each Debtor. Accordingly, unless otherwise indicated, each Debtor’s Schedules
                 and Statements reflect net book values. Also, assets that have been fully depreciated
                 or that were expensed for accounting purposes either do not appear in these
                 Schedules and Statements, or are listed with a zero-dollar value, as such assets
                 have no net book value. The omission of an asset from the Schedules and
                 Statements does not constitute a representation regarding the ownership of such
                 asset, and any such omission does not constitute a waiver of any rights of each
                 Debtor’s with respect to such asset.

      (e)        Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
                 or “undetermined” is not intended to reflect upon the materiality of such amount.

      (f)        Unliquidated Amounts. Amounts that could not be fairly quantified by each
                 Debtor are scheduled as “unliquidated.

      (g)        Totals. All totals that are included in the Schedules and Statements represent totals
                 of all known amounts. To the extent there are unknown or undetermined amounts,
                 the actual total may be different from the listed total.
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      (h)        Property and Equipment. Unless otherwise indicated, owned property and
                 equipment are valued at net book value. The Debtors may each lease furniture,
                 fixtures, and equipment from certain third-party lessors. To the extent possible,
                 any such leases are listed in the Schedules and Statements. Nothing in the
                 Schedules and Statements is, or should be construed as, an admission as to the
                 determination of the legal status of any lease (including whether any lease is a
                 true lease or a financing arrangement), and each Debtor reserves all rights with
                 respect thereto.

      (i)        Allocation of Liabilities. Each Debtor’s allocated liabilities between the prepetition
                 and postpetition periods based on the information and research conducted in
                 connection with the preparation of the Schedules and Statements. As additional
                 information becomes available and further research is conducted, the allocation of
                 liabilities between the prepetition and postpetition periods may change.

      (j)        Credits and Adjustments. The claims of individual creditors for, among other
                 things, goods, products, services, or taxes are listed as the amounts entered on each
                 Debtor’s books and records and may either (i) not reflect credits, allowances, or
                 other adjustments due from such creditors to the respective Debtor or (ii) be net of
                 accrued credits, allowances, or other adjustments that are actually owed by a
                 creditor to the respective Debtor on a postpetition basis on account of such credits,
                 allowances, or other adjustments earned from prepetition payments and critical
                 vendor payments, if applicable. Each Debtor reserves all of its rights with regard to
                 such credits, allowances, or other adjustments, including, but not limited to, the
                 right to modify the Schedules.

      (k)        Guarantees and Indemnification Claims. The Debtors have exercised
                 commercially reasonable efforts to locate and identify guarantees of their executory
                 contracts, unexpired leases, secured financings, and other such agreements. Where
                 guarantees or indemnification claims have been identified, they have been included
                 in Schedules E/F, G and H. The Debtors may have inadvertently omitted
                 guarantees or indemnifications embedded in their contractual agreements and may
                 identify additional guarantees or indemnifications as it continues to review its books
                 and records and contractual agreements. Each Debtor reserves its rights, but is not
                 required, to amend the Schedules and Statements if additional guarantees are
                 identified.

      (l)        Excluded Assets and Liabilities. Each Debtor has excluded certain categories of
                 assets and liabilities from the Schedules and Statements, including, but not limited
                 to: certain deferred charges, accounts, or reserves recorded only for purposes of
                 complying with the requirements of GAAP; deferred tax assets and liabilities;
                 goodwill and other intangibles; deferred revenue accounts; and certain accrued
                 liabilities including, but not limited to, accrued salaries and employee benefits.
                 Other immaterial assets and liabilities may also have been excluded.

      (m)        Liens. The inventories, property, and equipment listed in the Schedules and
                 Statements are presented without consideration of any liens.

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      (n)         Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.


 5.         Specific Disclosures for Schedules of Assets and Liabilities.

            (a)       Schedules Summary. Except as otherwise noted, the asset totals represent
                      amounts as of March 14, 2024 and liability information provided herein
                      represents each Debtor’s liabilities as of the Petition Date.

            (b)       Schedule B -Personal Property. Certain personal property of each Debtor
                      could arguably be listed in response to more than one Schedule B question.
                      In such cases, each Debtor has endeavored to list such property once in the
                      most appropriate category. Each Debtor’s accounts receivable reflects
                      estimated doubtful collections due to anticipated setoff’s related to
                      promotion and marketing credits and returns from vendors, including
                      substantially all of the $166,368 in doubtful collections for DO Debtor
                      which are estimated credits for GNC. The doubtful accounts for ZD Debtor
                      are substantially intercompany debt which is likely not collectible.
                      Fz4Additionally, the A/R over 90 days for DO Debtor is classified in
                      Debtor’s books and records as A/R but is essentially consigned goods
                      through Amazon which have not yet been sold. As the goods are sold, the
                      A/R balance is reduced. Notwithstanding the foregoing, the Debtors are
                      unable to determine with certainty how much of the accounts receivable
                      will be collected. Office furniture and office equipment have been listed at
                      net book value, which is net of accumulated depreciation.

                      In the ordinary course of its business, the Debtors may each have accrued
                      certain rights to counterclaims, cross-claims, setoffs, credits, rebates, or refunds
                      with their customers and suppliers, or potential warranty claims against their
                      suppliers. Additionally, certain of the Debtors may be party to pending litigation
                      in which such Debtor has asserted, or may assert, claims as a plaintiff or
                      counterclaims and/or crossclaims as a defendant. Because such claims are
                      unknown to the affected Debtor and not quantifiable as of the Petition Date,
                      they are not listed on Schedule A/B, Part 11.

            (c)       Schedule D - Creditors Holding Secured Claims. The listing of a claim in
                      Schedule D does not constitute an admission by each of the Debtors that
                      such claim is entitled to secured treatment under the Bankruptcy Code and
                      does not constitute a waiver of any right to recharacterize or reclassify such
                      claim. The Debtors each reserves the right to dispute the nature, validity
                      and amount of each of these claims and listing of the same in Schedule D
                      shall not be deemed a waiver of any objections of causes of action.

            (d)       Schedule E - Creditors Holding Unsecured Priority Claims. The listing of a
                      claim on Schedule E does not constitute an admission by each Debtor that
                      such claim is entitled to priority treatment under section 507 of the
                      Bankruptcy Code and does not constitute a waiver of any right to
                      recharacterize or reclassify such claim.
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            (e)       Schedule F - Creditors Holding Unsecured Nonpriority Claims. The claims
                      listed on Schedule F arose or were incurred on various dates. In certain
                      instances, the date on which a claim arose is an open issue of fact. While
                      best efforts have been made, the determination of each date upon which
                      each claim on Schedule F was incurred or arose would be unduly
                      burdensome and cost prohibitive and, therefore, each Debtor does not list a
                      date for each claim listed on Schedule F.

                      Schedule F permits each Debtor to designate a claim as disputed, contingent
                      and/or unliquidated. A failure to designate a claim on Schedule F as
                      disputed, contingent and/or unliquidated does not constitute an admission
                      that such claim is not subject to objection. Each Debtor reserves the right to
                      dispute, or assert offsets or defenses to, any claim reflected on Schedule F
                      as to amount, liability or status.

            (f)       Schedule G - Executory Contract and Unexpired Leases. While every effort
                      has been made to ensure the accuracy of the Schedule of Executory
                      Contracts and Unexpired Leases, inadvertent errors or omissions may have
                      occurred. The contracts, agreements and leases listed on Schedule G may
                      have expired or may have been modified, amended, or supplemented from
                      time to time by various amendments, restatements, waivers, estoppel
                      certificates, letters and other documents, instruments and agreements which
                      may not be listed therein. Certain of the executory agreements may not have
                      been memorialized and could be subject to dispute. The presence of a
                      contract or agreement on Schedule G does not constitute an admission that
                      such contract or agreement is an executory contract or unexpired lease or is
                      enforceable. Certain contracts with former insiders of the Debtors are listed
                      on Schedule G which are disputed.

            (g)       Schedule H - Codebtors. In the event of any co-obligors with respect to a
                      scheduled debt or guaranty of any Debtor, such co-obligator is listed on
                      Schedule H of such Debtor, with a cross-reference to any other relevant
                      Schedule of such Debtor listing such debt or guaranty.

 6.         Statement of Financial Affairs.

         Various Statements. Certain questions in the Statements request each Debtor to
provide information for a certain time period prior to the Petition Date. Unless otherwise
noted herein or elsewhere in the Statements, information provided by the Debtor is through
the Petition Date.

            (a)       Statement 3 - Payments to Creditors. Each Debtor has been able to compile
                      information relating to payments in the 90-day period prior to the Petition
                      Date. The failure to list any such payments does not constitute an admission
                      that no such payments exist but are simply unavailable at this time.

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            (b)       Statement 4, 13, 30 – Payments/Transfers/Distributions. Each Debtor has
                      been able to compile information relating to payments within one year and
                      two-year period prior to the Petition Date. The failure to list any such
                      payments does not constitute an admission that no such payments exist but
                      are simply unavailable at this time.

            (c)       Statement 7 – Legal Actions or Assignments. Each Debtor has listed all
                      known lawsuits that have been filed. Each Debtor reserves the right to
                      supplement should any other litigation be pending but has not been learned
                      through the respective Debtor’s efforts to research any existing litigation. The
                      Debtors have not included workers’ compensation claims in response to this
                      question.



                  THE DEBTORS EACH RESERVE THE RIGHT TO AMEND THE
                  SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS. THE
                  DEBTORS DO NOT WAIVE ANY ISSUE OF FACT, REMEDY, CLAIM, OR
                  DEFENSE PERTAINING TO ANY MATTER ADDRESSED HEREIN.

                                    *       *      *       *      *




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Fill in this information to identify the case:

Debtor name         Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     24-31134
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on                                       X       Michael Bischoff with permission by /s/ Melissa A. Haselden
                         April 11, 2024
                                                             Signature of individual signing on behalf of debtor

                                                             Michael Bischoff
                                                             Printed name

                                                             CEO
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Zero Day Nutrition Company f/k/a GB Nutrition Company

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               24-31134
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       3,057,604.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       3,057,604.93


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,627,495.30


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          12,147.70

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,440,196.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          4,079,839.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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Fill in this information to identify the case:

Debtor name          Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)        24-31134
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Amegy Bank                                        Checking                                                                          $192.49




           3.2.     Amegy Bank                                        Savings                               9226                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $192.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security Deposit from 07/30/21 Lease Agreement of 12502 Exchange Drive, Suite
           7.1.     430-448, Stafford, Texas/                                                                                                     $44,413.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                      Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 13 of 100

Debtor         Zero Day Nutrition Company f/k/a GB Nutrition                                 Case number (If known) 24-31134
               Company
               Name

           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                          $44,413.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                   598,392.44       -                           324,285.49 = ....                   $274,106.95
                                        face amount                            doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                         $274,106.95
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                      Valuation method used    Current value of
                                                                                                      for current value        debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                   Membership Interest in Day One Distribution,
           15.1.   LLC                                                           91             %                                              $0.00



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used    Current value of
                                              physical inventory            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
                    Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 14 of 100

Debtor       Zero Day Nutrition Company f/k/a GB Nutrition                                  Case number (If known) 24-31134
             Company
             Name

          Raw materials and
          finished product.                                                     $2,177,003.36                                        $2,177,003.36



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                       $2,177,003.36
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                                Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          Itemized Exhibit to be supplemented.                                     $25,047.36                                           $25,047.36



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Itemized Production Equipment Exhibit to be
          supplemented.                                                           $350,146.48                                          $350,146.48



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $375,193.84
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                    Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 15 of 100

Debtor       Zero Day Nutrition Company f/k/a GB Nutrition                             Case number (If known) 24-31134
             Company
             Name


           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          UAC-2500C Automatic Capsule Filler                                   $51,695.29                                          $51,695.29


          Bin Blender BB314 with bin New supplement
          blender                                                              $80,000.00                                          $80,000.00


          New General Packaging E2AC Single Fill, Seal
          Machine for Packing                                                  $25,000.00                                          $25,000.00


          Techline Q120 Wrap Labeling System                                   $20,000.00                                          $20,000.00


          UCM-400 Square Cone Mixer                                            $10,000.00                                          $10,000.00



51.       Total of Part 8.                                                                                                    $186,695.29
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes
Part 9:      Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 4
                     Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 16 of 100

Debtor        Zero Day Nutrition Company f/k/a GB Nutrition                               Case number (If known) 24-31134
              Company
              Name

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of            Nature and            Net book value of             Valuation method used   Current value of
           property                               extent of             debtor's interest             for current value       debtor's interest
           Include street address or other        debtor's interest     (Where available)
           description such as Assessor           in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Leasehold
                   improvements in
                   12502 Exchange Dr              Leasehold
                   #448, Stafford, TX             Improvement                   $199,224.81                                                       $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademarks, See attached Exhibit "Part 10
           #60"                                                                         $0.00                                             Unknown



61.        Internet domain names and websites
           www.Glaxon.com licensed to Day One
           Distribution LLC                                                             $0.00                                             Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                 $0.00
           Add lines 60 through 65. Copy the total to line 89.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                             page 5
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                                          EXHIBIT

                                          Part 10 #60




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Debtor        Zero Day Nutrition Company f/k/a GB Nutrition                                Case number (If known) 24-31134
              Company
              Name

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Intuit Merchant Account                                                                                                      Unknown




78.        Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 6
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Debtor          Zero Day Nutrition Company f/k/a GB Nutrition                                                       Case number (If known) 24-31134
                Company
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $192.49

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $44,413.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $274,106.95

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $2,177,003.36

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $375,193.84

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $186,695.29

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,057,604.93            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,057,604.93




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 7
                         Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 20 of 100

Fill in this information to identify the case:

Debtor name          Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

Case number (if known)              24-31134
                                                                                                                                      Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1    3Point Capital                               Describe debtor's property that is subject to a lien                $114,629.40                         $0.00
       Creditor's Name                              UCC filed 12/22/23
       2901 Clint Moore Road
       #401
       Boca Raton, FL 33496
       Creditor's mailing address                   Describe the lien
                                                    Non-Purchase Money Security
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       10/30/2023                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.
                                                     Disputed


2.2    Bank of the West                             Describe debtor's property that is subject to a lien                  $16,352.55               $25,000.00
       Creditor's Name                              New General Packaging E2AC Single Fill,
       475 Sansome Street                           Seal Machine for Packing
       19th Floor
       San Francisco, CA 94111
       Creditor's mailing address                   Describe the lien
                                                    Uniform Commercial Code Lien
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       02/01/2020                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1001
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 8
                        Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 21 of 100

            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                               Case number (if known)      24-31134
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.3   Banleaco                                    Describe debtor's property that is subject to a lien                      $20,868.52   $20,000.00
      Creditor's Name                             Techline Q120 Wrap Labeling System
      11017 Aurora Avenue
      Urbandale, IA 50322
      Creditor's mailing address                  Describe the lien
                                                  Uniform Commercial Code Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      03/09/2021                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9390
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.4   Cash Fund                                   Describe debtor's property that is subject to a lien                     $157,368.00       $0.00
      Creditor's Name                             UCC Lien - 01/12/24
      110 16th Street
      Suite 901
      Denver, CO 80202
      Creditor's mailing address                  Describe the lien
                                                  Uniform Commercial Code Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      10/06/2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.5   CT Corporation System                       Describe debtor's property that is subject to a lien                           $0.00        $0.00
      Creditor's Name                             UCC lien filed 05/12/2022
      330 N. Brand Blvd.
      Suite 700, ATTN: SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 2 of 8
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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                               Case number (if known)     24-31134
            Name

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.6   CT Corporation System                       Describe debtor's property that is subject to a lien                         $0.00           $0.00
      Creditor's Name                             UCC filed 01/02/2024
      330 N. Brand Blvd.
      Suite 700, ATTN: SPRS
      Glendale, CA 91203
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.
                                                   Disputed


2.7   Fort Bend County                            Describe debtor's property that is subject to a lien                     $73,231.16   $3,057,604.93
      Creditor's Name                             Personal property inventory, supplies, furn.,
      Linebarger Goggan et                        fix, equip,, & vehi located @ 12502 Exchange
      al/Elizabeth Weller                         Dr #448 & 12503 Exchange Dr #520 in Stafford
      PO Box 3064
      Houston, TX 77253-3064
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 8
                        Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 23 of 100

            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                               Case number (if known)     24-31134
            Name

       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.8   Leaf Capital Now                            Describe debtor's property that is subject to a lien                          $0.00        $0.00
      Creditor's Name                             Loan paid in full. UCC needs to be
      2005 Market Street                          terminated.
      14th Floor
      Philadelphia, PA 19103
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.9   Marlin                                      Describe debtor's property that is subject to a lien                     $16,357.53   $10,000.00
      Creditor's Name                             UCM-400 Square Cone Mixer
      174 Green Street
      Melrose, MA
      Creditor's mailing address                  Describe the lien
                                                  Equipment Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      04/22/2021                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.1
0     Pawnee Leasing                              Describe debtor's property that is subject to a lien                     $54,741.00   $51,695.29
      Creditor's Name                             UAC-2500C Automatic Capsule Filler
      3801 Automation Way
      Suite 207
      Fort Collins, CO 80525
      Creditor's mailing address                  Describe the lien
                                                  Equipment Lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                          page 4 of 8
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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                               Case number (if known)      24-31134
            Name

      bankruptcy@pawneeleasin                     Is the creditor an insider or related party?
      g.com                                        No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      02/08/2021                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8825
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.1
1     SBA                                         Describe debtor's property that is subject to a lien                     $161,059.87   $3,057,604.93
      Creditor's Name                             all assets
      1545 Hawkins Blvd                           UCC - 08/15/20
      Suite 202
      El Paso, TX 79925
      Creditor's mailing address                  Describe the lien
                                                  Uniform Commercial Code Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      08/06/2020                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8208
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
       No                                         Contingent
       Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative     Disputed
      priority.



2.1
2     SBA (Texas Gulf Bank)                       Describe debtor's property that is subject to a lien                     $908,153.74   $3,057,604.93
      Creditor's Name                             UCC Filed 1/10/19, Continuation filed 01/04/24
      900 Town & Country Lane
      Suite 100
      Houston, TX 77024
      Creditor's mailing address                  Describe the lien
                                                  Uniform Commercial Code Lien
                                                  Is the creditor an insider or related party?
                                                   No
      Creditor's email address, if known           Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                       No
      12/31/2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 8
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             Zero Day Nutrition Company f/k/a GB Nutrition
Debtor       Company                                                                               Case number (if known)       24-31134
             Name

        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.



2.1
3      Sterns Bank                                 Describe debtor's property that is subject to a lien                     $104,733.53             $80,000.00
       Creditor's Name                             Bin Blender BB314 with bin New supplement
       500 13th Street                             blender
       PO Box 750
       Albany, MN 56307
       Creditor's mailing address                  Describe the lien
                                                   Equipment Lien
                                                   Is the creditor an insider or related party?
                                                    No
       Creditor's email address, if known           Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                       No
       08/22/2021                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0001
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
        No                                         Contingent
        Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative     Disputed
       priority.




                                                                                                                            $1,627,495.3
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        3PCG Inc.
        1019 Avenue P                                                                                       Line   2.1
        Suite 401
        Brooklyn, NY 11223

        Bank of the West
        1625 W. Fountainhead Pkwy                                                                           Line   2.2
        Tempe, AZ 85282

        Banleaco Inc.
        PO Box 7740                                                                                         Line   2.3
        Urbandale, IA 50323

        Carmen P. Turner
        Fort Bend County Assessor / Collector                                                               Line   2.7                                8910
        1317 Eugene Heimann Circle
        Richmond, TX 77469-3623

        CFS CAP LLC
        136 E. South Temple                                                                                 Line   2.4
        Salt Lake City, UT 84111

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 6 of 8
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          Zero Day Nutrition Company f/k/a GB Nutrition
Debtor    Company                                                             Case number (if known)   24-31134
          Name


      Corporation Service Company
      251 Little Falls Drive                                                          Line   2.4
      Wilmington, DE 19808

      Corporation Service Company
      251 Little Falls Drive                                                          Line   2.1
      Wilmington, DE 19808

      Corporation Service Company
      251 Little Falls Drive                                                          Line   2.13
      Wilmington, DE 19808

      Corporation Service Company
      251 Little Falls Drive                                                          Line   2.11
      Wilmington, DE 19808

      Crown Equipment Corporation
      44 S. Washington St.                                                            Line   2.9
      New Bremen, OH 45869

      CT Corporation System
      330 N. Brand Blvd.                                                              Line   2.10
      Suite 700, ATTN: SPRS
      Glendale, CA 91203

      CT Lien Solutions
      2929 Allen Parkway                                                              Line   2.9
      Suite 3300
      Houston, TX 77019

      CT Lien Solutions
      2929 Allen Parkway                                                              Line   2.2
      Suite 100
      Houston, TX 77019

      CT Lien Solutions
      2929 Allen Parkway                                                              Line   2.5
      Suite 100
      Houston, TX 77019

      CT Lien Solutions
      2929 Allen Parkway                                                              Line   2.6
      Suite 100
      Houston, TX 77019

      Lien Solutions
      PO Box 29071                                                                    Line   2.10
      Glendale, CA 91209-9071

      Pawnee Leasing
      654 Amherst Road                                                                Line   2.10
      Suite 320
      Sunderland, MA 01375

      Priority Capital Partners Inc.
      174 Green Street                                                                Line   2.3
      Melrose, MA 02176

      Priority Capital Partners Inc.
      174 Green Street                                                                Line   2.10
      Melrose, MA 02176

Official Form 206D         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property           page 7 of 8
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          Zero Day Nutrition Company f/k/a GB Nutrition
Debtor    Company                                                             Case number (if known)   24-31134
          Name

      Stearns Bank Equipment Finance
      PO Box 327                                                                      Line   2.13
      Albany, MN 56307-0327

      Texas Gulf Bank NA
      1030 Dixie Drive                                                                Line   2.12
      Clute, TX 77531

      Texas Gulf Bank NA
      PO Box 417                                                                      Line   2.12
      Clute, TX 77531

      Triton Recovery LLC
      3111 N. University Drive                                                        Line   2.1
      Suite 604
      Pompano Beach, FL 33065

      United Pharmatek LLC
      21755 I-45 North                                                                Line   2.9
      Building 6A
      Spring, TX 77388




Official Form 206D         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property           page 8 of 8
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Fill in this information to identify the case:

Debtor name        Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)          24-31134
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Amelia Rodriquez                                    Check all that apply.
          12502 Exchange Dr #448                               Contingent
          Stafford, TX 77477                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Prepetition wage claim of $560 - Paid per Court
          03/06/24 - 03/12/24, payroll 03/15/24               Order (see docket #21)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes

2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00     $0.00
          Beatriz Acosta Perez                                Check all that apply.
          12502 Exchange Dr #448                               Contingent
          Stafford, TX 77477                                   Unliquidated
                                                               Disputed
          Date or dates debt was incurred                     Basis for the claim:
                                                              Prepetition wage claim of $583.77 - Paid per
          03/06/24 - 03/12/24, payroll 03/15/24               Court Order (see docket #21)
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                  No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                                  Case number (if known)   24-31134
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Belky Cervantes Rodriguez                          Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $292.50 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Dalton J Rozell                                    Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $721.35 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Daniel Diaz                                        Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $741.02 - Paid per
         03/06/24 - 03/12/24                                Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $12,147.70      $0.00
         Department of Treasury - IRS                       Check all that apply.
         PO Box 7346                                         Contingent
         Philadelphia, PA 19101-7346                         Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1638               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                             Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 20
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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                                  Case number (if known)   24-31134
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Dylan T Hull                                       Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $2,099.62 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Elson E Toledo                                     Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $1,142.58 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Griselda Diaz                                      Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $560 - Paid per Court
         03/06/24 - 03/12/24, payroll 03/15/24              Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Ligeia Coachman                                    Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $2,307.70 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                                  Case number (if known)   24-31134
            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Luis Alberto Perez Acosta                          Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $562.95- Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Manuel Oliva                                       Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $560 - Paid per Court
         03/06/24 - 03/12/24, payroll 03/15/24              Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Marcela Lainez                                     Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $524.49 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Marco Acosta                                       Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $1,152 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                                  Case number (if known)   24-31134
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Matthew D LaFleur                                  Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $2,099.62 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Norma Lainez                                       Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $523.90 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Robert C Widwald                                   Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $1,683.65 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes

2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Rodolfo Garsia                                     Check all that apply.
         12502 Exchange Dr #448                              Contingent
         Stafford, TX 77477                                  Unliquidated
                                                             Disputed
         Date or dates debt was incurred                    Basis for the claim:
                                                            Prepetition wage claim of $292.50 - Paid per
         03/06/24 - 03/12/24, payroll 03/15/24              Court Order (see docket #21)
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                 No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                             Yes




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              Zero Day Nutrition Company f/k/a GB Nutrition
Debtor        Company                                                                                    Case number (if known)          24-31134
              Name

2.19       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           Terrance A Naulings                                  Check all that apply.
           12502 Exchange Dr #448                                Contingent
           Stafford, TX 77477                                    Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                Prepetition wage claim of $1,034.45 - Paid per
           03/06/24 - 03/12/24, payroll 03/15/24                Court Order (see docket #21)
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes

2.20       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
           Yusimy Diaz Diaz                                     Check all that apply.
           12502 Exchange Dr #448                                Contingent
           Stafford, TX 77477                                    Unliquidated
                                                                 Disputed
           Date or dates debt was incurred                      Basis for the claim:
                                                                Prepetition wage claim of $909.50 - Paid per
           03/06/24 - 03/12/24, payroll 03/15/24                Court Order (see docket #21)
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                   No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $54,225.00
          A&A Pharmachem                                                       Contingent
          16885 West Bernardo Drive                                            Unliquidated
          Ste.100                                                              Disputed
          San Diego, CA 92127
                                                                              Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?    No  Yes
3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $2,250.00
          Abelei Flavors                                                       Contingent
          194 Alder Drive                                                      Unliquidated
          North Aurora, IL 60542                                               Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes
3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $1,102.74
          Airlite Plastics Co.                                                 Contingent
          6110 Abbott Drive                                                    Unliquidated
          Omaha, NE 68110-2805                                                 Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?    No  Yes



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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,375.00
         Alkemist Labs                                              Contingent
         12661 Hoover St.                                           Unliquidated
         Garden Grove, CA 92841                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $19,688.17
         American Express                                           Contingent
         PO Box 650448                                              Unliquidated
         Dallas, TX 75265-0448                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $289,748.68
         American Express Platinum                                  Contingent
         448 PO Box 6031                                            Unliquidated
         Carol Stream, IL 60197                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,825.00
         American Lecithin Co.                                      Contingent
         115 Hurley Road Unit 2B                                    Unliquidated
         Oxford, CT 06478                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,500.00
         American River Nutrition                                   Contingent
         333 Venture Way                                            Unliquidated
         Hadley, MA 01035                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $380.00
         Andler Packaging                                           Contingent
         6630 N W 16th Terrace                                      Unliquidated
         Ft. Lauderdale, FL 33309                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,017.00
         Balchem Corporation                                        Contingent
         5 Paragon Drive                                            Unliquidated
         Suite 201                                                  Disputed
         Montvale, NJ 07645
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,930.87
         Berlin Packaging LLC                                       Contingent
         525 West Monroe Street                                     Unliquidated
         14th Floor                                                 Disputed
         Chicago, IL 60661
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $240.75
         BioChroma Analytical Labs                                  Contingent
         1309 Record Crossing Road                                  Unliquidated
         Dallas, TX 75235                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $450.00
         Bioform Solutions LLC                                      Contingent
         9885 Mesa Rim Rd                                           Unliquidated
         Suite 103                                                  Disputed
         San Diego, CA 92121
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $46,696.50
         Capsule Supplies                                           Contingent
         6475 Technology Ave                                        Unliquidated
         Suite D                                                    Disputed
         Kalamazoo, MI 49009
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,200.00
         Cepham Inc                                                 Contingent
         142 Belmont Drive                                          Unliquidated
         Unit 14                                                    Disputed
         Somerset, NJ O8873
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,099.32
         Cintas Fire Protection                                     Contingent
         5355 W Sam Houston Parkway N                               Unliquidated
         Houston, TX 77041                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $160.30
         Comcast                                                    Contingent
         PO Box 60533                                               Unliquidated
         City of Industry, CA 91716-0533                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,356.33
         Container and Packaging                                    Contingent
         1345 E State Street Eagle                                  Unliquidated
         Eagle, ID 83616                                            Disputed
         Date(s) debt was incurred 12/05/23
                                                                   Basis for the claim: containers
         Last 4 digits of account number 1629
                                                                   Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $111,636.56
         CP Oakley LP                                               Contingent
         2800 Post Oak Blvd.                                        Unliquidated
         Suite 500                                                  Disputed
         Houston, TX 77056
                                                                   Basis for the claim: Lease Agreement
         Date(s) debt was incurred 07/30/21
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,335.01
         Creative Compounds LLC                                     Contingent
         PO Box 4011                                                Unliquidated
         Scott City, MO 63780                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $635.92
         Crown Lift Trucks                                          Contingent
         17506 E Hardy Road                                         Unliquidated
         Houston, TX 77073                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,096.00
         Deerland Probiotics & Enzymes                              Contingent
         PO Box 775498                                              Unliquidated
         Chicago, IL 60677-5498                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,000.00
         Derain Biotech USA Inc.                                    Contingent
         4900 Hopyard Road                                          Unliquidated
         Suite 100                                                  Disputed
         Pleasanton, CA 94588
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,309.00
         Desert Lake Technologies                                   Contingent
         2859 Avalon St.                                            Unliquidated
         Klamath Falls, OR 97601                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,700.00
         Dongyu USI / United Samples Inc DBA                        Contingent
         2590 Main Street                                           Unliquidated
         Irvine, CA 92614                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $119,065.60
         DYAD                                                       Contingent
         401 N. Michigan Ave.                                       Unliquidated
         Suite 1400                                                 Disputed
         Chicago, IL 60611
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,500.00
         ECA Pinnacle                                               Contingent
         1260 E. Locust St.                                         Unliquidated
         Suite 302                                                  Disputed
         Ontario, CA 91761
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,115.00
         Ecuadorian Rainforest LLC                                  Contingent
         222 Getty Avenue                                           Unliquidated
         Clifton, NJ O7011                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,948.06
         Edgar A. Weber & Company                                   Contingent
         201 S. Hough Street                                        Unliquidated
         Barrington, IL 60010                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $14,825.00
         Eleonor                                                    Contingent
         83 Rue Du Menil                                            Unliquidated
         1410 Waterloo                                              Disputed
         BELGIUM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,080.00
         ES Cleaning Services                                       Contingent
         11710 Briar Forest Drive                                   Unliquidated
         #1112                                                      Disputed
         Houston, TX 77077
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $50.91
         FedEx                                                      Contingent
         PO Box 660481                                              Unliquidated
         Dallas, TX 75266-0481                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0038
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $32,457.50
         Fifth Nutrisupply Inc.                                     Contingent
         4951 Holt Blvd                                             Unliquidated
         Montclair, CA 91763                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $155,542.62
         Foley & Lardner LLP                                        Contingent
         1000 Louisiana Street                                      Unliquidated
         Suite 2000                                                 Disputed
         Houston, TX 77002
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,656.17
         Freepoint Energy                                           Contingent
         3050 Post Oak Blvd                                         Unliquidated
         Suite 1330                                                 Disputed
         Houston, TX 77056
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,350.00
         General Packaging Equipment                                Contingent
         6048 Westview Drive                                        Unliquidated
         Houston, TX 77055                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,630.64
         Glanbia Nutritionals Inc                                   Contingent
         4255 Meridian Parkway                                      Unliquidated
         Suite 151                                                  Disputed
         Aurora, Illinois 60504-0000
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,015.38
         GNT USA LLC                                                Contingent
         One Exberry Drive                                          Unliquidated
         Dallas, NC 28034                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,586.28
         Green Wave Ingredients Inc                                 Contingent
         P.O. Box 936601                                            Unliquidated
         Atlanta, GA 31193-6601                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $725.00
         Greenvit LTD                                               Contingent
         Al. Wojska Polskiego 27A                                   Unliquidated
         Zambrow 18-300, POLAND                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $841.67
         GS1 US                                                     Contingent
         300 Princeton South Corporate Center                       Unliquidated
         Trenton, NJ 08628                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $392.85
         ICI Foods                                                  Contingent
         P.O. Box 116243                                            Unliquidated
         Atlanta, GA 30368-6243                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,000.00
         Ingredia Inc.                                              Contingent
         PO Box 144                                                 Unliquidated
         Celina, OH 45822                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $937.50
         Ingredients By Nature                                      Contingent
         5555 Brooks St.                                            Unliquidated
         Montclair, CA 91763                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $5,625.00
         Innophos LLC                                               Contingent
         259 Prospect Plains Road                                   Unliquidated
         Building A                                                 Disputed
         Cranbury, NJ 08512
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,362.73
         Jia Herb                                                   Contingent
         Euler Hermes agent for JIAHERB Inc.                        Unliquidated
         100 International Dr 22nd Floor                            Disputed
         Baltimore, MD 21202
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $17,057.50
         Kerry                                                      Contingent
         2-D Janine Place                                           Unliquidated
         New Brunswick, NJ 08901                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,800.00
         Ketone Labs                                                Contingent
         1801 S Industrial Park                                     Unliquidated
         Van Alsytyne, TX 75495                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $155,101.36
         Kickfurther                                                Contingent
         24th Floor Seneca 1 Tower                                  Unliquidated
         Buffalo, NY 14203                                          Disputed
         Date(s) debt was incurred 05/18/2023
                                                                   Basis for the claim:
         Last 4 digits of account number 0432
                                                                   Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $82,500.00
         Kyowa Hakko USA Inc.                                       Contingent
         600 Third Avenue                                           Unliquidated
         19th Floor                                                 Disputed
         New York, New York 10016-0000
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         LG Funding                                                 Contingent
         1218 Union Street                                          Unliquidated
         Brooklyn, NY 11225                                         Disputed
         Date(s) debt was incurred 07/13/22
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         LG Funding                                                 Contingent
         1218 Union Street                                          Unliquidated
         Brooklyn, NY 11225                                         Disputed
         Date(s) debt was incurred 04/25/23
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 13 of 20
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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   Unknown
         LG Funding                                                 Contingent
         1218 Union Street                                          Unliquidated
         Brooklyn, NY 11225                                         Disputed
         Date(s) debt was incurred 08/30/23
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $194.52
         Lincoln Sec                                                Contingent
         10142 Knoboak Dr.                                          Unliquidated
         Houston, TX 77080                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0629
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $291.96
         Lincoln Sec                                                Contingent
         10142 Knoboak Dr.                                          Unliquidated
         Houston, TX 77080                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0667
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,315.76
         Lonza Greenwood LLC                                        Contingent
         535 Emerald Rd N                                           Unliquidated
         Greenwood, SC 29646                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $32,000.00
         M2 Ingredients                                             Contingent
         5931 Priestly Dr.                                          Unliquidated
         Suite 101                                                  Disputed
         Carlsbad, CA 92008
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $140.00
         McDonalds Filtration Inc.                                  Contingent
         9641 Westview Drive                                        Unliquidated
         Houston, TX 77055                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,870.00
         Melton & Melton LLP                                        Contingent
         6002 Rogerdale Road                                        Unliquidated
         Suite 200                                                  Disputed
         Houston, TX 77072
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $28,820.00
         Mibelle Biochemistry USA                                   Contingent
         500 Summer Street                                          Unliquidated
         Suite 202                                                  Disputed
         Stanford, CT O6901
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $234,100.00
         Michael Bischoff                                           Contingent
         12502 Exchange Dr #448                                     Unliquidated
         Stafford, TX 77477                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,150.41
         Mitsubishi Food Ingredients                                Contingent
         2160 North Central Road                                    Unliquidated
         Suite 108                                                  Disputed
         Fort Lee, NJ 07024
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $2,333.35
         Molecular Health Technologies LLC                          Contingent
         48 Essex Street                                            Unliquidated
         Millburn, NJ O7041                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,500.00
         Natto Pharma                                               Contingent
         Broadfield Park                                            Unliquidated
         Crawley, West Sussex                                       Disputed
         EH11 9RT UNITED KINGDOM
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $30,000.00
         NP Nutra / Nature's Power Nutraceuticals                   Contingent
         15161-15181 S. Figueroa St                                 Unliquidated
         Gardena, CA 90248                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $4,850.00
         NuLiv Science                                              Contingent
         1050 W Central Ave Ste C                                   Unliquidated
         Brea, CA 92821                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $6,600.00
         Nuritas Ltd                                                Contingent
         Joshua Dawson House; 19B Dawson Street                     Unliquidated
         Dublin 2, Ireland                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,325.00
         Nutri Avenue Co. Ltd.                                      Contingent
         1101 W Valley Blvd.                                        Unliquidated
         Suite 104                                                  Disputed
         Alhambra, CA 91803
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,456.25
         Nutrient Innovations Inc.                                  Contingent
         285 W. 6th St.                                             Unliquidated
         St.#106                                                    Disputed
         San Pedro, CA 90731
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $13,095.00
         Nutrition21                                                Contingent
         250 Pehle Avenue                                           Unliquidated
         Suite 200                                                  Disputed
         Saddle Brook, NJ 07663
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $7,237.50
         PanaSource Ingredients Inc.                                Contingent
         98A Mayfield Avenue                                        Unliquidated
         Edison, New Jersey O8837                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $792.00
         PEZ Candy Inc.                                             Contingent
         35 Prindle Hill Road                                       Unliquidated
         Orange, CT 06477                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $17,559.00
         Prinova Flavors LLC                                        Contingent
         36780 Eagle Way                                            Unliquidated
         Chicago, IL 60678-1367                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $14,978.42
         Priority 1 Inc.                                            Contingent
         401 W Capitol Ave                                          Unliquidated
         Little Rock, AR 72201                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $18,275.22
         Priority Plastics Inc                                      Contingent
         Attn: Tammy Heiby                                          Unliquidated
         500 Industrial Park Dr.                                    Disputed
         Portland, IN 47371
                                                                   Basis for the claim: plastic bottles
         Date(s) debt was incurred
         Last 4 digits of account number 7111                      Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $1,890.00
         Puredia USA                                                Contingent
         9711 Irvine Center Drive                                   Unliquidated
         Irvine, CA 92618                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $35,800.31
         Quadra Ingredients                                         Contingent
         PO BOX 675037                                              Unliquidated
         Dallas, TX 75267-5037                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $504.00
         Restaurant Depot                                           Contingent
         1710 Whitestone Expressway                                 Unliquidated
         Whitestone, NY 11357                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $23,391.20
         RTCO
         9th Fllor                                                  Contingent
         Building A                                                 Unliquidated
         2555 Xiupu Road                                            Disputed
         SHA, CN
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $2,325.00
         Sabinsa Corporation                                        Contingent
         20 Lake Drive                                              Unliquidated
         East Windsor, NJ O8520                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                         Case number (if known)            24-31134
            Name

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Sam Strange                                                Contingent
         1111 E Sunrise Blvd #407                                   Unliquidated
         Fort Lauderdale, FL 33304                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,587.50
         Shanghai Waseta
         Room 2003, Golden Eagle                                    Contingent
         Edifice B NO 1518                                          Unliquidated
         Minsheng Road, Pudong New Area                             Disputed
         Shanghai, 200135 PR CHINA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $469,623.80
         Shareholder Solutions LLC                                  Contingent
         12502 Exchange, Suite 448                                  Unliquidated
         Stafford, TX 77477                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $750.00
         Sunland Nutrition Inc.                                     Contingent
         20651 Prism Place                                          Unliquidated
         Lake Forest, CA 92630                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $80,143.84
         ThermoLife International                                   Contingent
         1220 E Hill St.                                            Unliquidated
         Signal Hill, CA 90755                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $610.00
         TricorBraun                                                Contingent
         8550 B Market St.                                          Unliquidated
         Houston, TX 77029                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $5,010.20
         Trustwell                                                  Contingent
         9450 SW Gemini Dr.                                         Unliquidated
         Suite 94415                                                Disputed
         Beaverton, OR 97008
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes



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             Zero Day Nutrition Company f/k/a GB Nutrition
Debtor       Company                                                                         Case number (if known)            24-31134
             Name

3.88      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $43,145.00
          UniChem Enterprises                                        Contingent
          1905 South Lynx Place                                      Unliquidated
          Ontario, CA 91761                                          Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.89      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,566.84
          Unity Services                                             Contingent
          11822 Meadowview Drive                                     Unliquidated
          Cypress, TX 77429                                          Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.90      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $5,387.45
          VideoJet Technologies                                      Contingent
          1500 N. Mittel Blvd.                                       Unliquidated
          Wood Dale, IL 60191-1073                                   Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:
          Last 4 digits of account number
                                                                    Is the claim subject to offset?    No  Yes
3.91      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $4,433.13
          Waste Management                                           Contingent
          800 Capitol Street                                         Unliquidated
          Suite 3000                                                 Disputed
          Houston, TX 77002
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 3009                      Is the claim subject to offset?    No  Yes
3.92      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,133.77
          Waste Management Garbage                                   Contingent
          800 Capitol Street                                         Unliquidated
          Suite 3000                                                 Disputed
          Houston, TX 77002
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 3002                      Is the claim subject to offset?    No  Yes
3.93      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $28,669.00
          WILD Flavors Inc.                                          Contingent
          75 Remittance Drive                                        Unliquidated
          Suite 1046                                                 Disputed
          Chicago, IL 60675-1046
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.94      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $3,215.67
          Worldwide Express                                          Contingent
          2700 Commerce Street                                       Unliquidated
          Suite 1500                                                 Disputed
          Dallas, TX 75226
                                                                    Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims


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            Zero Day Nutrition Company f/k/a GB Nutrition
Debtor      Company                                                                                Case number (if known)           24-31134
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any
4.1       CP Oakley LP
          c/o Cal Rey Properties LLC                                                              Line      3.19
          Attn: Steve King
          2404 Blue Bonnet Blvd.                                                                        Not listed. Explain

          Houston, TX 77030

4.2       Jia Herb
          1 Chapin Road                                                                           Line      3.46
          Unit.1
          Pine Brook, NJ O7058                                                                          Not listed. Explain


4.3       Priority Plastics Inc
          PO Box 797094                                                                           Line      3.75
          St Louis, MO 63179-7000
                                                                                                        Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
5a. Total claims from Part 1                                                                          5a.          $                     12,147.70
5b. Total claims from Part 2                                                                          5b.    +     $                  2,440,196.02

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                               5c.          $                    2,452,343.72




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 20
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Fill in this information to identify the case:

Debtor name        Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)      24-31134
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                    CP Oakley LP
                State the term remaining          50 Months                         c/o Cal Rey Properties LLC
                                                                                    Attn: Steve King
             List the contract number of any                                        2404 Blue Bonnet Blvd
                   government contract                                              Houston, TX 77030


2.2.         State what the contract or           License Agreement for
             lease is for and the nature of       use of Trademarks.
             the debtor's interest

                State the term remaining                                            Day One Distribution LLC
                                                                                    12502 Exchange Drive
             List the contract number of any                                        Suite 448
                   government contract                                              Stafford, TX 77477


2.3.         State what the contract or           Non-Binding Term
             lease is for and the nature of       Sheet for Purchase of
             the debtor's interest                Equity Interests of Day
                                                  One Distribution, LLC
                                                  dated 07/20/23
                State the term remaining                                            Sam Strange
                                                                                    Green Zoom LLC
             List the contract number of any                                        1111 E Sunrise Blvd #407
                   government contract                                              Fort Lauderdale, FL 33304




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)   24-31134
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    A1A Distribution            12502 Exchange, Suite 448                                3Point Capital                  D       2.1
                                      Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.2    Black Page                  12502 Exchange, Suite 448                                3Point Capital                  D       2.1
          Brewing                     Stafford, TX 77477                                                                        E/F
          Company LLC
                                                                                                                               G



   2.3    Day One                     12502 Exchange, Suite 448                                Cash Fund                       D       2.4
          Distribution LLC            Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.4    Day One                     12502 Exchange, Suite 448                                3Point Capital                  D       2.1
          Distribution LLC            Stafford, TX 77477                                                                        E/F
                                                                                                                               G



   2.5    Day One                     12502 Exchange, Suite 448                                LG Funding                      D
          Distribution LLC            Stafford, TX 77477                                                                        E/F        3.51
                                                                                                                               G



Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 4
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          Zero Day Nutrition Company f/k/a GB Nutrition
Debtor    Company                                                                 Case number (if known)   24-31134


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Day One                  12502 Exchange, Suite 448                           LG Funding                     D
          Distribution LLC         Stafford, TX 77477                                                                  E/F    3.53
                                                                                                                      G



  2.7     Eat Plant-Based          12502 Exchange, Suite 448                           3Point Capital                 D      2.1
          Food Company             Stafford, TX 77477                                                                  E/F
          LLC
                                                                                                                      G



  2.8     Michael Bischoff         12502 Exchange Drive                                Banleaco                       D      2.3
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.9     Michael Bischoff         12502 Exchange Drive                                Pawnee Leasing                 D      2.10
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.10    Michael Bischoff         12502 Exchange Drive                                3Point Capital                 D      2.1
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.11    Michael Bischoff         12502 Exchange Drive                                Bank of the West               D      2.2
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.12    Michael Bischoff         12502 Exchange Drive                                Cash Fund                      D      2.4
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 2 of 4
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          Zero Day Nutrition Company f/k/a GB Nutrition
Debtor    Company                                                                 Case number (if known)   24-31134


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.13    Michael Bischoff         12502 Exchange Drive                                Marlin                         D      2.9
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.14    Michael Bischoff         12502 Exchange Drive                                LG Funding                     D
                                   Suite 448                                                                           E/F    3.51
                                   Stafford, TX 77477
                                                                                                                      G




  2.15    Michael Bischoff         12502 Exchange Drive                                LG Funding                     D
                                   Suite 448                                                                           E/F    3.52
                                   Stafford, TX 77477
                                                                                                                      G




  2.16    Michael Bischoff         12502 Exchange Drive                                LG Funding                     D
                                   Suite 448                                                                           E/F    3.53
                                   Stafford, TX 77477
                                                                                                                      G




  2.17    Michael Bischoff         12502 Exchange Drive                                Sterns Bank                    D      2.13
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G




  2.18    Shareholder              12502 Exchange, Suite 448                           3Point Capital                 D      2.1
          Solutions LLC            Stafford, TX 77477                                                                  E/F
                                                                                                                      G



  2.19    Standard                 12502 Exchange, Suite 448                           3Point Capital                 D      2.1
          Supplement LLC           Stafford, TX 77477                                                                  E/F
                                                                                                                      G




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 3 of 4
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          Zero Day Nutrition Company f/k/a GB Nutrition
Debtor    Company                                                                 Case number (if known)   24-31134


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.20    Zero Torque              12502 Exchange Drive                                CP Oakley LP                   D
          Manufacturing            Suite 430-448                                                                       E/F    3.19
          LLC                      Stafford, TX 77477
                                                                                                                      G




  2.21    David Lovatt             221 Willow Winds Parkway                            CP Oakley LP                   D
                                   Saint Johns, FL 32259                                                               E/F
                                                                                                                      G      2.1




  2.22    Leonard K.               8466 Violet Court                                   CP Oakley LP                   D
          Armenta Jr.              Arvada, CO 80007                                                                    E/F
                                                                                                                      G      2.1




  2.23    Michael Bischoff         12502 Exchange Drive                                CP Oakley LP                   D
                                   Suite 448                                                                           E/F
                                   Stafford, TX 77477
                                                                                                                      G      2.1




  2.24    Zero Torque              12502 Exchange Drive                                CP Oakley LP                   D
          Manufacturing            Suite 430-448                                                                       E/F
          LLC                      Stafford, TX 77477
                                                                                                                      G      2.1




Official Form 206H                                              Schedule H: Your Codebtors                                     Page 4 of 4
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Fill in this information to identify the case:

Debtor name         Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)    24-31134
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $530,980.37
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $5,726,781.63
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $4,663,925.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Row Labels                         Sum of Amount
CP Oakley, LP (Bill Pay)                      83398
Texas Gulf Bank (Bill Pay)                 38656.12
American Express Platinum (Auto)           35941.07
LG Funding LLC                                29206
ADP                                        26233.42
Haselden Farr PLLC                            25000
American Express                           23211.64
Chase Card Services (Auto)                 11497.38
Stearns Bank (Auto)                        10764.57
Berlin Packaging LLC                        8543.53
Kickfurther                                    8000
Worldwide Express (8605)                    7891.66
Grand Total                         $ 308,343.39




                                                 EXHIBIT

                                               SOFA Part 2, #3
                    Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 55 of 100
Debtor       Zero Day Nutrition Company f/k/a GB Nutrition Company                              Case number (if known) 24-31134



      Creditor's Name and Address                                  Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             See attached Exhibit "SOFA PART 2                                                     $308,343.39            Secured debt
             #3"
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor
      4.1.   TO BE SUPPLEMENTED.                                                                           $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken
      Ampla LLC                                        Joint bank account where Ampla LLC took                                                          $0.00
                                                       a percentage of money before the
                                                       transaction had cleared.
                                                       Last 4 digits of account number:


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   A&A Pharmachem Inc., USA                  Sworn Account               Harris County District Court                Pending
             v. Zero Day Nutrition                                                 165th Judicial District                     On appeal
             Company dba Glaxon and                                                PO Box 4651
                                                                                                                               Concluded
             Michael Lynn Bischoff                                                 Houston, TX 77210-4651
             2023-81438



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor       Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



             Case title                               Nature of case               Court or agency's name and              Status of case
             Case number                                                           address
      7.2.   Jasmine Gamez v. Zero Day                Class Action                 U.S. District Court                      Pending
             Nutrition Company dba                    Complaint, 1.                Central District of California           On appeal
             Glaxon                                   Violation of                 Riverside, Courtroom 1                   Concluded
             5:22-cv-1655                             California Unfair
                                                      Competition law
                                                      and other
                                                      charges.
                                                      This case was
                                                      dismissed.


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   Go Fund Me                               Donation
                                                                                                                03/03/23                       $1,011.00

             Recipients relationship to debtor
             None


      9.2.   GNC Holdings LLC                         18th Annual GNC Live Well Foundation
             300 Sixth Avenue                         Charrity Golf Outing
             Pittsburgh, PA 15222                                                                               08/11/23                      $15,000.00

             Recipients relationship to debtor
             None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                           lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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Debtor        Zero Day Nutrition Company f/k/a GB Nutrition Company                             Case number (if known) 24-31134



      None.
               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.                                                                                                            2/12/24 -
                                                                                                                       $10,000
                                                                                                                       (from Zero
                                                                                                                       Day
                                                                                                                       Nutrition)
                                                                                                                       3/11/24 -
                                                                                                                       $15.000
                                                                                                                       (from Day
                                                                                                                       One
                                                                                                                       Distribution
                                                                                                                       )
                                                                                                                       3/12/24 -
                                                                                                                       $15,000
                                                                                                                       (from Zero
                                                         Debtors collectively paid $50,000.00, plus                    Day
                                                         $3,476.00 for filing fees, to HF prior to                     Nutrition)
                                                         bankruptcy filing on dates listed below.                      3/12/24 -
                                                         On March 12, 2024, Hf applied $25,530.00,                     $13,476
               Haselden Farrow PLLC                      plus $3,476.00, to prepetition invoices and                   (from Day
               700 Milam                                 expenses, including filing fees, leaving a                    One
               Suite 1300                                post petition retainer of $24,470.00 for                      Distribution
               Houston, TX 77002                         these jointly administered cases.                             )                        $53,476.00

               Email or website address
               www.haseldenfarrow.com

               Who made the payment, if not debtor?
               Debtor & Day One Distribution LLC
               (co-debtor)



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
              Who received transfer?                   Description of property transferred or                    Date transfer              Total amount or
              Address                                  payments received or debts paid in exchange               was made                            value
      13.1 Day One Distribution LLC                    Intercompany transfers in the amount of
      .    12502 Exchange Drive                        $36,399.23 - included in A/R as doubtful
              Suite 448                                claim.
              Stafford, TX 77477                       See attached Exhibit "SOFA #13"                           Various                        $33,399.23

              Relationship to debtor




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
                                                                                             Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 58 of 100




                   Type                 Date       Num                   Name                        Memo                                                                 Clr Split                                    Debit           Credit     Balance

13100 ·
InterCompany
Receivable - DOD                                                                                                                                                                                                                                  $          -

                   Bill                  8/14/2019           1908040336 Worldwide Express (8605)     Shipping paid for Ntel Shipments to Natural BOdy on August 7, 2019       20100 · Accounts Payable                     1811.31                $     1,811.31
                   Bill                   9/3/2019 Company Formation Texas Secretary of State        Fast Twitch LLC formation costs                                          20100 · Accounts Payable                       308.1                $     2,119.41
                   Bill                   9/3/2019 Company Formation Texas Secretary of State        ATO Health Technologies LLC formation costs                              20100 · Accounts Payable                       308.1                $     2,427.51
                   Bill                   9/3/2019 Company Formation Texas Secretary of State        Day One Distribution LLC formation costs                                 20100 · Accounts Payable                       308.1                $     2,735.61
                   Credit Card Charge    9/12/2019                        Texas Secretary of State   State filing fees for Green Zoom LLC (Sam Strange's LLC_                 21300 · American Express                       308.1                $     3,043.71
                   Bill                  9/14/2019               40258409 Foley & Lardner LLP        Legal Fees for DOD LLC and Brand Purchase Agreements                     20100 · Accounts Payable                        6487                $     9,530.71
                   General Journal      10/11/2019 DS B                                              xfer to DOD to open account                                              10110 · Amegy Bank - Operating *2655            1000                $    10,530.71
                   Bill                 10/22/2019               40277074 Foley & Lardner LLP                                                                                 20100 · Accounts Payable                     14678.5                $    25,209.21
                   Bill                  11/8/2019 Payroll Nov 8          Great Zoom LLC             Sam's Payroll Nov 8 (paid by Zero Day)                                   20100 · Accounts Payable                     1346.15                $    26,555.36
                   Bill                 11/11/2019 DOD Suggs Payroll      Landon Suggs               Suggs payroll for 11/8                                                   20100 · Accounts Payable                     1923.08                $    28,478.44

                   Bill                 11/11/2019                       Shareholder Solutions LLC Payroll for DOD for 11/8                                                   20100 · Accounts Payable                     1923.08                 $   30,401.52
                   Bill                 11/11/2019                       Angel Echevarria          Payroll for DOD for 11/8 for Angel                                         20100 · Accounts Payable                     1923.08                 $   32,324.60
                   General Journal      11/12/2019 DS B                                            DOD repayment                                                              10110 · Amegy Bank - Operating *2655                         7115.38 $   25,209.22
                   Bill                 11/13/2019 Week of 11/11         Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                 $   25,209.22
                   General Journal      11/13/2019 DS B                                            CC Creations Promotional gear for DOD                                      10110 · Amegy Bank - Operating *2655         1824.01                 $   27,033.23
                   Bill                 11/14/2019                  4258 DCS Print Shop LLC        Men's and Women's tees, tanks and stringers for Pitbull Labs               20100 · Accounts Payable                        1369                 $   28,402.23
                   General Journal      11/14/2019 DS B                                            Reimbursement by Day One Distribution for 11/15/2019 payroll               10110 · Amegy Bank - Operating *2655                         7115.38 $   21,286.85

                   Bill                 11/15/2019 DOD Payroll           Shareholder Solutions LLC   MLB payroll 11/15                                                        20100 · Accounts Payable                     1923.08                $    23,209.93
                   Bill                 11/15/2019 DOD Payroll           Landon Suggs                LS Payroll 11/15                                                         20100 · Accounts Payable                     1923.08                $    25,133.01
                   Bill                 11/15/2019 DOD Payroll           Angel Echevarria            AE Payroll 11/15                                                         20100 · Accounts Payable                     1923.08                $    27,056.09
                   Bill                 11/15/2019 DOD Payroll           Great Zoom LLC              SS Payroll 11/15/2019                                                    20100 · Accounts Payable                     1346.14                $    28,402.23
                   Credit Card Charge   11/15/2019                       CC Creations                                                                                         21300 · American Express                      224.08                $    28,626.31
                   Credit Card Charge   11/20/2019                       Minutemann Press            Printing for DOD                                                         21200 · Chase United Visa                      54.42                $    28,680.73
                   General Journal      11/21/2019 DS B                                              CC Creations BIll for DOD                                                6125 · Marketing                              809.44                $    29,490.17
                   Bill                 11/22/2019                       Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                $    29,490.17
                   Credit Card Charge   11/28/2019                       Shopify                                                                                              21300 · American Express                       84.22                $    29,574.39
                   Bill                 11/29/2019                       Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                $    29,574.39

                   Bill                  12/1/2019                   179 Supplement Engineer, The AREZ Slime Product Page                                                     20100 · Accounts Payable                      394.45                 $   29,968.84
                   Bill                  12/3/2019 N383058               C.C. Creations                                                                                       20100 · Accounts Payable                     4314.57                 $   34,283.41
                   Credit Card Charge    12/3/2019                       Shopify                                                                                              21200 · Chase United Visa                      30.91                 $   34,314.32
                   Bill                  12/4/2019 N383631               C.C. Creations                                                                                       20100 · Accounts Payable                          20                 $   34,334.32
                   Bill                  12/6/2019                       Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                 $   34,334.32
                   Credit Card Charge    12/8/2019                       Shopify                                                                                              21200 · Chase United Visa                      30.91                 $   34,365.23
                   Credit Card Charge    12/9/2019                       Shutterstock             stock photos for DOD promotional work                                       21200 · Chase United Visa                     107.18                 $   34,472.41
                   Bill                 12/11/2019 Subscription          Shopify Billing          Day One Distribution set up                                                 20100 · Accounts Payable                      113.86                 $   34,586.27
                   General Journal      12/11/2019 DS B                                           Shopify for DOD                                                             5400 · Postage, Shipping, Freight Cost        113.86                 $   34,700.13
                   Bill                 12/13/2019                       Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                 $   34,700.13
                   Credit Card Charge   12/15/2019                       Facebook                 Facebook ads (11/17-12/15)                                                  21200 · Chase United Visa                        174                 $   34,874.13
                   Bill                 12/20/2019                       Great Zoom LLC                                                                                       20100 · Accounts Payable                           0                 $   34,874.13
                   Credit Card Charge   12/20/2019                       Facebook                                                                                             21200 · Chase United Visa                      52.15                 $   34,926.28
                   Credit Card Charge   12/23/2019                       Stamps.com                                                                                           21300 · American Express                         100                 $   35,026.28
                   Credit Card Charge   12/24/2019                       Justsaiyan               Promotional Gear                                                            21200 · Chase United Visa                        500                 $   35,526.28
                   Credit Card Charge   12/28/2019                       Shopify                  Shopify on Amex                                                             21300 · American Express                       84.22                 $   35,610.50
                   Credit Card Charge   12/30/2019                       Shopify                  Shopify on TZ Amex                                                          21300 · American Express                       33.55                 $   35,644.05
                   General Journal        1/1/2020 DS B                                           reverse 11/13/19 AJE for CC Creations Promotional gear for DOD              10110 · Amegy Bank - Operating *2655                         1824.01 $   33,820.04
                   Credit Card Charge     1/2/2020                       Shopify                                                                                              21200 · Chase United Visa                        30.91               $   33,850.95



                                                                                                                             EXHIBIT

                                                                                                                             SOFA #13
                                                                     Case 24-31133 Document 69 Filed in TXSB on 04/12/24 Page 59 of 100




Credit Card Charge    1/3/2020                     Shopify                Shopfiy On MLB Amex                                             21300 · American Express                  323.2            $   34,174.15
Credit Card Charge    1/7/2020                     Shopify                                                                                21200 · Chase United Visa                 30.91            $   34,205.06
Credit Card Charge    1/7/2020                     CC Creations                                                                           21300 · American Express                 645.17            $   34,850.23
Credit Card Charge    1/8/2020                     Facebook                                                                               21200 · Chase United Visa                    75            $   34,925.23
Credit Card Charge    1/9/2020                     Shutterstock                                                                           21200 · Chase United Visa                107.18            $   35,032.41
Bill                 1/10/2020            73904904 Shopify Billing                                                                        20100 · Accounts Payable                  127.3            $   35,159.71
Credit Card Charge   1/13/2020                     Creative Market                                                                        21200 · Chase United Visa                    18            $   35,177.71
Bill                 1/14/2020 S493956             C.C. Creations                                                                         20100 · Accounts Payable                 619.19            $   35,796.90
Bill                 1/14/2020             3658390 Shipstation                                                                            20100 · Accounts Payable                  53.04            $   35,849.94
Credit Card Charge   1/17/2020                     Shopify                Shopify on MLB Amex                                             21300 · American Express                  91.66            $   35,941.60
Credit Card Charge   1/20/2020                     USPS Stamps Endicia    Dec 20-Jan 20 USPS shipstation charges for DOD on ZD Amex       21300 · American Express                   3600            $   39,541.60
General Journal      1/21/2020 DS B                                       DOD loan repay                                                  10110 · Amegy Bank - Operating *2655                 20000 $   19,541.60
Credit Card Charge   1/21/2020                     Shopify                Shopify on TZ Amex                                              21300 · American Express                  30.91            $   19,572.51
Bill                 1/24/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   19,572.51
General Journal      1/27/2020 DS B                                       DOD loan repayment                                              10110 · Amegy Bank - Operating *2655              15078.15 $    4,494.36
Bill                 1/27/2020 1/15-1/27           Mickey Nguyen          Graphic Content for glaxon                                      20100 · Accounts Payable                    120            $    4,614.36
Bill                 1/28/2020 1/22-1/28           Lorena Sutherland                                                                      20100 · Accounts Payable                    210            $    4,824.36
Bill                 1/29/2020           1/29/2020 Brandon Allred         A goon toon about Brok Weaver and Glaxon                        20100 · Accounts Payable                    100            $    4,924.36
Bill                 1/31/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    4,924.36
Bill                  2/4/2020 006                 Brandon Allred         Goon Toon for SuperGreens                                       20100 · Accounts Payable                    100            $    5,024.36
Bill                  2/5/2020 1/29-2/4            Lorena Sutherland                                                                      20100 · Accounts Payable                    266            $    5,290.36
General Journal       2/5/2020 DS B                                       Shipping for DOD                                                5400 · Postage, Shipping, Freight Cost    54.43            $    5,344.79
Bill                  2/7/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    5,344.79
Bill                 2/14/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    5,344.79
Credit Card Charge   2/14/2020                     Shipstation                                                                            21300 · American Express                  53.04            $    5,397.83
General Journal      2/19/2020 DS B                                       Loan Payoff from DOD                                            10110 · Amegy Bank - Operating *2655               7114.37 $   (1,716.54)
Bill                 2/21/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   (1,716.54)
Credit Card Charge   2/21/2020                     Shopify                Shopify                                                         21300 · American Express                  31.87            $   (1,684.67)
Credit Card Charge   2/23/2020                     USPS Stamps Endicia    USPS Stamp Charges on Amex for 1/23-2/23                        21300 · American Express                   1000            $     (684.67)
Credit Card Charge   2/23/2020                     Shopify                MLB Amex Shopify for month ended 2/23                           21300 · American Express                 620.77            $      (63.90)
Credit Card Charge   2/23/2020                     Stamps.com             MLB Amex Stamps.com                                             21300 · American Express                  514.2            $      450.30
Credit Card Charge   2/26/2020                     Shopify                                                                                21300 · American Express                 268.47            $      718.77
Credit Card Charge   2/26/2020                     Shopify                                                                                21300 · American Express                  84.22            $      802.99
Bill                 2/28/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $      802.99
Bill                  3/3/2020 007                 Brandon Allred                                                                         20100 · Accounts Payable                    100            $      902.99
Bill                  3/6/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $      902.99
Credit Card Charge   3/10/2020                     Shopify                                                                                21300 · American Express                  198.9            $    1,101.89
Bill                 3/11/2020 DOD expense         Brok Weaver                                                                            20100 · Accounts Payable                   1000            $    2,101.89
Bill                 3/11/2020 008                 Brandon Allred                                                                         20100 · Accounts Payable                    100            $    2,201.89
Bill                 3/13/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    2,201.89
Bill                 3/14/2020             3867459 Shipstation            Shipstation                                                     20100 · Accounts Payable                  53.04            $    2,254.93
Credit Card Charge   3/15/2020                     Shopify                                                                                21300 · American Express                  91.66            $    2,346.59
Credit Card Charge   3/15/2020                     Comcast (Auto)                                                                         21300 · American Express                 534.12            $    2,880.71
Credit Card Charge   3/16/2020                     Stamps.com                                                                             21300 · American Express                    100            $    2,980.71
Bill                 3/17/2020 009                 Brandon Allred                                                                         20100 · Accounts Payable                    100            $    3,080.71
Bill                 3/20/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    3,080.71
Credit Card Charge   3/22/2020                     Shopify                                                                                21300 · American Express                   32.8            $    3,113.51
Bill                 3/25/2020 010                 Brandon Allred                                                                         20100 · Accounts Payable                    100            $    3,213.51
Credit Card Charge   3/26/2020 2/24-3/26           USPS Stamps Endicia    USPS Stamps from 2/24-3/26/2020                                 21300 · American Express                   1700            $    4,913.51
Bill                 3/27/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    4,913.51
Credit Card Charge   3/28/2020                     Shopify                Shopify                                                         21300 · American Express                  293.1            $    5,206.61
Credit Card Charge   3/28/2020                     Shopify                Shopify                                                         21300 · American Express                  84.22            $    5,290.83
Bill                  4/3/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    5,290.83
Credit Card Charge    4/9/2020                     Shopify                Shopify                                                         21300 · American Express                 208.94            $    5,499.77
Bill                 4/10/2020                     Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    5,499.77
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Credit Card Charge   4/14/2020        Shopify                Shopify                                                             21300 · American Express                 91.66           $    5,591.43
Credit Card Charge   4/14/2020        Shipstation            Shipstation                                                         21300 · American Express                 52.23           $    5,643.66
Bill                 4/17/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    5,643.66
Credit Card Charge   4/21/2020        Shopify                Shopify                                                             21300 · American Express                 32.31           $    5,675.97
Bill                 4/24/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    5,675.97
Credit Card Charge   4/27/2020        Shopify                MLB Amex                                                            21300 · American Express                252.77           $    5,928.74
Credit Card Charge   4/27/2020        Shopify                MLB Amex                                                            21300 · American Express                 84.22           $    6,012.96
General Journal      4/29/2020 DS B                          DOD advance repaid                                                  10110 · Amegy Bank - Operating *2655             5587.94 $      425.02
Bill                  5/1/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                    0            $      425.02
Bill                  5/8/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                    0            $      425.02
Bill                 5/15/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                    0            $      425.02
General Journal      5/15/2020 DS B                          Wire Payment to Dongyu debited from DOD account in error            10110 · Amegy Bank - Operating *2655                2195 $   (1,769.98)
Bill                 5/22/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $   (1,769.98)
Credit Card Charge   5/27/2020        Shopify                DOD account                                                         21300 · American Express                273.72           $   (1,496.26)
Credit Card Charge   5/27/2020        Shopify                DOD account                                                         21300 · American Express                 84.22           $   (1,412.04)
Bill                 5/29/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $   (1,412.04)
General Journal       6/3/2020 DS B                          DOD Payment /reimbursement for Payments in April to Brandon Alred   10110 · Amegy Bank - Operating *2655                 350 $   (1,762.04)
Bill                  6/5/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $   (1,762.04)
Credit Card Charge    6/8/2020        Shopify                DOD account                                                         21300 · American Express                297.54           $   (1,464.50)
Credit Card Charge    6/8/2020        Sportika Export                                                                            21300 · American Express                   500           $     (964.50)
General Journal      6/11/2020 DS B                          Amounts owed to DOD                                                 10110 · Amegy Bank - Operating *2655   3321.79           $    2,357.29
General Journal      6/11/2020 DS B                          Misc Expenses paid on behalf of DOD                                 10110 · Amegy Bank - Operating *2655             1126.79 $    1,230.50
Bill                 6/12/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    1,230.50
Credit Card Charge   6/13/2020        Shopify                DOD account                                                         21300 · American Express                 91.66           $    1,322.16
Credit Card Charge   6/14/2020        Shipstation            DOD account                                                         21300 · American Express                 57.64           $    1,379.80
Bill                 6/19/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    1,379.80
Credit Card Charge   6/20/2020        Shopify                DOD account                                                         21300 · American Express                 31.79           $    1,411.59
Credit Card Charge   6/25/2020        USPS Stamps Endicia    Mulitple $100 charges used for DOD shipping                         21300 · American Express                  2000           $    3,411.59
Credit Card Charge   6/25/2020        Facebook               DOD Facebood charges for month                                      21300 · American Express                785.06           $    4,196.65
Bill                 6/26/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    4,196.65
Credit Card Charge   6/26/2020        Shopify                DOD account                                                         21300 · American Express                334.61           $    4,531.26
Credit Card Charge   6/26/2020        Shopify                DOD account                                                         21300 · American Express                 84.22           $    4,615.48
Credit Card Charge    7/1/2020        Shipstation            DOD account                                                         21300 · American Express                162.38           $    4,777.86
Credit Card Charge    7/2/2020        Omnisend               DOD account                                                         21300 · American Express                    40           $    4,817.86
Credit Card Charge    7/2/2020        Ominsend               DOD account                                                         21300 · American Express                   240           $    5,057.86
Bill                  7/3/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    5,057.86
Credit Card Charge    7/3/2020        Shipstation            DOD account                                                         21300 · American Express                162.38           $    5,220.24
Credit Card Charge    7/7/2020        Sportika Export                                                                            21300 · American Express                   500           $    5,720.24
Credit Card Charge    7/8/2020        Shopify                DOD account                                                         21300 · American Express                274.11           $    5,994.35
Bill                 7/10/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    5,994.35
Credit Card Charge   7/13/2020        Shopify                DOD account                                                         21300 · American Express                 91.66           $    6,086.01
Credit Card Charge   7/14/2020        Kishu Creative         DOD account                                                         21300 · American Express                  1985           $    8,071.01
Credit Card Charge   7/14/2020        Shipstation            DOD account                                                         21300 · American Express                 57.64           $    8,128.65
Credit Card Charge   7/15/2020        Grand Concepts         DOD account                                                         21300 · American Express                  1580           $    9,708.65
Credit Card Charge   7/15/2020        Audioblocks            DOD account                                                         21300 · American Express                    15           $    9,723.65
Bill                 7/17/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    9,723.65
Credit Card Charge   7/20/2020        Shopify                DOD account                                                         21300 · American Express                 30.91           $    9,754.56
Bill                 7/24/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $    9,754.56
Credit Card Charge   7/25/2020        USPS Stamps Endicia    USPS Postage for DOD account for month                              21300 · American Express                  1700           $   11,454.56
Credit Card Charge   7/25/2020        Facebook               Facebook charges for month                                          21300 · American Express               2493.48           $   13,948.04
Credit Card Charge   7/26/2020        Shopify                DOD account                                                         21300 · American Express                 84.22           $   14,032.26
Credit Card Charge   7/26/2020        Shopify                DOD Account                                                         21300 · American Express                352.34           $   14,384.60
Credit Card Charge   7/29/2020        Stamps.com             Stamps.com                                                          21300 · American Express                   100           $   14,484.60
Credit Card Charge   7/29/2020        Salesforce.com         Salesforce.com                                                      21300 · American Express                863.46           $   15,348.06
Bill                 7/31/2020        Great Zoom LLC                                                                             20100 · Accounts Payable                     0           $   15,348.06
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Credit Card Charge    7/31/2020               Facebook                                                                               21300 · American Express                 117.48            $   15,465.54
Credit Card Charge     8/4/2020               Sportika Export                                                                        21300 · American Express                    500            $   15,965.54
Bill                   8/7/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   15,965.54
Bill                  8/14/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   15,965.54
Credit Card Charge    8/19/2020               Shopify                                                                                21300 · American Express                  31.79            $   15,997.33
Bill                  8/21/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   15,997.33
Credit Card Charge    8/25/2020               Shopify                Shopify                                                         21300 · American Express                 238.44            $   16,235.77
Credit Card Charge    8/25/2020               Shopify                                                                                21300 · American Express                  84.22            $   16,319.99
Credit Card Charge    8/26/2020               USPS Stamps Endicia    Month's charges for USPS Stamps                                 21300 · American Express                    700            $   17,019.99
Bill                  8/28/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   17,019.99
Credit Card Charge    8/28/2020               Shipstation            Shipstation Charges on Amex ending Aug 28                       21100 · American Express - Corporate     220.02            $   17,240.01
Credit Card Charge    8/28/2020               Stamps.com             Stamps.com Charges on Amex ending Aug 28                        21100 · American Express - Corporate        200            $   17,440.01
Credit Card Charge    8/28/2020               Shopify                Shopify Charges on Amex ending Aug 28                           21100 · American Express - Corporate     366.17            $   17,806.18
Credit Card Charge    8/28/2020               USPS                   USPS Charges on Amex ending Aug 28                              21100 · American Express - Corporate       1800            $   19,606.18
Credit Card Charge    8/28/2020               Manychat               MICHAEL L BISCHOFF-67008-NT_HV264NJ0 8778877815                 21310 · AMEX Plat 7008                       10            $   19,616.18
Credit Card Charge    8/28/2020               Tapfiliate             MICHAEL L BISCHOFF-67008-NT_HURKTDHV 8778877815                 21310 · AMEX Plat 7008                       69            $   19,685.18
Credit Card Charge    8/31/2020               Facebook               MICHAEL L BISCHOFF-67008-P3095825450 ADVERTISING SERVICE        21310 · AMEX Plat 7008                   400.05            $   20,085.23
Credit Card Charge    8/31/2020               Ominsend               THOMAS H ZENNER-61035-NT_HWDB0LMS +447775385770                 21310 · AMEX Plat 7008                       40            $   20,125.23
Credit Card Charge    8/31/2020               Ominsend               THOMAS H ZENNER-61035-NT_HWCCVTXQ +447775385770                 21310 · AMEX Plat 7008                      240            $   20,365.23
Credit Card Charge     9/2/2020               Shipstation                                                                            21105 · AMEX CORP - M BISCHOFF - 62018   162.38            $   20,527.61
Credit Card Charge     9/3/2020               Shutterstock           MICHAEL L BISCHOFF-67008-83993424 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                    31.39            $   20,559.00
Bill                   9/4/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   20,559.00
General Journal        9/4/2020        1009                          Telephone Transfer Credit - Closing Day One Distr account       10100 · Texas Gulf Bank - Operating                      3 $   20,556.00
Credit Card Charge     9/4/2020               Tapfiliate             MICHAEL L BISCHOFF-67008-NT_HXTTKTR6 8778877815                 21310 · AMEX Plat 7008                     149             $   20,705.00
General Journal        9/4/2020        1084                          Texas Gulf Bank transfer to day one distr acct                  92000 · Interest Expense                                 3 $   20,702.00
Credit Card Charge     9/6/2020               Shopify Billing                                                                        21105 · AMEX CORP - M BISCHOFF - 62018   470.34            $   21,172.34
Bill                  9/11/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   21,172.34
Check                 9/11/2020 EFT           Lee Mays               DOD Payroll for Sep 2-8 for Lee Mays                            10110 · Amegy Bank - Operating *2655     407.73            $   21,580.07
Credit Card Charge    9/11/2020               Sportika Export        MICHAEL L BISCHOFF-67008-85189930255860-747-3399                21310 · AMEX Plat 7008                      500            $   22,080.07
Credit Card Charge    9/11/2020               Shopify Billing                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    91.66            $   22,171.73
Credit Card Charge    9/12/2020               MySellerPal            MICHAEL L BISCHOFF-67008-NT_I0IHWWIS +18009187305               21310 · AMEX Plat 7008                       10            $   22,181.73
Credit Card Charge    9/15/2020               Shipstation                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    57.64            $   22,239.37
Credit Card Charge    9/17/2020                                      MICHAEL L BISCHOFF-67008-BCO94605680 EDUCATIONAL SERVICE        21310 · AMEX Plat 7008                     3225            $   25,464.37
Bill                  9/18/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   25,464.37
Credit Card Charge    9/18/2020               Shopify Billing        THOMAS H ZENNER-61035-NT_I2JIT8SB +18887467439                  21310 · AMEX Plat 7008                    30.91            $   25,495.28
General Journal       9/21/2020 DS B                                 DOD paying off loan to ZD                                       10110 · Amegy Bank - Operating *2655              18513.91 $    6,981.37
Credit Card Charge    9/24/2020               Shopify Billing        MICHAEL L BISCHOFF-66000-NT_I4ZR5WJU +18887467439               21310 · AMEX Plat 7008                   237.59            $    7,218.96
Credit Card Charge    9/24/2020               Shopify Billing        MICHAEL L BISCHOFF-66000-NT_I4ZWGRDN +18887467439               21310 · AMEX Plat 7008                    84.22            $    7,303.18
Bill                  9/25/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $    7,303.18
Credit Card Charge    9/26/2020               USPS Stamps Endicia    9/1-9/28 usps endicia stamps                                    21105 · AMEX CORP - M BISCHOFF - 62018     3010            $   10,313.18
Credit Card Charge    9/28/2020               Manychat               MICHAEL L BISCHOFF-67008-NT_I6E5XVZG 8778877815                 21310 · AMEX Plat 7008                       10            $   10,323.18
Credit Card Charge    9/28/2020               Tapfiliate             MICHAEL L BISCHOFF-67008-NT_I6TP0N3N 8778877815                 21310 · AMEX Plat 7008                       69            $   10,392.18
Credit Card Charge    9/28/2020               Facebook               MICHAEL L BISCHOFF-67008-P3234743383 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      750            $   11,142.18
Credit Card Charge    9/30/2020               Ominsend               THOMAS H ZENNER-61035-NT_I7SMTANH +447775385770                 21310 · AMEX Plat 7008                       40            $   11,182.18
Credit Card Charge    9/30/2020               Ominsend               THOMAS H ZENNER-61035-NT_I7ROHFVM +447775385770                 21310 · AMEX Plat 7008                      240            $   11,422.18
Credit Card Charge    9/30/2020               Facebook               MICHAEL L BISCHOFF-67008-P3244456992 ADVERTISING SERVICE        21310 · AMEX Plat 7008                   300.52            $   11,722.70
Bill                  10/2/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   11,722.70
Credit Card Charge    10/2/2020               Ominsend               THOMAS H ZENNER-61035-NT_I85OJWQV +447775385770                 21310 · AMEX Plat 7008                       50            $   11,772.70
Credit Card Charge    10/2/2020               Proforma               50% Deposit - Glaxon Shakers                                    21310 · AMEX Plat 7008                   5518.8            $   17,291.50
Credit Card Charge    10/3/2020               Shutterstock           MICHAEL L BISCHOFF-67008-85415775 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                    31.39            $   17,322.89
Credit Card Charge    10/3/2020               Shipstation                                                                            21105 · AMEX CORP - M BISCHOFF - 62018      150            $   17,472.89
Credit Card Charge    10/4/2020               Tapfiliate             MICHAEL L BISCHOFF-67008-NT_I8K37GY4 8778877815                 21310 · AMEX Plat 7008                      149            $   17,621.89
Credit Card Charge    10/6/2020               Shopify Billing                                                                        21105 · AMEX CORP - M BISCHOFF - 62018   419.89            $   18,041.78
Bill                  10/9/2020               Great Zoom LLC                                                                         20100 · Accounts Payable                      0            $   18,041.78
Credit Card Charge   10/11/2020               Shopify Billing                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    91.66            $   18,133.44
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Credit Card Charge   10/12/2020                   Disruptive Advertising    MICHAEL L BISCHOFF-67008-NT_IBRR8EKM 8779567510                             21310 · AMEX Plat 7008                    1600         $   19,733.44
Credit Card Charge   10/12/2020                   MySellerPal               MICHAEL L BISCHOFF-67008-NT_IBX39TOC +18009187305                           21310 · AMEX Plat 7008                      10         $   19,743.44
Credit Card Credit   10/13/2020                   Sportika Export           MICHAEL L BISCHOFF-67008-85189930287860-747-3399                            21310 · AMEX Plat 7008                             500 $   19,243.44
Credit Card Charge   10/13/2020                   Sportika Export           MICHAEL L BISCHOFF-67008-85189930287860-747-3399                            21310 · AMEX Plat 7008                      500        $   19,743.44
Credit Card Charge   10/15/2020                   Shipstation                                                                                           21105 · AMEX CORP - M BISCHOFF - 62018    57.64        $   19,801.08
Bill                 10/16/2020                   Great Zoom LLC                                                                                        20100 · Accounts Payable                      0        $   19,801.08
Credit Card Charge   10/18/2020                   Shopify Billing           THOMAS H ZENNER-61035-NT_IDXY5KVI +18887467439                              21310 · AMEX Plat 7008                    30.91        $   19,831.99
Credit Card Charge   10/24/2020                   Shopify Billing           MICHAEL L BISCHOFF-66000-NT_IGDGNTGI +18887467439                           21310 · AMEX Plat 7008                    84.22        $   19,916.21
Credit Card Charge   10/24/2020                   Shopify Billing           MICHAEL L BISCHOFF-66000-NT_IGDDYSTP +18887467439                           21310 · AMEX Plat 7008                   219.25        $   20,135.46
Credit Card Credit   10/27/2020                   Flywire                   Flywire disruptive advertising refund                                       21310 · AMEX Plat 7008                            3070 $   17,065.46
Credit Card Charge   10/28/2020                   Manychat                  MICHAEL L BISCHOFF-67008-NT_IHSS7BK9 8778877815                             21310 · AMEX Plat 7008                       10        $   17,075.46
Credit Card Charge   10/28/2020                   Tapfiliate                MICHAEL L BISCHOFF-67008-NT_IHLM95WN 8778877815                             21310 · AMEX Plat 7008                       69        $   17,144.46
Credit Card Charge   10/28/2020                   USPS Stamps Endicia                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     3200        $   20,344.46
Credit Card Charge   10/29/2020                   Social Clout Club         SOCIAL CLOUT CLUB                                                           21310 · AMEX Plat 7008                      239        $   20,583.46
Bill                 10/30/2020                   Great Zoom LLC                                                                                        20100 · Accounts Payable                      0        $   20,583.46
Credit Card Charge   10/30/2020                   Salesforce.com            SALES CLOUD 3 months 10/30/20-01/29/21                                      21310 · AMEX Plat 7008                   863.46        $   21,446.92
Credit Card Charge   10/31/2020                   Facebook                  MICHAEL L BISCHOFF-67008-P3284749738 ADVERTISING SERVICE                    21310 · AMEX Plat 7008                   585.94        $   22,032.86
Credit Card Charge    11/2/2020                   Facebook                  MICHAEL L BISCHOFF-67008-10051670262 6505434800                             21310 · AMEX Plat 7008                      600        $   22,632.86
General Journal       11/3/2020 DS B                                        Authorize.net charges                                                       10110 · Amegy Bank - Operating *2655         30        $   22,662.86
Credit Card Charge    11/3/2020                   Shutterstock              MICHAEL L BISCHOFF-67008-86893204 COMMERCIAL PHOTO/ART                      21310 · AMEX Plat 7008                    31.39        $   22,694.25
Credit Card Charge    11/3/2020                   Shipstation                                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      150        $   22,844.25
Credit Card Charge    11/4/2020                   Tapfiliate                MICHAEL L BISCHOFF-67008-NT_IKM2POOD 8778877815                             21310 · AMEX Plat 7008                      149        $   22,993.25
Credit Card Charge    11/5/2020                   Shopify Billing                                                                                       21105 · AMEX CORP - M BISCHOFF - 62018   466.26        $   23,459.51
Bill                  11/6/2020                   Great Zoom LLC                                                                                        20100 · Accounts Payable                      0        $   23,459.51
Credit Card Charge    11/7/2020                   Facebook                  MICHAEL L BISCHOFF-67008-10052046978 6505434800                             21310 · AMEX Plat 7008                      600        $   24,059.51
General Journal      11/11/2020 DS B                                                                                                                    10110 · Amegy Bank - Operating *2655       7500        $   31,559.51
Credit Card Charge   11/11/2020                   Shopify Billing                                                                                       21105 · AMEX CORP - M BISCHOFF - 62018    91.66        $   31,651.17
Credit Card Charge   11/12/2020                   MySellerPal               MICHAEL L BISCHOFF-67008-NT_INZ6PX6E +18009187305                           21310 · AMEX Plat 7008                       10        $   31,661.17
Bill                 11/13/2020                   Great Zoom LLC                                                                                        20100 · Accounts Payable                      0        $   31,661.17
Credit Card Charge   11/14/2020                   Facebook                  MICHAEL L BISCHOFF-67008-10052611706 6505434800                             21310 · AMEX Plat 7008                      900        $   32,561.17
General Journal      11/15/2020 DS B                                        DOD loan payback                                                            10110 · Amegy Bank - Operating *2655              7500 $   25,061.17
Credit Card Charge   11/15/2020                 Shipstation                                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    57.64        $   25,118.81
Credit Card Charge   11/17/2020                 Shopify Billing             THOMAS H ZENNER-61035-NT_IPDZIMZK +18887467439                              21310 · AMEX Plat 7008                    31.48        $   25,150.29
Bill                 11/20/2020                 Great Zoom LLC                                                                                          20100 · Accounts Payable                      0        $   25,150.29
Credit Card Charge   11/21/2020                 Facebook                    MICHAEL L BISCHOFF-67008-10053105233 6505434800                             21310 · AMEX Plat 7008                   682.02        $   25,832.31
Credit Card Charge   11/23/2020                 Shopify Billing             MICHAEL L BISCHOFF-66000-NT_IRRUFIBI +18887467439                           21310 · AMEX Plat 7008                    84.22        $   25,916.53
Credit Card Charge   11/23/2020                 Shopify Billing             MICHAEL L BISCHOFF-66000-NT_IRSE6X36 +18887467439                           21310 · AMEX Plat 7008                   219.81        $   26,136.34
Credit Card Charge   11/25/2020                 Shopify Billing                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    78.18        $   26,214.52
Credit Card Charge   11/26/2020                 Social Clout Club           MICHAEL L BISCHOFF-67008-NT_ISHLUAZE +19734755085                           21310 · AMEX Plat 7008                      239        $   26,453.52
Credit Card Charge   11/26/2020                 Facebook                    MICHAEL L BISCHOFF-67008-10053601402 6505434800                             21310 · AMEX Plat 7008                      900        $   27,353.52
Bill                 11/27/2020                 Great Zoom LLC                                                                                          20100 · Accounts Payable                      0        $   27,353.52
Credit Card Charge   11/28/2020                 Manychat                    MICHAEL L BISCHOFF-67008-NT_ITUSYH3D 8778877815                             21310 · AMEX Plat 7008                       10        $   27,363.52
Credit Card Charge   11/28/2020                 Tapfiliate                  MICHAEL L BISCHOFF-67008-NT_ITLQN7ES 8778877815                             21310 · AMEX Plat 7008                       69        $   27,432.52
Credit Card Charge   11/28/2020                 USPS Stamps Endicia                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     4700        $   32,132.52
Credit Card Charge   11/30/2020                 USPS Stamps Endicia                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     1000        $   33,132.52
Credit Card Charge    12/1/2020        20201201 Authorize.net               Monthly Charge                                                              21310 · AMEX Plat 7008                       25        $   33,157.52
Credit Card Charge    12/1/2020                 Facebook                    MICHAEL L BISCHOFF-67008-P3423756281 ADVERTISING SERVICE                    21310 · AMEX Plat 7008                     26.6        $   33,184.12

General Journal       12/1/2020            1043                             Landsberg Orora invoice 91533568 dated 11/03/20 for Day One Distributions   6750 · Warehouse supplies                463.89        $   33,648.01
Credit Card Charge    12/2/2020                 Shipstation                                                                                             21105 · AMEX CORP - M BISCHOFF - 62018      150        $   33,798.01
Credit Card Charge    12/2/2020                 Facebook                    MICHAEL L BISCHOFF-67008-10054277505 6505434800                             21310 · AMEX Plat 7008                      900        $   34,698.01
Credit Card Charge    12/3/2020                 Facebook                    MICHAEL L BISCHOFF-67008-10054307525 6505434800                             21310 · AMEX Plat 7008                    52.76        $   34,750.77
Bill                  12/4/2020                 Great Zoom LLC                                                                                          20100 · Accounts Payable                      0        $   34,750.77
Credit Card Charge    12/4/2020                 Tapfiliate                  MICHAEL L BISCHOFF-67008-NT_IVALCFCH 8778877815                             21310 · AMEX Plat 7008                      149        $   34,899.77
Credit Card Charge    12/4/2020        20201204 Hawke Media LLC                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    13050        $   47,949.77
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Credit Card Charge    12/5/2020            Shutterstock              MICHAEL L BISCHOFF-67008-88462494 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                    31.39   $   47,981.16
Credit Card Charge    12/5/2020   20201205 Shopify                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018   914.44   $   48,895.60
Credit Card Charge    12/8/2020            Disruptive Advertising    MICHAEL L BISCHOFF-67008-NT_IXEKCINW 8779567510                 21310 · AMEX Plat 7008                     1600   $   50,495.60
Credit Card Charge   12/10/2020            Social Clout Club         MICHAEL L BISCHOFF-67008-NT_IXWX7KTG +19734755085               21310 · AMEX Plat 7008                      239   $   50,734.60
Credit Card Charge   12/10/2020            Facebook                  MICHAEL L BISCHOFF-67008-10054974206 6505434800                 21310 · AMEX Plat 7008                      900   $   51,634.60
Bill                 12/11/2020            Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   51,634.60
Credit Card Charge   12/11/2020            Shopify Billing                                                                           21105 · AMEX CORP - M BISCHOFF - 62018    91.66   $   51,726.26
Credit Card Charge   12/12/2020            Stacked3D                 MICHAEL L BISCHOFF-67008-NT_IYLFFDWH +64276644466               21310 · AMEX Plat 7008                     1500   $   53,226.26
Credit Card Charge   12/12/2020            MySellerPal               MICHAEL L BISCHOFF-67008-NT_IYNPVR0R +18009187305               21310 · AMEX Plat 7008                       10   $   53,236.26
Credit Card Charge   12/13/2020            Supplement Snoop          MICHAEL L BISCHOFF-66000-NT_IYSXTZFD +13052032729               21310 · AMEX Plat 7008                    19.99   $   53,256.25
Credit Card Charge   12/15/2020            Shipstation                                                                               21105 · AMEX CORP - M BISCHOFF - 62018    57.64   $   53,313.89
Bill                 12/16/2020            Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   53,313.89
Credit Card Charge   12/17/2020            Shopify Billing           THOMAS H ZENNER-61035-NT_IAS9RMTT +18887467439                  21310 · AMEX Plat 7008                    30.91   $   53,344.80
Credit Card Charge   12/20/2020            Linktree                  MICHAEL L BISCHOFF-67008-NT_IBHJITS3 +61385381294               21310 · AMEX Plat 7008                        6   $   53,350.80
Credit Card Charge   12/21/2020            Facebook                  MICHAEL L BISCHOFF-67008-10055953468 6505434800                 21310 · AMEX Plat 7008                   215.12   $   53,565.92
Bill                 12/22/2020            Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   53,565.92
Credit Card Charge   12/23/2020   20201223 Vitamin Shoppe                                                                            21105 · AMEX CORP - M BISCHOFF - 62018   153.81   $   53,719.73
Credit Card Charge   12/23/2020            Shopify Billing           MICHAEL L BISCHOFF-66000-NT_ICGVZNNW +18887467439               21310 · AMEX Plat 7008                      235   $   53,954.73
Credit Card Charge   12/23/2020            Shopify Billing           MICHAEL L BISCHOFF-66000-NT_ICHO5ZO4 +18887467439               21310 · AMEX Plat 7008                    84.22   $   54,038.95
Credit Card Charge   12/24/2020            Social Clout Club         MICHAEL L BISCHOFF-67008-NT_IDBJ1HMA +19734755085               21310 · AMEX Plat 7008                      239   $   54,277.95
Credit Card Charge   12/28/2020   20201228 Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     3600   $   57,877.95
Credit Card Charge   12/28/2020            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   58,077.95
Credit Card Charge   12/28/2020            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   58,277.95
Credit Card Charge   12/28/2020            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   58,477.95
Credit Card Charge   12/28/2020            Manychat                  MICHAEL L BISCHOFF-67008-NT_IEJEQXJN 8778877815                 21310 · AMEX Plat 7008                       10   $   58,487.95
Credit Card Charge   12/28/2020            Tapfiliate                MICHAEL L BISCHOFF-67008-NT_IEAEJ9MB 8778877815                 21310 · AMEX Plat 7008                       69   $   58,556.95
Credit Card Charge   12/29/2020            Google Ads                                                                                21110 · AMEX CORP -T ZENNER - 61028         350   $   58,906.95
Bill                 12/30/2020            Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   58,906.95
Credit Card Charge   12/31/2020            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   59,106.95
Credit Card Charge     1/2/2021            Shipstation                                                                               21105 · AMEX CORP - M BISCHOFF - 62018      150   $   59,256.95
Credit Card Charge     1/2/2021            Google Ads                                                                                21110 · AMEX CORP -T ZENNER - 61028         500   $   59,756.95
Credit Card Charge     1/4/2021            Tapfiliate                MICHAEL L BISCHOFF-67008-NT_IHCMUCOX 8778877815                 21310 · AMEX Plat 7008                      149   $   59,905.95
Credit Card Charge     1/4/2021            Shopify                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018   720.99   $   60,626.94
Credit Card Charge     1/5/2021            Shutterstock              MICHAEL L BISCHOFF-67008-89913416 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                    31.39   $   60,658.33
Credit Card Charge     1/5/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      600   $   61,258.33
Credit Card Charge     1/6/2021            Hawke Media LLC           MICHAEL L BISCHOFF-67008-006IAOVNZ0Y158638 90064                21310 · AMEX Plat 7008                     7650   $   68,908.33
Credit Card Charge     1/6/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   69,108.33
Credit Card Charge     1/7/2021            Social Clout Club         MICHAEL L BISCHOFF-67008-NT_IIQUFAAS +19734755085               21310 · AMEX Plat 7008                      239   $   69,347.33
Credit Card Charge     1/7/2021            Facebook                  MICHAEL L BISCHOFF-67008-10057196289 6505434800                 21310 · AMEX Plat 7008                      900   $   70,247.33
Credit Card Charge     1/7/2021        200 Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   70,447.33
Bill                   1/8/2021   20210108 Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   70,447.33
Credit Card Charge     1/8/2021            Google Ads                MICHAEL L BISCHOFF-67008-A0G5JD4A ADVERTISING                   21310 · AMEX Plat 7008                      500   $   70,947.33
Credit Card Charge     1/9/2021            Facebook                  MICHAEL L BISCHOFF-67008-10057365867 6505434800                 21310 · AMEX Plat 7008                      900   $   71,847.33
Credit Card Charge     1/9/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   72,047.33
Credit Card Charge    1/11/2021            Shopify Billing                                                                           21105 · AMEX CORP - M BISCHOFF - 62018    91.66   $   72,138.99
Credit Card Charge    1/11/2021            Zendesk Inc               MICHAEL L BISCHOFF-67008-INV06565544INV06565544 94103           21310 · AMEX Plat 7008                   192.39   $   72,331.38
Credit Card Charge    1/11/2021            Facebook                  MICHAEL L BISCHOFF-67008-10057519781 6505434800                 21310 · AMEX Plat 7008                      900   $   73,231.38
Credit Card Charge    1/12/2021            MySellerPal               MICHAEL L BISCHOFF-67008-NT_IKPQWNVK +18009187305               21310 · AMEX Plat 7008                       10   $   73,241.38
Credit Card Charge    1/12/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      600   $   73,841.38
Credit Card Charge    1/13/2021            Google Ads                MICHAEL L BISCHOFF-67008-A0G7XKMQ ADVERTISING                   21310 · AMEX Plat 7008                      500   $   74,341.38
Credit Card Charge    1/14/2021            Facebook                  MICHAEL L BISCHOFF-67008-10057738505 6505434800                 21310 · AMEX Plat 7008                      900   $   75,241.38
Credit Card Charge    1/14/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      200   $   75,441.38
Credit Card Charge    1/14/2021            stickerapp                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      250   $   75,691.38
Bill                  1/15/2021            Great Zoom LLC                                                                            20100 · Accounts Payable                      0   $   75,691.38
Credit Card Charge    1/15/2021            Shipstation                                                                               21110 · AMEX CORP -T ZENNER - 61028       57.64   $   75,749.02
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Credit Card Charge   1/15/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   75,949.02
Credit Card Charge   1/16/2021            Shopify Billing         THOMAS H ZENNER-61035-NT_ILGNIDEH +18887467439                  21310 · AMEX Plat 7008                    30.91          $   75,979.93
Credit Card Charge   1/16/2021            Facebook                MICHAEL L BISCHOFF-67008-10057924520 6505434800                 21310 · AMEX Plat 7008                      900          $   76,879.93
Deposit              1/19/2021     221019 Day One Distribution    Error - deposit Europa to Day One Distr                         10110 · Amegy Bank - Operating *2655              575.73 $   76,304.20
Credit Card Charge   1/19/2021            Facebook                MICHAEL L BISCHOFF-67008-10058102862 6505434800                 21310 · AMEX Plat 7008                      900          $   77,204.20
Credit Card Charge   1/19/2021            Google Ads              MICHAEL L BISCHOFF-67008-A5013719275 DIGITAL GOODS: APPS        21310 · AMEX Plat 7008                      500          $   77,704.20
Credit Card Charge   1/19/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   77,904.20
Credit Card Charge   1/20/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   78,104.20
Credit Card Charge   1/21/2021            Social Clout Club       MICHAEL L BISCHOFF-67008-NT_ING4TD93 +19734755085               21310 · AMEX Plat 7008                      239          $   78,343.20
Credit Card Charge   1/21/2021            Facebook                MICHAEL L BISCHOFF-67008-10058231533 6505434800                 21310 · AMEX Plat 7008                   263.86          $   78,607.06
Credit Card Charge   1/21/2021            Shutterstock                                                                            21105 · AMEX CORP - M BISCHOFF - 62018   135.31          $   78,742.37
Credit Card Charge   1/21/2021            Shutterstock                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    31.39          $   78,773.76
Bill                 1/22/2021            Great Zoom LLC                                                                          20100 · Accounts Payable                      0          $   78,773.76
Credit Card Charge   1/22/2021            Shopify Billing         MICHAEL L BISCHOFF-66000-NT_INWWXGPM +18887467439               21310 · AMEX Plat 7008                   219.29          $   78,993.05
Credit Card Charge   1/22/2021            Shopify Billing         MICHAEL L BISCHOFF-66000-NT_INWA8ZJG +18887467439               21310 · AMEX Plat 7008                    84.22          $   79,077.27
Credit Card Charge   1/22/2021            Facebook                MICHAEL L BISCHOFF-67008-10058367149 6505434800                 21310 · AMEX Plat 7008                      900          $   79,977.27
Credit Card Charge   1/23/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   80,177.27
Credit Card Charge   1/24/2021            Google Ads              MICHAEL L BISCHOFF-67008-A1010186612 LARGE DIGITAL GOODS M      21310 · AMEX Plat 7008                      500          $   80,677.27
Credit Card Charge   1/25/2021            Facebook                MICHAEL L BISCHOFF-67008-10058577506 6505434800                 21310 · AMEX Plat 7008                      900          $   81,577.27
Credit Card Charge   1/26/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   81,777.27
Credit Card Charge   1/27/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   81,977.27
Credit Card Charge   1/28/2021            Manychat                MICHAEL L BISCHOFF-67008-NT_IQLGLRTF 8778877815                 21310 · AMEX Plat 7008                       10          $   81,987.27
Credit Card Charge   1/28/2021            Tapfiliate              MICHAEL L BISCHOFF-67008-NT_IQCD6PXT 8778877815                 21310 · AMEX Plat 7008                       69          $   82,056.27
Credit Card Charge   1/28/2021            Facebook                MICHAEL L BISCHOFF-67008-10058762712 6505434800                 21310 · AMEX Plat 7008                      900          $   82,956.27
Credit Card Charge   1/28/2021            stickerapp                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      137          $   83,093.27
Credit Card Charge   1/28/2021            Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      200          $   83,293.27
Bill                 1/29/2021            Great Zoom LLC                                                                          20100 · Accounts Payable                      0          $   83,293.27
Credit Card Charge   1/29/2021            Google Ads              MICHAEL L BISCHOFF-67008-A9232192213 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $   83,793.27
Credit Card Charge   1/29/2021   18688463 Salesforce.com          Sales Cloud service 1/30/21-4/29/21                             21110 · AMEX CORP -T ZENNER - 61028      863.46          $   84,656.73
Credit Card Charge   1/29/2021            USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018      200          $   84,856.73
Credit Card Charge   1/30/2021            Facebook                MICHAEL L BISCHOFF-67008-10058949446 6505434800                 21310 · AMEX Plat 7008                      900          $   85,756.73
Credit Card Charge   1/30/2021            USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018      200          $   85,956.73
Credit Card Charge    2/2/2021            Facebook                MICHAEL L BISCHOFF-67008-10059214741 6505434800                 21310 · AMEX Plat 7008                      900          $   86,856.73
Credit Card Charge    2/2/2021   20210202 Shipstation             SALESFORCE PLUGIN MONTHLY                                       21110 · AMEX CORP -T ZENNER - 61028         150          $   87,006.73
Credit Card Charge    2/3/2021            Amazon Web Services     THOMAS H ZENNER-61035-S98CQHBCCV3 WEB SERVICES                  21310 · AMEX Plat 7008                    71.71          $   87,078.44
Credit Card Charge    2/3/2021            United Airlines         Manny Jerman Ortega                                             21105 · AMEX CORP - M BISCHOFF - 62018    411.8          $   87,490.24
Credit Card Charge    2/3/2021            stickerapp                                                                              21105 · AMEX CORP - M BISCHOFF - 62018      229          $   87,719.24
Credit Card Charge    2/3/2021            Shopify Billing                                                                         21105 · AMEX CORP - M BISCHOFF - 62018   549.11          $   88,268.35
Credit Card Charge    2/4/2021            Social Clout Club       MICHAEL L BISCHOFF-67008-NT_ISVEZIRE +19734755085               21310 · AMEX Plat 7008                      239          $   88,507.35
Credit Card Charge    2/4/2021            Tapfiliate              MICHAEL L BISCHOFF-67008-NT_ISOLRBUD 8778877815                 21310 · AMEX Plat 7008                      149          $   88,656.35
Credit Card Charge    2/4/2021            Facebook                MICHAEL L BISCHOFF-67008-10059371049 6505434800                 21310 · AMEX Plat 7008                      900          $   89,556.35
Credit Card Charge    2/4/2021            Google Ads              MICHAEL L BISCHOFF-67008-A1342158123 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $   90,056.35
Credit Card Charge    2/5/2021            Shutterstock            MICHAEL L BISCHOFF-67008-91466382 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                    31.39          $   90,087.74
Credit Card Charge    2/6/2021            Facebook                MICHAEL L BISCHOFF-67008-10059542711 6505434800                 21310 · AMEX Plat 7008                   899.55          $   90,987.29
Credit Card Charge    2/7/2021            Google Ads              MICHAEL L BISCHOFF-67008-A1631529429 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $   91,487.29
Credit Card Credit    2/9/2021            United Airlines         Jerman Ortega                                                   21105 · AMEX CORP - M BISCHOFF - 62018                65 $   91,422.29
Credit Card Charge    2/9/2021            Google Ads              MICHAEL L BISCHOFF-67008-A0GH9DMV ADVERTISING                   21310 · AMEX Plat 7008                      500          $   91,922.29
Credit Card Charge    2/9/2021            Facebook                MICHAEL L BISCHOFF-67008-10059721719 6505434800                 21310 · AMEX Plat 7008                      900          $   92,822.29
Credit Card Charge   2/10/2021            Google Ads              MICHAEL L BISCHOFF-67008-A5786906523 LARGE DIGITAL GOODS M      21310 · AMEX Plat 7008                     2.12          $   92,824.41
Credit Card Charge   2/11/2021            Shopify Billing                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    91.66          $   92,916.07
Credit Card Charge   2/11/2021            Zendesk Inc             MICHAEL L BISCHOFF-67008-INV06673565INV06673565 94103           21310 · AMEX Plat 7008                   192.94          $   93,109.01
Credit Card Charge   2/11/2021            Facebook                MICHAEL L BISCHOFF-67008-10059923878 6505434800                 21310 · AMEX Plat 7008                      900          $   94,009.01
Credit Card Charge   2/12/2021            MySellerPal             MICHAEL L BISCHOFF-67008-NT_IW20KGQY +18009187305               21310 · AMEX Plat 7008                       10          $   94,019.01
Credit Card Charge   2/12/2021            Google Ads              MICHAEL L BISCHOFF-67008-A3564098071 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $   94,519.01
Credit Card Charge   2/13/2021            Supplement Snoop        MICHAEL L BISCHOFF-66000-NT_IW6XTRLM +13052032729               21310 · AMEX Plat 7008                    19.99          $   94,539.00
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Credit Card Charge   2/14/2021             Facebook                 MICHAEL L BISCHOFF-67008-10060125055 6505434800                 21310 · AMEX Plat 7008                       900         $   95,439.00
Credit Card Charge   2/15/2021             Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028        57.64         $   95,496.64
Credit Card Charge   2/15/2021             Shopify Billing          THOMAS H ZENNER-61035-NT_IWVJX9AY +18887467439                  21310 · AMEX Plat 7008                     30.91         $   95,527.55
Credit Card Charge   2/17/2021             Google Ads               MICHAEL L BISCHOFF-67008-A0GKEP2Q ADVERTISING                   21310 · AMEX Plat 7008                       500         $   96,027.55
Credit Card Charge   2/17/2021             Facebook                 MICHAEL L BISCHOFF-67008-10060350488 6505434800                 21310 · AMEX Plat 7008                       900         $   96,927.55
Credit Card Charge   2/18/2021             Social Clout Club        MICHAEL L BISCHOFF-67008-NT_IYARFNOV +19734755085               21310 · AMEX Plat 7008                       239         $   97,166.55
Credit Card Charge   2/18/2021             Google Ads               MICHAEL L BISCHOFF-67008-A5362447007 ADVERTISING SERVICE        21310 · AMEX Plat 7008                       500         $   97,666.55
Transfer             2/19/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               24250 $   73,416.55
Credit Card Charge   2/19/2021             Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    107.17         $   73,523.72
Credit Card Charge   2/19/2021             Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018     31.39         $   73,555.11
Credit Card Charge   2/19/2021             Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    135.31         $   73,690.42
Credit Card Charge   2/19/2021             Google Ads               MICHAEL L BISCHOFF-67008-A2315314821 ADVERTISING SERVICE        21310 · AMEX Plat 7008                       500         $   74,190.42
Credit Card Charge   2/21/2021             Shopify Billing          MICHAEL L BISCHOFF-66000-NT_IZB4MAB8 +18887467439               21310 · AMEX Plat 7008                    222.78         $   74,413.20
Credit Card Charge   2/21/2021             Shopify Billing          MICHAEL L BISCHOFF-66000-NT_IZB8LMFZ +18887467439               21310 · AMEX Plat 7008                     84.22         $   74,497.42
Credit Card Charge   2/21/2021             Facebook                 MICHAEL L BISCHOFF-67008-10060589459 6505434800                 21310 · AMEX Plat 7008                    476.75         $   74,974.17
Credit Card Charge   2/23/2021             Google Ads               MICHAEL L BISCHOFF-67008-A0GM5S4P ADVERTISING                   21310 · AMEX Plat 7008                       500         $   75,474.17
Credit Card Charge   2/24/2021             Facebook                 MICHAEL L BISCHOFF-67008-10060830178 6505434800                 21310 · AMEX Plat 7008                       900         $   76,374.17
Transfer             2/25/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               20000 $   56,374.17
Transfer             2/26/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655                7000 $   49,374.17
Credit Card Charge   2/27/2021             USPS Stamps Endicia      2/1-2/27                                                        21105 · AMEX CORP - M BISCHOFF - 62018      4600         $   53,974.17
Credit Card Charge   2/28/2021             Manychat                 MICHAEL L BISCHOFF-67008-NT_J1XEEXOX 8778877815                 21310 · AMEX Plat 7008                        10         $   53,984.17
Credit Card Charge   2/28/2021             Tapfiliate               MICHAEL L BISCHOFF-67008-NT_J1OCZ56U 8778877815                 21310 · AMEX Plat 7008                        69         $   54,053.17
Credit Card Charge   2/28/2021             Google Ads               MICHAEL L BISCHOFF-67008-A8297115912 ADVERTISING SERVICE        21310 · AMEX Plat 7008                       500         $   54,553.17
Credit Card Charge   2/28/2021             Facebook                 MICHAEL L BISCHOFF-67008-10061145662 6505434800                 21310 · AMEX Plat 7008                       900         $   55,453.17
Credit Card Charge    3/1/2021             Adobe                    MICHAEL L BISCHOFF-67008-320851753 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                     16.23         $   55,469.40
Credit Card Charge    3/2/2021             Google Suite             THOMAS H ZENNER-61035-A2346497525 SUBSCRIPTIONS                 21310 · AMEX Plat 7008                    140.71         $   55,610.11
Credit Card Charge    3/2/2021             Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028          150         $   55,760.11
Credit Card Charge    3/3/2021             Amazon Web Services      THOMAS H ZENNER-61035-23IYYU0QFWM WEB SERVICES                  21310 · AMEX Plat 7008                     65.44         $   55,825.55
Transfer              3/4/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               13000 $   42,825.55
Credit Card Charge    3/4/2021            Social Clout Club         MICHAEL L BISCHOFF-67008-NT_J3PBXBIG +19734755085               21310 · AMEX Plat 7008                       239         $   43,064.55
Credit Card Charge    3/4/2021            Adobe                     MICHAEL L BISCHOFF-67008-321306651 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                     16.23         $   43,080.78
Credit Card Charge    3/4/2021            Adobe                     THOMAS H ZENNER-61035-321293644 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                     16.23         $   43,097.01
Credit Card Charge    3/4/2021            Tapfiliate                MICHAEL L BISCHOFF-67008-NT_J3J8D81E 8778877815                 21310 · AMEX Plat 7008                       149         $   43,246.01
Credit Card Charge    3/4/2021            Facebook                  MICHAEL L BISCHOFF-67008-10061510920 6505434800                 21310 · AMEX Plat 7008                       900         $   44,146.01
Credit Card Charge    3/5/2021            Manychat                  MICHAEL L BISCHOFF-67008-NT_J3P0VIWO 8778877815                 21310 · AMEX Plat 7008                         1         $   44,147.01
Credit Card Charge    3/5/2021            Shutterstock              MICHAEL L BISCHOFF-67008-92956727 COMMERCIAL PHOTO/ART          21310 · AMEX Plat 7008                     31.39         $   44,178.40
Credit Card Charge    3/5/2021            Google Ads                MICHAEL L BISCHOFF-67008-A4596490146 ADVERTISING SERVICE        21310 · AMEX Plat 7008                       500         $   44,678.40
Credit Card Charge    3/5/2021   20210305 Elite Fit Center          Sponsorship of Cutler Classic                                   21200 · Chase United Visa                   2000         $   46,678.40
Credit Card Charge    3/5/2021            Shopify Billing                                                                           21105 · AMEX CORP - M BISCHOFF - 62018    687.42         $   47,365.82
Credit Card Charge    3/7/2021            Adobe                     MICHAEL L BISCHOFF-67008-414310442 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                     32.46         $   47,398.28
Credit Card Charge    3/7/2021            Facebook                  MICHAEL L BISCHOFF-67008-10061723338 6505434800                 21310 · AMEX Plat 7008                       900         $   48,298.28
Credit Card Charge    3/9/2021            Adobe                     THOMAS H ZENNER-61035-321844193 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                     10.81         $   48,309.09
Credit Card Charge    3/9/2021            Facebook                  MICHAEL L BISCHOFF-67008-10061904853 6505434800                 21310 · AMEX Plat 7008                       900         $   49,209.09
Credit Card Charge   3/10/2021            TSheets                                                                                   21110 · AMEX CORP -T ZENNER - 61028        72.49         $   49,281.58
Credit Card Charge   3/11/2021            Shopify Billing                                                                           21105 · AMEX CORP - M BISCHOFF - 62018     91.66         $   49,373.24
Credit Card Charge   3/11/2021            Google Ads                MICHAEL L BISCHOFF-67008-A0GSN286 ADVERTISING                   21310 · AMEX Plat 7008                       500         $   49,873.24
Credit Card Charge   3/12/2021            MySellerPal               MICHAEL L BISCHOFF-67008-NT_J6W9MRK6 +18009187305               21310 · AMEX Plat 7008                        10         $   49,883.24
Credit Card Charge   3/12/2021            Zendesk Inc               MICHAEL L BISCHOFF-67008-INV06780758INV06780758 94103           21310 · AMEX Plat 7008                    192.88         $   50,076.12
Credit Card Charge   3/12/2021            Adobe                     MICHAEL L BISCHOFF-67008-322200343 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                     22.72         $   50,098.84
Credit Card Charge   3/12/2021            Facebook                  MICHAEL L BISCHOFF-67008-10062106773 6505434800                 21310 · AMEX Plat 7008                       900         $   50,998.84
Credit Card Charge   3/12/2021            Google Ads                MICHAEL L BISCHOFF-67008-A5079108741 ADVERTISING SERVICE        21310 · AMEX Plat 7008                       500         $   51,498.84
Credit Card Charge   3/14/2021            Facebook                  MICHAEL L BISCHOFF-67008-10062278022 6505434800                 21310 · AMEX Plat 7008                       900         $   52,398.84
Credit Card Charge   3/15/2021            Shipstation                                                                               21110 · AMEX CORP -T ZENNER - 61028        57.64         $   52,456.48

Credit Card Charge   3/15/2021             BYOND AVERAGE APPAREL Tshirts                                                            21105 · AMEX CORP - M BISCHOFF - 62018   1231.81         $   53,688.29
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Transfer             3/16/2021                                 Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655              5000 $   48,688.29
Credit Card Charge   3/16/2021          Adobe                  THOMAS H ZENNER-61035-322661853 8004438158                      21310 · AMEX Plat 7008                   173.18        $   48,861.47
Credit Card Charge   3/17/2021          Shopify Billing        THOMAS H ZENNER-61035-NT_J8AFPFTU +18887467439                  21310 · AMEX Plat 7008                    32.83        $   48,894.30
Credit Card Charge   3/17/2021          Google Ads             MICHAEL L BISCHOFF-67008-A4011989630 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   49,394.30
Credit Card Charge   3/17/2021          Facebook               MICHAEL L BISCHOFF-67008-10062465128 6505434800                 21310 · AMEX Plat 7008                      900        $   50,294.30
Credit Card Charge   3/18/2021          Google Ads             MICHAEL L BISCHOFF-67008-A0GVOY0U ADVERTISING                   21310 · AMEX Plat 7008                      500        $   50,794.30
Credit Card Charge   3/18/2021          Social Clout Club      MICHAEL L BISCHOFF-67008-NT_J8EMV599 +19734755085               21310 · AMEX Plat 7008                      239        $   51,033.30
Credit Card Charge   3/18/2021          Prime Camera           camera equipment                                                21105 · AMEX CORP - M BISCHOFF - 62018   182.94        $   51,216.24
Credit Card Charge   3/18/2021          DCS Print Shop LLC                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     2624        $   53,840.24
Bill                 3/19/2021   202102 Foley & Lardner LLP    DOD employment matters                                          20100 · Accounts Payable                  13053        $   66,893.24
Credit Card Charge   3/19/2021          Facebook               MICHAEL L BISCHOFF-67008-10062672265 6505434800                 21310 · AMEX Plat 7008                      900        $   67,793.24
Credit Card Charge   3/19/2021          Prime Camera           camera equipment                                                21105 · AMEX CORP - M BISCHOFF - 62018    14.08        $   67,807.32
Credit Card Charge   3/19/2021          Shutterstock (v)                                                                       21105 · AMEX CORP - M BISCHOFF - 62018    31.39        $   67,838.71
Credit Card Charge   3/19/2021          Shutterstock (v)                                                                       21105 · AMEX CORP - M BISCHOFF - 62018   107.17        $   67,945.88
Credit Card Charge   3/19/2021          Shutterstock (v)                                                                       21105 · AMEX CORP - M BISCHOFF - 62018   135.31        $   68,081.19
Credit Card Charge   3/20/2021          Story Blocks           THOMAS H ZENNER-61035-GXZDJWH5 8557667764                       21310 · AMEX Plat 7008                       15        $   68,096.19
Credit Card Charge   3/21/2021          Google Ads             MICHAEL L BISCHOFF-67008-A9474245444 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   68,596.19
Credit Card Charge   3/21/2021          Facebook               MICHAEL L BISCHOFF-67008-10062757118 6505434800                 21310 · AMEX Plat 7008                    56.79        $   68,652.98
Credit Card Charge   3/22/2021          Adobe                  MICHAEL L BISCHOFF-67008-323304915 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    22.72        $   68,675.70
Credit Card Charge   3/22/2021          Facebook               MICHAEL L BISCHOFF-67008-10062885345 6505434800                 21310 · AMEX Plat 7008                      900        $   69,575.70
Credit Card Charge   3/23/2021          Shopify Billing        MICHAEL L BISCHOFF-66000-NT_JAPPRHDH +18887467439               21310 · AMEX Plat 7008                   220.02        $   69,795.72
Credit Card Charge   3/23/2021          Shopify Billing        MICHAEL L BISCHOFF-66000-NT_JAPTRMXZ +18887467439               21310 · AMEX Plat 7008                    84.22        $   69,879.94
Credit Card Charge   3/23/2021          Google Ads             MICHAEL L BISCHOFF-67008-A7949793592 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   70,379.94
Credit Card Charge   3/24/2021          Google Ads             MICHAEL L BISCHOFF-67008-A3298666694 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   70,879.94
Credit Card Charge   3/25/2021          Google Ads             MICHAEL L BISCHOFF-67008-A2420975430 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   71,379.94
Credit Card Charge   3/25/2021          Facebook               MICHAEL L BISCHOFF-67008-10063101435 6505434800                 21310 · AMEX Plat 7008                      900        $   72,279.94
Credit Card Charge   3/26/2021          Hustle Threads         promotional items                                               21105 · AMEX CORP - M BISCHOFF - 62018      204        $   72,483.94
Credit Card Charge   3/27/2021          Google Ads             MICHAEL L BISCHOFF-67008-A0GZ3ER5 ADVERTISING                   21310 · AMEX Plat 7008                      500        $   72,983.94
Credit Card Charge   3/27/2021          Google Ads             MICHAEL L BISCHOFF-67008-A7709012658 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   73,483.94
Credit Card Charge   3/27/2021          Facebook               MICHAEL L BISCHOFF-67008-10063290393 6505434800                 21310 · AMEX Plat 7008                      900        $   74,383.94
Credit Card Charge   3/28/2021          Manychat               MICHAEL L BISCHOFF-67008-NT_JCRYKGOR 8778877815                 21310 · AMEX Plat 7008                       10        $   74,393.94
Credit Card Charge   3/28/2021          Tapfiliate             MICHAEL L BISCHOFF-67008-NT_JCIVIKMG 8778877815                 21310 · AMEX Plat 7008                       69        $   74,462.94
Credit Card Charge   3/29/2021          Google Ads             MICHAEL L BISCHOFF-67008-A7471579164 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   74,962.94
Credit Card Charge   3/29/2021          Google Ads             MICHAEL L BISCHOFF-67008-A6885666549 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500        $   75,462.94
Credit Card Charge   3/29/2021          Unitel Voice V                                                                         21110 · AMEX CORP -T ZENNER - 61028       21.09        $   75,484.03
Credit Card Charge   3/30/2021          Google Ads             MICHAEL L BISCHOFF-67008-A0GZNA0V ADVERTISING                   21310 · AMEX Plat 7008                      500        $   75,984.03
Credit Card Charge   3/30/2021          Facebook               MICHAEL L BISCHOFF-67008-10063472822 6505434800                 21310 · AMEX Plat 7008                      900        $   76,884.03
Credit Card Charge   3/30/2021          USPS Stamps Endicia                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     5000        $   81,884.03
Credit Card Charge   3/31/2021          Stamps.com                                                                             21105 · AMEX CORP - M BISCHOFF - 62018      200        $   82,084.03
Credit Card Charge    4/1/2021          Social Clout Club      MICHAEL L BISCHOFF-67008-NT_JDTXFU6Z +19734755085               21310 · AMEX Plat 7008                      239        $   82,323.03
Credit Card Charge    4/1/2021          Adobe                  MICHAEL L BISCHOFF-67008-324234920 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    16.23        $   82,339.26
Credit Card Charge    4/2/2021          Google Ads             MICHAEL L BISCHOFF-67008-A0H1GKYH ADVERTISING                   21310 · AMEX Plat 7008                      500        $   82,839.26
Credit Card Charge    4/2/2021          Pilot Gas Station                                                                      21105 · AMEX CORP - M BISCHOFF - 62018    31.49        $   82,870.75
Credit Card Charge    4/2/2021          Allsup                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    46.38        $   82,917.13
Credit Card Charge    4/2/2021          Route 66 Pit Stop                                                                      21105 · AMEX CORP - M BISCHOFF - 62018    43.61        $   82,960.74
Credit Card Charge    4/2/2021          Google Suite           Glaxon, Computer Store                                          21110 · AMEX CORP -T ZENNER - 61028       166.3        $   83,127.04
Credit Card Charge    4/3/2021          Amazon Web Services    THOMAS H ZENNER-61035-3TVKLUJ39BF WEB SERVICES                  21310 · AMEX Plat 7008                    71.72        $   83,198.76
Credit Card Charge    4/3/2021          Facebook               MICHAEL L BISCHOFF-67008-10063823844 6505434800                 21310 · AMEX Plat 7008                      900        $   84,098.76
Credit Card Charge    4/3/2021          Speedway                                                                               21105 · AMEX CORP - M BISCHOFF - 62018    20.97        $   84,119.73
Credit Card Charge    4/3/2021          Chevron                                                                                21105 · AMEX CORP - M BISCHOFF - 62018   346.67        $   84,466.40
Credit Card Charge    4/3/2021          La Quinta                                                                              21105 · AMEX CORP - M BISCHOFF - 62018        2        $   84,468.40
Credit Card Charge    4/4/2021          Adobe                  MICHAEL L BISCHOFF-67008-324588725 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    16.23        $   84,484.63
Credit Card Charge    4/4/2021          Adobe                  THOMAS H ZENNER-61035-324646102 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                    16.23        $   84,500.86
Credit Card Charge    4/4/2021          Tapfiliate             MICHAEL L BISCHOFF-67008-NT_JEV4HZ8X 8778877815                 21310 · AMEX Plat 7008                      149        $   84,649.86
Credit Card Charge    4/4/2021          Shopify                                                                                21105 · AMEX CORP - M BISCHOFF - 62018   687.48        $   85,337.34
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Credit Card Charge    4/4/2021           Honey Pig                                                                                21105 · AMEX CORP - M BISCHOFF - 62018   237.47         $   85,574.81
Credit Card Charge    4/4/2021   5646568 Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028         150         $   85,724.81

Credit Card Charge    4/4/2021           Vegas Discount Nutrition                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    183.1         $   85,907.91
Credit Card Charge    4/5/2021           Shutterstock               MICHAEL L BISCHOFF-67008-94491278 COMMERCIAL PHOTO/ART        21310 · AMEX Plat 7008                    31.39         $   85,939.30
Credit Card Charge    4/6/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064008989 6505434800               21310 · AMEX Plat 7008                      900         $   86,839.30
Credit Card Charge    4/6/2021           Google Ads                 MICHAEL L BISCHOFF-67008-A0H303KK ADVERTISING                 21310 · AMEX Plat 7008                      500         $   87,339.30
Credit Card Charge    4/7/2021           Adobe                      MICHAEL L BISCHOFF-67008-324914495 ADOBE.LY/ENUS              21310 · AMEX Plat 7008                    32.46         $   87,371.76
Credit Card Charge    4/7/2021           Javiers                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018   401.97         $   87,773.73
Transfer              4/8/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis         10110 · Amegy Bank - Operating *2655              27000 $   60,773.73
Credit Card Charge    4/8/2021           Lululemon                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    147.4         $   60,921.13

Credit Card Charge    4/8/2021           Vegas Discount Nutrition                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    40.41         $   60,961.54

Credit Card Charge    4/8/2021           Vegas Discount Nutrition                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    56.63         $   61,018.17
Credit Card Charge    4/9/2021           Adobe                      THOMAS H ZENNER-61035-325195794 ADOBE.LY/ENUS                 21310 · AMEX Plat 7008                    10.81         $   61,028.98
Credit Card Charge    4/9/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064236324 6505434800               21310 · AMEX Plat 7008                      900         $   61,928.98
Credit Card Charge    4/9/2021           Google Ads                 MICHAEL L BISCHOFF-67008-A8656058630 ADVERTISING SERVICE      21310 · AMEX Plat 7008                      500         $   62,428.98
Credit Card Charge    4/9/2021           Shell                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     7.76         $   62,436.74
Credit Card Charge    4/9/2021           USA Truck Center                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    18.63         $   62,455.37
Credit Card Charge    4/9/2021           Greens and Proteins                                                                      21105 · AMEX CORP - M BISCHOFF - 62018    80.84         $   62,536.21
Credit Card Charge    4/9/2021           Petroleum Wholesale                                                                      21105 · AMEX CORP - M BISCHOFF - 62018    12.08         $   62,548.29
Credit Card Charge   4/10/2021           McDonalds                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    14.77         $   62,563.06
Credit Card Charge   4/10/2021           TSheets                                                                                  21110 · AMEX CORP -T ZENNER - 61028       72.49         $   62,635.55
Credit Card Charge   4/11/2021           Shopify Billing                                                                          21105 · AMEX CORP - M BISCHOFF - 62018    91.66         $   62,727.21
Credit Card Charge   4/11/2021           Zendesk Inc                MICHAEL L BISCHOFF-67008-INV06892652INV06892652 94103         21310 · AMEX Plat 7008                   193.59         $   62,920.80
Credit Card Charge   4/11/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064402290 6505434800               21310 · AMEX Plat 7008                      900         $   63,820.80
Credit Card Charge   4/11/2021           Sunoco                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018    45.87         $   63,866.67
Credit Card Charge   4/11/2021           Holiday Inn                                                                              21105 · AMEX CORP - M BISCHOFF - 62018   241.17         $   64,107.84
Credit Card Charge   4/12/2021           Adobe                      MICHAEL L BISCHOFF-67008-325506580 ADOBE.LY/ENUS              21310 · AMEX Plat 7008                    22.72         $   64,130.56
Credit Card Charge   4/12/2021           MySellerPal                MICHAEL L BISCHOFF-67008-NT_JI8A8LJN +18009187305             21310 · AMEX Plat 7008                       10         $   64,140.56
Credit Card Charge   4/12/2021           Google Ads                 MICHAEL L BISCHOFF-67008-A0H5EYSO ADVERTISING                 21310 · AMEX Plat 7008                      500         $   64,640.56
Credit Card Charge   4/13/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064519544 6505434800               21310 · AMEX Plat 7008                      900         $   65,540.56
Credit Card Charge   4/14/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064635238 6505434800               21310 · AMEX Plat 7008                      900         $   66,440.56
Credit Card Charge   4/14/2021                                      MICHAEL L BISCHOFF-67008-A9641422342 ADVERTISING SERVICE      21310 · AMEX Plat 7008                      500         $   66,940.56
Credit Card Charge   4/15/2021           Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028       57.64         $   66,998.20
Credit Card Charge   4/15/2021           Social Clout Club          MICHAEL L BISCHOFF-67008-NT_JJ97B8AN +19734755085             21310 · AMEX Plat 7008                      239         $   67,237.20
Credit Card Charge   4/16/2021           Klaviyo                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    85.28         $   67,322.48
Credit Card Charge   4/16/2021           Adobe                      THOMAS H ZENNER-61035-325957936 8004438158                    21310 · AMEX Plat 7008                   173.18         $   67,495.66
Credit Card Charge   4/16/2021           Shopify Billing            THOMAS H ZENNER-61035-NT_JJONJKRG +18887467439                21310 · AMEX Plat 7008                    36.78         $   67,532.44
Credit Card Charge   4/16/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064761766 6505434800               21310 · AMEX Plat 7008                      900         $   68,432.44
Credit Card Charge   4/18/2021           ExxonMobile                                                                              21105 · AMEX CORP - M BISCHOFF - 62018   282.07         $   68,714.51
Credit Card Charge   4/18/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064877417 6505434800               21310 · AMEX Plat 7008                      900         $   69,614.51
Credit Card Charge   4/18/2021                                      MICHAEL L BISCHOFF-67008-A0570600152 ADVERTISING SERVICE      21310 · AMEX Plat 7008                      500         $   70,114.51
Credit Card Charge   4/19/2021           Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018   273.87         $   70,388.38
Credit Card Charge   4/19/2021           Facebook                   MICHAEL L BISCHOFF-67008-10064981850 6505434800               21310 · AMEX Plat 7008                      900         $   71,288.38
Credit Card Charge   4/19/2021                                      MICHAEL L BISCHOFF-67008-A9286353797 ADVERTISING SERVICE      21310 · AMEX Plat 7008                      500         $   71,788.38
Credit Card Charge   4/20/2021           Story Blocks               THOMAS H ZENNER-61035-HHA20MR5 8557667764                     21310 · AMEX Plat 7008                       15         $   71,803.38
Credit Card Charge   4/21/2021           Prime Camera                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    42.22         $   71,845.60
Credit Card Charge   4/21/2021           Facebook                   MICHAEL L BISCHOFF-67008-10065082687 6505434800               21310 · AMEX Plat 7008                   238.08         $   72,083.68
Credit Card Charge   4/21/2021           Google Ads                 MICHAEL L BISCHOFF-67008-A0H90SV2 ADVERTISING                 21310 · AMEX Plat 7008                      500         $   72,583.68
Credit Card Charge   4/21/2021           Facebook                   MICHAEL L BISCHOFF-67008-10065152819 6505434800               21310 · AMEX Plat 7008                      900         $   73,483.68
Credit Card Charge   4/22/2021           Hobby Lobby                                                                              21105 · AMEX CORP - M BISCHOFF - 62018    67.08         $   73,550.76
Credit Card Charge   4/22/2021           Shopify Billing            MICHAEL L BISCHOFF-66000-NT_JLEO9GYH +18887467439             21310 · AMEX Plat 7008                   219.57         $   73,770.33
Credit Card Charge   4/22/2021           Shopify Billing            MICHAEL L BISCHOFF-66000-NT_JLESRCCQ +18887467439             21310 · AMEX Plat 7008                    84.22         $   73,854.55
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Credit Card Charge   4/22/2021            Adobe                      MICHAEL L BISCHOFF-67008-326665557 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    22.72          $    73,877.27
Credit Card Charge   4/23/2021            Prime Camera                                                                               21105 · AMEX CORP - M BISCHOFF - 62018     6.49          $    73,883.76
Credit Card Charge   4/25/2021            Google Ads                 MICHAEL L BISCHOFF-67008-A3088648751 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $    74,383.76
Credit Card Charge   4/26/2021            Facebook                   MICHAEL L BISCHOFF-67008-10065468301 6505434800                 21310 · AMEX Plat 7008                      900          $    75,283.76
Credit Card Charge   4/27/2021            Google Ads                 MICHAEL L BISCHOFF-67008-A0HAK4FM ADVERTISING                   21310 · AMEX Plat 7008                      500          $    75,783.76
Credit Card Charge   4/28/2021            Sugar Land Marriott                                                                        21105 · AMEX CORP - M BISCHOFF - 62018   141.12          $    75,924.88
Credit Card Charge   4/28/2021            Lupe Tortilla                                                                              21105 · AMEX CORP - M BISCHOFF - 62018   163.59          $    76,088.47
Credit Card Charge   4/28/2021            Manychat                   MICHAEL L BISCHOFF-67008-NT_JO3ZL5J3 8778877815                 21310 · AMEX Plat 7008                       10          $    76,098.47
Credit Card Charge   4/28/2021            Tapfiliate                 MICHAEL L BISCHOFF-67008-NT_JNUXDWMU 8778877815                 21310 · AMEX Plat 7008                       69          $    76,167.47
Credit Card Charge   4/29/2021            Unitel Voice V                                                                             21110 · AMEX CORP -T ZENNER - 61028       21.23          $    76,188.70
Transfer             4/29/2021                                       Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655                2000 $    74,188.70
Credit Card Charge   4/29/2021           USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     6800          $    80,988.70
Credit Card Charge   4/29/2021           Brandchamp Growth                                                                           21105 · AMEX CORP - M BISCHOFF - 62018     8100          $    89,088.70
Credit Card Charge   4/29/2021           Gogo UAL In Flight Wifi                                                                     21105 · AMEX CORP - M BISCHOFF - 62018    18.49          $    89,107.19
Credit Card Charge   4/29/2021           Perry's Steak House                                                                         21105 · AMEX CORP - M BISCHOFF - 62018      801          $    89,908.19
Credit Card Charge   4/29/2021           Social Clout Club           MICHAEL L BISCHOFF-67008-NT_JOOID41P +19734755085               21310 · AMEX Plat 7008                      239          $    90,147.19
Credit Card Charge   4/29/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HBUPY2 ADVERTISING                   21310 · AMEX Plat 7008                      500          $    90,647.19
Credit Card Charge   4/30/2021           Shell                                                                                       21105 · AMEX CORP - M BISCHOFF - 62018     3.24          $    90,650.43
Credit Card Charge   4/30/2021           Sugar Land Marriott                                                                         21105 · AMEX CORP - M BISCHOFF - 62018   282.24          $    90,932.67
Credit Card Charge   4/30/2021           Lupe Tortilla                                                                               21105 · AMEX CORP - M BISCHOFF - 62018   219.06          $    91,151.73
Credit Card Charge   4/30/2021           Brandchamp Growth                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      500          $    91,651.73
Credit Card Charge    5/1/2021           Adobe                       MICHAEL L BISCHOFF-67008-327695257 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    16.23          $    91,667.96
Credit Card Charge    5/1/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HCVH2N ADVERTISING                   21310 · AMEX Plat 7008                      500          $    92,167.96
Credit Card Charge    5/1/2021           Chevron                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018    46.84          $    92,214.80
Credit Card Charge    5/2/2021           Brandchamp Growth                                                                           21105 · AMEX CORP - M BISCHOFF - 62018     1000          $    93,214.80
Credit Card Charge    5/2/2021           Google Suite                Glaxon                                                          21110 · AMEX CORP -T ZENNER - 61028      176.53          $    93,391.33
Credit Card Charge    5/3/2021           Amazon Web Services         THOMAS H ZENNER-61035-73LSTL04CZD WEB SERVICES                  21310 · AMEX Plat 7008                    69.62          $    93,460.95
Credit Card Charge    5/3/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A3321486355 ADVERTISING SERVICE        21310 · AMEX Plat 7008                      500          $    93,960.95
Credit Card Charge    5/3/2021           stickerapp                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     1070          $    95,030.95
Check                 5/4/2021           Authorize.net               Authnet Gateway Billing 116835343 Ref # 02112                   10110 · Amegy Bank - Operating *2655         30          $    95,060.95
Credit Card Charge    5/4/2021           Tapfiliate                  MICHAEL L BISCHOFF-67008-NT_JQDGNWLU 8778877815                 21310 · AMEX Plat 7008                      149          $    95,209.95
Credit Card Charge    5/4/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HE9VOZ ADVERTISING                   21310 · AMEX Plat 7008                      500          $    95,709.95
Credit Card Charge    5/4/2021           Adobe                       THOMAS H ZENNER-61035-328073090 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                    16.23          $    95,726.18
Credit Card Charge    5/4/2021           Adobe                       MICHAEL L BISCHOFF-67008-328038725 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    16.23          $    95,742.41
Credit Card Charge    5/4/2021           Shopify                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018   656.07          $    96,398.48
Credit Card Charge    5/5/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HEC3NS ADVERTISING                   21310 · AMEX Plat 7008                      500          $    96,898.48
Credit Card Charge    5/5/2021           Facebook                    MICHAEL L BISCHOFF-67008-10066219105 6505434800                 21310 · AMEX Plat 7008                      900          $    97,798.48
Credit Card Charge    5/5/2021   5803424 Shipstation                 Salesforce Plugin Use - May 2021                                21110 · AMEX CORP -T ZENNER - 61028         150          $    97,948.48
Transfer              5/6/2021                                       Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655              119000 $   (21,051.52)
Credit Card Charge    5/6/2021           Social Clout Club           MICHAEL L BISCHOFF-67008-NT_JQP4TOS4 +19734755085               21310 · AMEX Plat 7008                      399          $   (20,652.52)
Credit Card Charge    5/7/2021           Adobe                       MICHAEL L BISCHOFF-67008-328392656 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                    32.46          $   (20,620.06)
Credit Card Charge    5/7/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HFKWZT ADVERTISING                   21310 · AMEX Plat 7008                      500          $   (20,120.06)
Credit Card Charge    5/8/2021           Facebook                    MICHAEL L BISCHOFF-67008-10066434319 6505434800                 21310 · AMEX Plat 7008                      900          $   (19,220.06)
Credit Card Charge    5/8/2021   5819339 Shipstation                 Additional User                                                 21110 · AMEX CORP -T ZENNER - 61028        1.19          $   (19,218.87)
Credit Card Charge    5/9/2021           Adobe                       THOMAS H ZENNER-61035-328671091 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                    10.81          $   (19,208.06)
Credit Card Charge    5/9/2021           Google Ads                  MICHAEL L BISCHOFF-67008-A0HFSBA7 ADVERTISING                   21310 · AMEX Plat 7008                      500          $   (18,708.06)
Credit Card Charge    5/9/2021           TSheets                     QB TIme sheets                                                  21110 · AMEX CORP -T ZENNER - 61028       72.49          $   (18,635.57)
Credit Card Charge   5/10/2021           EGov                        vehicle registration                                            21200 · Chase United Visa                     2          $   (18,633.57)
                                         Fort Bend County Tax
Credit Card Charge   5/10/2021           Assessor-Collector          vehicle registration                                            21200 · Chase United Visa                 73.25          $   (18,560.32)
Credit Card Charge   5/11/2021           Shopify Billing                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    91.66          $   (18,468.66)
Credit Card Charge   5/11/2021           Zendesk Inc                 MICHAEL L BISCHOFF-67008-INV07000533INV07000533 94103           21310 · AMEX Plat 7008                   193.34          $   (18,275.32)
Credit Card Charge   5/11/2021           Facebook                    MICHAEL L BISCHOFF-67008-10066627646 6505434800                 21310 · AMEX Plat 7008                      900          $   (17,375.32)
Credit Card Charge   5/11/2021           Exxon                                                                                       21105 · AMEX CORP - M BISCHOFF - 62018    74.68          $   (17,300.64)
Credit Card Charge   5/11/2021           Ezra Cohen                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018      399          $   (16,901.64)
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Credit Card Charge   5/11/2021                     Town Center Automotive                                                                   21105 · AMEX CORP - M BISCHOFF - 62018      25.5         $   (16,876.14)
Credit Card Charge   5/12/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A0HH9O2H ADVERTISING                  21310 · AMEX Plat 7008                       500         $   (16,376.14)
Credit Card Charge   5/12/2021                     MySellerPal                                                                              21310 · AMEX Plat 7008                        10         $   (16,366.14)
Credit Card Charge   5/12/2021                     Texaco                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018       5.4         $   (16,360.74)
Credit Card Charge   5/13/2021                     Social Clout Club         MICHAEL L BISCHOFF-67008-NT_JTDSTXVL +19734755085              21310 · AMEX Plat 7008                       239         $   (16,121.74)
Credit Card Charge   5/13/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10066794291 6505434800                21310 · AMEX Plat 7008                       900         $   (15,221.74)
Credit Card Charge   5/13/2021                     Lupe Tortilla                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    215.81         $   (15,005.93)
Credit Card Charge   5/14/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A7969489029 ADVERTISING SERVICE       21310 · AMEX Plat 7008                       500         $   (14,505.93)
Credit Card Charge   5/15/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10066946179 6505434800                21310 · AMEX Plat 7008                       900         $   (13,605.93)
Credit Card Charge   5/15/2021                     starbucks                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      3.73         $   (13,602.20)
Credit Card Charge   5/15/2021             5852888 Shipstation               Shipstation Silver + 2 additional users                        21110 · AMEX CORP -T ZENNER - 61028        63.06         $   (13,539.14)
Credit Card Charge   5/16/2021                     Adobe                     THOMAS H ZENNER-61035-329529566 8004438158                     21310 · AMEX Plat 7008                    173.18         $   (13,365.96)
Credit Card Charge   5/16/2021                     Shopify Billing           THOMAS H ZENNER-61035-NT_JUDGGBCT +18887467439                 21310 · AMEX Plat 7008                     30.91         $   (13,335.05)
Credit Card Charge   5/16/2021                     Exxon                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      5.34         $   (13,329.71)
Credit Card Charge   5/16/2021                     Exxon                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     67.84         $   (13,261.87)
Credit Card Charge   5/16/2021                     Toyota Center                                                                            21105 · AMEX CORP - M BISCHOFF - 62018         5         $   (13,256.87)
Credit Card Charge   5/16/2021                     Toyota Center                                                                            21105 · AMEX CORP - M BISCHOFF - 62018     16.24         $   (13,240.63)
Credit Card Charge   5/16/2021                     Klaviyo                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     85.28         $   (13,155.35)
Credit Card Charge   5/17/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067070948 6505434800                21310 · AMEX Plat 7008                       900         $   (12,255.35)
Credit Card Charge   5/17/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A0HJ6IZW ADVERTISING                  21310 · AMEX Plat 7008                       500         $   (11,755.35)
Bill                 5/18/2021           50212458 Foley & Lardner LLP        Day One Dist General Corp/Tax Advice                           20100 · Accounts Payable                    7728         $    (4,027.35)
Credit Card Charge   5/18/2021                     Eco Marketing Solutions                                                                  21105 · AMEX CORP - M BISCHOFF - 62018   1241.24         $    (2,786.11)
Credit Card Charge   5/19/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067222515 6505434800                21310 · AMEX Plat 7008                       900         $    (1,886.11)
Credit Card Charge   5/19/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A5259683587 ADVERTISING SERVICE       21310 · AMEX Plat 7008                       500         $    (1,386.11)
Credit Card Charge   5/19/2021                     Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018     31.39         $    (1,354.72)
Credit Card Charge   5/19/2021                     Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    135.31         $    (1,219.41)
Credit Card Charge   5/19/2021                     Shutterstock                                                                             21105 · AMEX CORP - M BISCHOFF - 62018    107.17         $    (1,112.24)
Transfer             5/20/2021                                               Funds Transfer Payee:Online Xfer from DDA Day One Dis          10110 · Amegy Bank - Operating *2655               31000 $   (32,112.24)
Credit Card Charge   5/20/2021                     Noun Project                                                                             21310 · AMEX Plat 7008                     39.99         $   (32,072.25)
Credit Card Charge   5/20/2021                5093 DCS Print Shop LLC        300 T-shirts Sand, Royal Heather & White various sizes         21105 · AMEX CORP - M BISCHOFF - 62018      2415         $   (29,657.25)
Credit Card Charge   5/20/2021                     Texaco                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     33.82         $   (29,623.43)
Credit Card Charge   5/21/2021                     Story Blocks              THOMAS H ZENNER-61035-R2HAKH8X 8557667764                      21310 · AMEX Plat 7008                        15         $   (29,608.43)
Credit Card Charge   5/21/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067333582 6505434800                21310 · AMEX Plat 7008                    292.09         $   (29,316.34)
Credit Card Charge   5/21/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067407739 6505434800                21310 · AMEX Plat 7008                       900         $   (28,416.34)
Credit Card Charge   5/21/2021                     CM Promo                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018     393.5         $   (28,022.84)
Credit Card Charge   5/22/2021                     Shopify Billing           MICHAEL L BISCHOFF-66000-NT_JWTCVNOP +18887467439              21310 · AMEX Plat 7008                    219.57         $   (27,803.27)
Credit Card Charge   5/22/2021                     Shopify Billing           MICHAEL L BISCHOFF-66000-NT_JWTFMBJ6 +18887467439              21310 · AMEX Plat 7008                     84.22         $   (27,719.05)
Credit Card Charge   5/22/2021                     Adobe                     MICHAEL L BISCHOFF-67008-330190587 ADOBE.LY/ENUS               21310 · AMEX Plat 7008                     22.72         $   (27,696.33)
Credit Card Charge   5/23/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067537622 6505434800                21310 · AMEX Plat 7008                       900         $   (26,796.33)
Credit Card Charge   5/23/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A0HKUN6V ADVERTISING                  21310 · AMEX Plat 7008                       500         $   (26,296.33)
Credit Card Charge   5/25/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10067677528 6505434800                21310 · AMEX Plat 7008                       900         $   (25,396.33)
Credit Card Charge   5/26/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A7796264588 ADVERTISING SERVICE       21310 · AMEX Plat 7008                       500         $   (24,896.33)
Credit Card Charge   5/26/2021                     Texaco                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     74.78         $   (24,821.55)
Transfer             5/27/2021                                               Funds Transfer Payee:Online Xfer from DDA Day One Dis          10110 · Amegy Bank - Operating *2655               17000 $   (41,821.55)
Credit Card Charge   5/28/2021                     Motion Array Monthly                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     29.99         $   (41,791.56)
Credit Card Charge   5/29/2021                     Unitel Voice V                                                                           21110 · AMEX CORP -T ZENNER - 61028        21.23         $   (41,770.33)
Credit Card Charge   5/29/2021                     USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018      3400         $   (38,370.33)
Credit Card Charge   5/29/2021                     Stamps.com                                                                               21105 · AMEX CORP - M BISCHOFF - 62018      1200         $   (37,170.33)
Credit Card Charge   5/30/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A7953664951 ADVERTISING SERVICE       21310 · AMEX Plat 7008                       500         $   (36,670.33)
Credit Card Charge    6/1/2021                     Adobe                     MICHAEL L BISCHOFF-67008-331329181 ADOBE.LY/ENUS               21310 · AMEX Plat 7008                     16.23         $   (36,654.10)
Credit Card Charge    6/1/2021 A6274935416         Google Suite (vendor)     Glaxon Google Workspace                                        21110 · AMEX CORP -T ZENNER - 61028       202.17         $   (36,451.93)
Check                 6/2/2021                     Authorize.net             Authnet Gateway Billing 117675121 Ref # 02115                  10110 · Amegy Bank - Operating *2655          30         $   (36,421.93)
Credit Card Charge    6/2/2021                     Facebook                  MICHAEL L BISCHOFF-67008-10068275924 6505434800                21310 · AMEX Plat 7008                       900         $   (35,521.93)
Transfer              6/3/2021                                               Funds Transfer Payee:Online Xfer from DDA Day One Dis          10110 · Amegy Bank - Operating *2655               18000 $   (53,521.93)
Credit Card Charge    6/3/2021                     Google Ads                MICHAEL L BISCHOFF-67008-A7319708680 ADVERTISING SERVICE       21310 · AMEX Plat 7008                      500          $   (53,021.93)
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Credit Card Charge    6/3/2021             Shopify Billing                                                                          21105 · AMEX CORP - M BISCHOFF - 62018    665.85        $   (52,356.08)
Credit Card Charge    6/4/2021             Adobe                    MICHAEL L BISCHOFF-67008-331706039 ADOBE.LY/ENUS                21310 · AMEX Plat 7008                     16.23        $   (52,339.85)
Credit Card Charge    6/4/2021             Adobe                    THOMAS H ZENNER-61035-331733723 ADOBE.LY/ENUS                   21310 · AMEX Plat 7008                     16.23        $   (52,323.62)
Credit Card Charge    6/5/2021             Google Ads               MICHAEL L BISCHOFF-67008-A0HQXLOT ADVERTISING                   21310 · AMEX Plat 7008                       500        $   (51,823.62)
Credit Card Charge    6/6/2021             Social Clout Club        MICHAEL L BISCHOFF-67008-NT_JCR5E23S +19734755085               21310 · AMEX Plat 7008                       399        $   (51,424.62)
Credit Card Charge    6/7/2021             Facebook                 MICHAEL L BISCHOFF-67008-10068597466 6505434800                 21310 · AMEX Plat 7008                       900        $   (50,524.62)
Credit Card Charge    6/8/2021   111299914 Shopify Billing          App and subscription                                            21105 · AMEX CORP - M BISCHOFF - 62018     91.66        $   (50,432.96)
Credit Card Charge    6/9/2021             Google Ads                                                                               21310 · AMEX Plat 7008                         0        $   (50,432.96)
Credit Card Charge    6/9/2021     5981418 Shipstation              Salesforce Plugin Use - June 2021                               21110 · AMEX CORP -T ZENNER - 61028          150        $   (50,282.96)
Credit Card Charge    6/9/2021      296349 TSheets                  Quickbooks Time Support                                         21110 · AMEX CORP -T ZENNER - 61028        72.49        $   (50,210.47)
Transfer             6/10/2021                                      Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               9000 $   (59,210.47)
Credit Card Charge   6/14/2021     6004526 Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028        63.06        $   (59,147.41)
Credit Card Charge   6/16/2021             Klaviyo                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     85.28        $   (59,062.13)
Credit Card Charge   6/19/2021             Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    107.17        $   (58,954.96)
Credit Card Charge   6/19/2021             Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    135.31        $   (58,819.65)
Credit Card Charge   6/19/2021             Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     31.39        $   (58,788.26)
General Journal      6/25/2021        1120                          social clout club                                               -SPLIT-                                      717        $   (58,071.26)
General Journal      6/25/2021        1120                          google ads                                                      13100 · InterCompany Receivable - DOD       2500        $   (55,571.26)
General Journal      6/25/2021        1120                          facebook                                                        13100 · InterCompany Receivable - DOD    6560.05        $   (49,011.21)
General Journal      6/25/2021        1120                          bt story blocks                                                 13100 · InterCompany Receivable - DOD         15        $   (48,996.21)
General Journal      6/25/2021        1120                          shopify                                                         13100 · InterCompany Receivable - DOD     303.79        $   (48,692.42)
General Journal      6/25/2021        1120                          IN DCS PRINT SHOP CORONA CA                                     13100 · InterCompany Receivable - DOD       2427        $   (46,265.42)
General Journal      6/25/2021        1120                          shopify                                                         13100 · InterCompany Receivable - DOD      30.91        $   (46,234.51)
General Journal      6/25/2021        1120                          mysellerpal.com                                                 13100 · InterCompany Receivable - DOD         10        $   (46,224.51)
General Journal      6/25/2021        1120                          supplementsnoop.com                                             13100 · InterCompany Receivable - DOD      19.99        $   (46,204.52)
General Journal      6/25/2021        1120                          zendesk                                                         13100 · InterCompany Receivable - DOD     193.75        $   (46,010.77)
General Journal      6/25/2021        1120                          tapfiliate                                                      13100 · InterCompany Receivable - DOD        218        $   (45,792.77)
General Journal      6/25/2021        1120                          amazon web services                                             13100 · InterCompany Receivable - DOD      71.72        $   (45,721.05)
General Journal      6/25/2021        1120                          manychat                                                        13100 · InterCompany Receivable - DOD         10        $   (45,711.05)
Credit Card Charge   6/26/2021             Stamps.com                                                                               21105 · AMEX CORP - M BISCHOFF - 62018      3400        $   (42,311.05)
Credit Card Charge   6/28/2021             Motion Array Monthly     Video software subscription                                     21105 · AMEX CORP - M BISCHOFF - 62018     29.99        $   (42,281.06)
Credit Card Charge   6/29/2021     6082750 Shipstation              Additional User                                                 21110 · AMEX CORP -T ZENNER - 61028          2.6        $   (42,278.46)
Credit Card Charge   6/29/2021             Stamps.com                                                                               21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (42,078.46)
Credit Card Charge   6/29/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (41,878.46)
Credit Card Charge   6/29/2021             Unitel Voice V                                                                           21110 · AMEX CORP -T ZENNER - 61028        21.23        $   (41,857.23)
Credit Card Charge   6/30/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (41,657.23)
Credit Card Charge    7/1/2021     6095649 Shipstation                                                                              21110 · AMEX CORP -T ZENNER - 61028          150        $   (41,507.23)
Check                 7/2/2021             Authorize.net            Authnet Gateway Billing 117934819   Ref # 02118                 10110 · Amegy Bank - Operating *2655          30        $   (41,477.23)
Credit Card Charge    7/2/2021   335082299 Informa Exhibitions      Marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018       149        $   (41,328.23)
Credit Card Charge    7/2/2021   335083611 Informa Exhibitions      Marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018       149        $   (41,179.23)
Credit Card Charge    7/2/2021   335084534 Informa Exhibitions      Marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018       149        $   (41,030.23)
Credit Card Charge    7/2/2021             Google Suite (vendor)                                                                    21110 · AMEX CORP -T ZENNER - 61028       204.67        $   (40,825.56)
Credit Card Charge    7/3/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (40,625.56)
Credit Card Charge    7/3/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (40,425.56)
Credit Card Charge    7/3/2021             Shopify                  Glaxon Shopify Store                                            21105 · AMEX CORP - M BISCHOFF - 62018    679.61        $   (39,745.95)
Credit Card Charge    7/7/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (39,545.95)
Credit Card Charge    7/7/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (39,345.95)
Credit Card Charge    7/7/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (39,145.95)
Credit Card Charge    7/7/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (38,945.95)
Credit Card Charge    7/8/2021   113908788 Shopify Billing          Wholesale Lock Manager app + Shopify plan                       21105 · AMEX CORP - M BISCHOFF - 62018     91.66        $   (38,854.29)
Credit Card Charge    7/8/2021             Amazon Online                                                                            21105 · AMEX CORP - M BISCHOFF - 62018       275        $   (38,579.29)
Credit Card Charge    7/8/2021             USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (38,379.29)
Credit Card Charge    7/9/2021             TSheets                                                                                  21110 · AMEX CORP -T ZENNER - 61028        72.49        $   (38,306.80)
Credit Card Charge   7/10/2021             Stamps.com                                                                               21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (38,106.80)
Credit Card Charge   7/13/2021             Stamps.com                                                                               21105 · AMEX CORP - M BISCHOFF - 62018       200        $   (37,906.80)
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Credit Card Charge   7/13/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (37,706.80)
Credit Card Charge   7/14/2021            6157315 Shipstation                                                                             21110 · AMEX CORP -T ZENNER - 61028        68.47   $   (37,638.33)
Credit Card Charge   7/15/2021                    stickerapp              Marketing?                                                      21105 · AMEX CORP - M BISCHOFF - 62018   1572.87   $   (36,065.46)
Credit Card Charge   7/15/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (35,865.46)
Credit Card Charge   7/16/2021                    Klaviyo                 Software                                                        21105 · AMEX CORP - M BISCHOFF - 62018     85.28   $   (35,780.18)
Credit Card Charge   7/17/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (35,580.18)
Credit Card Charge   7/19/2021                    Shutterstock (v)        Marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018    135.31   $   (35,444.87)
Credit Card Charge   7/19/2021                    Shutterstock (v)        Marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018    107.17   $   (35,337.70)
Credit Card Charge   7/19/2021                    Shutterstock (v)        marketing                                                       21105 · AMEX CORP - M BISCHOFF - 62018     31.39   $   (35,306.31)
Credit Card Charge   7/20/2021                    Alibaba                 Hoodies                                                         21105 · AMEX CORP - M BISCHOFF - 62018   3409.96   $   (31,896.35)
Credit Card Charge   7/20/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (31,696.35)
Credit Card Charge   7/21/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (31,496.35)
Credit Card Charge   7/22/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (31,296.35)
Credit Card Charge   7/24/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (31,096.35)
General Journal      7/26/2021               1119                         GOOGLE ADS                                                      -SPLIT-                                     7000   $   (24,096.35)
General Journal      7/26/2021               1119                         facebook                                                        13100 · InterCompany Receivable - DOD    7529.13   $   (16,567.22)
General Journal      7/26/2021               1119                         bt story blocks                                                 13100 · InterCompany Receivable - DOD         15   $   (16,552.22)
General Journal      7/26/2021               1119                         social clout club                                               13100 · InterCompany Receivable - DOD        877   $   (15,675.22)
General Journal      7/26/2021               1119                         shopify                                                         13100 · InterCompany Receivable - DOD      334.7   $   (15,340.52)
General Journal      7/26/2021               1119                         tapfiliate                                                      13100 · InterCompany Receivable - DOD        218   $   (15,122.52)
General Journal      7/26/2021               1119                         mysellerpal.com                                                 13100 · InterCompany Receivable - DOD         10   $   (15,112.52)
General Journal      7/26/2021               1119                         supplement snoop                                                13100 · InterCompany Receivable - DOD      19.99   $   (15,092.53)
General Journal      7/26/2021               1119                         zendesk                                                         13100 · InterCompany Receivable - DOD     193.14   $   (14,899.39)
General Journal      7/26/2021               1119                         IN DCS Print Shop, Corona                                       13100 · InterCompany Receivable - DOD       2906   $   (11,993.39)
General Journal      7/26/2021               1119                         amazon web services                                             13100 · InterCompany Receivable - DOD      69.62   $   (11,923.77)
General Journal      7/26/2021               1119                         manychat                                                        13100 · InterCompany Receivable - DOD         10   $   (11,913.77)
Credit Card Charge   7/27/2021                    Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (11,713.77)
Credit Card Charge   7/27/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (11,513.77)
Credit Card Charge   7/27/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (11,313.77)
Credit Card Charge   7/27/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (11,113.77)
Credit Card Charge   7/28/2021                    Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (10,913.77)
Credit Card Charge   7/28/2021              29.99 Motion Array Monthly                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     29.99   $   (10,883.78)
Credit Card Charge   7/29/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (10,683.78)
Credit Card Charge   7/29/2021                    Unitel Voice V                                                                          21110 · AMEX CORP -T ZENNER - 61028        21.09   $   (10,662.69)
Credit Card Charge   7/30/2021 FO.29469           Feed Optimize                                                               May-21      21105 · AMEX CORP - M BISCHOFF - 62018        60   $   (10,602.69)
Credit Card Charge   7/30/2021 FO.30052           Feed Optimize                                                               Jun-21      21105 · AMEX CORP - M BISCHOFF - 62018        60   $   (10,542.69)
Credit Card Charge   7/30/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (10,342.69)
Credit Card Charge   7/31/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $   (10,142.69)
Credit Card Charge   7/31/2021 FO.30636           Feed Optimize                                                                Jul-21     21105 · AMEX CORP - M BISCHOFF - 62018        60   $   (10,082.69)
Credit Card Charge    8/2/2021          116106184 Shopify Billing                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    791.54   $    (9,291.15)
Check                 8/3/2021                    Authorize.net           Authnet Gateway Billing 118315104   Ref # 02121                 10110 · Amegy Bank - Operating *2655          30   $    (9,261.15)
Credit Card Charge    8/3/2021                    Office Depot                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    363.53   $    (8,897.62)
Credit Card Charge    8/3/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $    (8,697.62)
Credit Card Charge    8/3/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $    (8,497.62)
Credit Card Charge    8/5/2021                    Shutterstock                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    164.54   $    (8,333.08)
Credit Card Charge    8/5/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $    (8,133.08)
Transfer              8/6/2021                                            Funds Transfer                                                  10110 · Amegy Bank - Operating *2655        7124   $    (1,009.08)
Credit Card Charge    8/7/2021          116489657 Shopify Billing                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     91.66   $      (917.42)
Credit Card Charge    8/7/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $      (717.42)
Credit Card Charge   8/10/2021                    Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018       200   $      (517.42)
Credit Card Charge   8/11/2021                    Stamps.com                                                                              21105 · AMEX CORP - M BISCHOFF - 62018       200   $      (317.42)
Credit Card Charge   8/14/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $      (117.42)
Credit Card Charge   8/16/2021                    Klaviyo                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018     85.28   $       (32.14)
Credit Card Charge   8/16/2021            4325.58 Alibaba                 Glaxon Hoodies (embroidered) 50% Deposit                        21105 · AMEX CORP - M BISCHOFF - 62018   4325.58   $     4,293.44
Credit Card Charge   8/17/2021                    USPS Stamps Endicia                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       200   $     4,493.44
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Credit Card Charge   8/18/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $    4,693.44
Credit Card Charge   8/19/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $    4,893.44
Credit Card Charge   8/20/2021                   Stamps.com                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018        200   $    5,093.44
Credit Card Charge   8/21/2021                   Stamps.com                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018        200   $    5,293.44
Credit Card Charge   8/24/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $    5,493.44
Credit Card Charge   8/25/2021                   Stamps.com                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018        200   $    5,693.44
Credit Card Charge   8/25/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $    5,893.44
General Journal      8/26/2021            1121                            facebook                                                           -SPLIT-                                  11701.07   $   17,594.51
General Journal      8/26/2021            1121                            google ads                                                         13100 · InterCompany Receivable - DOD       12500   $   30,094.51
General Journal      8/26/2021            1121                            storyblocks                                                        13100 · InterCompany Receivable - DOD          15   $   30,109.51
General Journal      8/26/2021            1121                            shopify                                                            13100 · InterCompany Receivable - DOD       84.22   $   30,193.73
General Journal      8/26/2021            1121                            shopify                                                            13100 · InterCompany Receivable - DOD      219.57   $   30,413.30
General Journal      8/26/2021            1121                            social clout club                                                  13100 · InterCompany Receivable - DOD         877   $   31,290.30
General Journal      8/26/2021            1121                            mysellerpal                                                        13100 · InterCompany Receivable - DOD          10   $   31,300.30
General Journal      8/26/2021            1121                            supplement snoop                                                   13100 · InterCompany Receivable - DOD       19.99   $   31,320.29
General Journal      8/26/2021            1121                            zendesk                                                            13100 · InterCompany Receivable - DOD      193.01   $   31,513.30
General Journal      8/26/2021            1121                            tapfilate                                                          13100 · InterCompany Receivable - DOD         218   $   31,731.30
General Journal      8/26/2021            1121                            amazon web services                                                13100 · InterCompany Receivable - DOD       10.99   $   31,742.29
General Journal      8/26/2021            1121                            inDCs print shop                                                   13100 · InterCompany Receivable - DOD      296.25   $   32,038.54
General Journal      8/26/2021            1121                            manychat                                                           13100 · InterCompany Receivable - DOD          10   $   32,048.54
Credit Card Charge   8/26/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $   32,248.54
Credit Card Charge   8/26/2021                   DCS Print Shop LLC       Glaxon Merchandise?                                                21105 · AMEX CORP - M BISCHOFF - 62018     8818.7   $   41,067.24
                                                                          THOMAS H ZENNER-61035-341679851 ADOBE.LY/ENUS ADOBE STOCK Adobe
Credit Card Charge   8/26/2021                   Adobe                    Systems SAN JOSE CA                                                21310 · AMEX Plat 7008                      32.46   $   41,099.70
Credit Card Charge   8/26/2021                   Google Ads                                                                                  21310 · AMEX Plat 7008                        500   $   41,599.70
Credit Card Charge   8/27/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $   41,799.70
                                                                          MICHAEL L BISCHOFF-67008-A1090571529 ADVERTISING SERVICE
Credit Card Charge   8/27/2021                   Google Ads               GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                        500   $   42,299.70
Credit Card Charge   8/28/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $   42,499.70
Credit Card Charge   8/28/2021                   Motion Array Monthly                                                                        21105 · AMEX CORP - M BISCHOFF - 62018      29.99   $   42,529.69
                                                                          MICHAEL L BISCHOFF-67008-NT_K7LWY00F 8778877815 MANYCHAT.COM
Credit Card Charge   8/28/2021                   Manychat                 PRO 500 SAN FRANCISCO CA                                           21310 · AMEX Plat 7008                        10    $   42,539.69
                                                                          MICHAEL L BISCHOFF-67008-NT_K7C8MSZ2 8778877815 TAPFILIATE
Credit Card Charge   8/28/2021                   Tapfiliate               AMSTERDAM NL                                                       21310 · AMEX Plat 7008                        69    $   42,608.69
                                                                          MICHAEL L BISCHOFF-67008-10074564033 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   8/28/2021                   Facebook                 FACEBOOK 6505434800 CA                                             21310 · AMEX Plat 7008                        900   $   43,508.69
Credit Card Charge   8/29/2021                   Unitel Voice V                                                                              21110 · AMEX CORP -T ZENNER - 61028         21.09   $   43,529.78
Credit Card Charge   8/31/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        200   $   43,729.78
Credit Card Charge   8/31/2021                   TikTok Ads                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018         50   $   43,779.78
                                                                          MICHAEL L BISCHOFF-67008-342268548 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge   8/31/2021                   Adobe                    SUBS Adobe Systems SAN JOSE CA                                     21310 · AMEX Plat 7008                      16.23   $   43,796.01
                                                                          MICHAEL L BISCHOFF-67008-10074766656 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   8/31/2021                                            FACEBOOK 6505434800 CA                                             21310 · AMEX Plat 7008                       900    $   44,696.01
Credit Card Charge    9/1/2021 FO.31225          Feed Optimize                                                                               21105 · AMEX CORP - M BISCHOFF - 62018        60    $   44,756.01
Credit Card Charge    9/1/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018       200    $   44,956.01
                                                                          MICHAEL L BISCHOFF-67008-A0IPD740 ADVERTISING GOOGLE
Credit Card Charge    9/1/2021                                            *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500    $   45,456.01
Check                 9/2/2021                   Authorize.net            Authnet Gateway Billing 118633419 Ref # 02124                      10110 · Amegy Bank - Operating *2655          30    $   45,486.01
Credit Card Charge    9/2/2021                   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018       200    $   45,686.01
                                                                          MICHAEL L BISCHOFF-67008-NT_K9BOMEBN +19734755085
Credit Card Charge    9/2/2021                   Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                           21310 · AMEX Plat 7008                       239    $   45,925.01
                                                                          MICHAEL L BISCHOFF-67008-A6889999160 COMPUTER STORE
Credit Card Charge    9/2/2021                                            GOOGLE*GSUITE_GBNUCO.COM MOUNTAIN VIEW CA                          21310 · AMEX Plat 7008                      25.39   $   45,950.40
                                                                          MICHAEL L BISCHOFF-67008-10074969829 6505434800 PAYPAL *FACEBOOK
Credit Card Charge    9/2/2021                                            FACEBOOK 6505434800 CA                                             21310 · AMEX Plat 7008                       900    $   46,850.40
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Credit Card Charge    9/3/2021            Shutterstock (v)                                                                              21105 · AMEX CORP - M BISCHOFF - 62018    182.94   $   47,033.34
Credit Card Charge    9/3/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018       200   $   47,233.34
Credit Card Charge    9/3/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018       200   $   47,433.34
                                                                   MICHAEL L BISCHOFF-67008-342669598 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge    9/3/2021            Adobe                    SUBS Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     14.99   $   47,448.33
                                                                   THOMAS H ZENNER-61035-342647113 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge    9/3/2021            Adobe                    SUBS Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     16.23   $   47,464.56
                                                                   THOMAS H ZENNER-61035-3LZVD72D25Y WEB SERVICES Amazon Web
Credit Card Charge    9/3/2021            Amazon Web Services      Services AWS.Amazon.com WA                                           21310 · AMEX Plat 7008                     71.72   $   47,536.28
                                                                   MICHAEL L BISCHOFF-67008-A0IPY41S ADVERTISING GOOGLE
Credit Card Charge    9/3/2021                                     *ADS6424741688 CC@GOOGLE.COM CA                                      21310 · AMEX Plat 7008                      500    $   48,036.28
Credit Card Charge    9/4/2021            Stamps.com                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      200    $   48,236.28
Credit Card Charge    9/4/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   48,436.28
                                                                   MICHAEL L BISCHOFF-67008-NT_KAEHO2FN 8778877815 TAPFILIATE
Credit Card Charge    9/4/2021            Tapfiliate               AMSTERDAM NL                                                         21310 · AMEX Plat 7008                      149    $   48,585.28
                                                                   MICHAEL L BISCHOFF-67008-10075094807 6505434800 PAYPAL *FACEBOOK
Credit Card Charge    9/4/2021                                     FACEBOOK 6505434800 CA                                               21310 · AMEX Plat 7008                       900   $   49,485.28
Credit Card Charge    9/5/2021   20210905 Alibaba                  glaxon hoodies (orig style) 50% Deposit                              21105 · AMEX CORP - M BISCHOFF - 62018   6472.93   $   55,958.21
                                                                   MICHAEL L BISCHOFF-67008-NT_KATSUXPJ +19734755085
Credit Card Charge    9/5/2021            Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                             21310 · AMEX Plat 7008                      399    $   56,357.21
                                                                   MICHAEL L BISCHOFF-67008-343005373 ADOBE.LY/ENUS ADOBE STOCK
Credit Card Charge    9/6/2021            Adobe                    Adobe Systems SAN JOSE CA                                            21310 · AMEX Plat 7008                     32.46   $   56,389.67
                                                                   MICHAEL L BISCHOFF-67008-A9764786596 ADVERTISING SERVICE
Credit Card Charge    9/6/2021                                     GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                      500    $   56,889.67
                                                                   MICHAEL L BISCHOFF-67008-10075300399 6505434800 PAYPAL *FACEBOOK
Credit Card Charge    9/7/2021                                     FACEBOOK 6505434800 CA                                               21310 · AMEX Plat 7008                      900    $   57,789.67
Credit Card Charge    9/8/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   57,989.67
Credit Card Charge    9/8/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   58,189.67
Credit Card Charge    9/8/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   58,389.67
Credit Card Charge    9/8/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   58,589.67
                                                                   THOMAS H ZENNER-61035-343251079 ADOBE.LY/ENUS ADOBE PHOTOGPHY
Credit Card Charge    9/8/2021            Adobe                    PLAN Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     10.81   $   58,600.48
                                                                   MICHAEL L BISCHOFF-67008-A1047926357 ADVERTISING SERVICE
Credit Card Charge    9/8/2021                                     GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                       500   $   59,100.48
Credit Card Charge    9/9/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018       200   $   59,300.48
Credit Card Charge    9/9/2021            TSheets                                                                                       21110 · AMEX CORP -T ZENNER - 61028        72.49   $   59,372.97
Credit Card Charge   9/10/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018       200   $   59,572.97
                                                                   MICHAEL L BISCHOFF-67008-INV07454347INV07454347 94103 ZENDESK,
Credit Card Charge   9/10/2021            Zendesk Inc              INC. SAN FRANCISCO CA                                                21310 · AMEX Plat 7008                    194.26   $   59,767.23
                                                                   MICHAEL L BISCHOFF-67008-A0IT1QIC ADVERTISING GOOGLE
Credit Card Charge   9/10/2021                                     *ADS6424741688 CC@GOOGLE.COM CA                                      21310 · AMEX Plat 7008                      500    $   60,267.23
                                                                   MICHAEL L BISCHOFF-67008-10075490836 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   9/10/2021                                     FACEBOOK 6505434800 CA                                               21310 · AMEX Plat 7008                      900    $   61,167.23
Credit Card Charge   9/11/2021            USPS Stamps Endicia                                                                           21105 · AMEX CORP - M BISCHOFF - 62018      200    $   61,367.23
                                                                   MICHAEL L BISCHOFF-67008-343670935 ADOBE.LY/ENUS ADOBE IL CREATIVE
Credit Card Charge   9/11/2021            Adobe                    CLD Adobe Systems SAN JOSE CA                                        21310 · AMEX Plat 7008                     22.72   $   61,389.95
                                                                   MICHAEL L BISCHOFF-67008-NT_KDRJGQOX +18009187305
Credit Card Charge   9/12/2021            MySellerPal              MYSELLERPAL.COM FARMINGDALE NJ                                       21310 · AMEX Plat 7008                       10    $   61,399.95
                                                                   MICHAEL L BISCHOFF-67008-10075670316 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   9/12/2021                                     FACEBOOK 6505434800 CA                                               21310 · AMEX Plat 7008                      900    $   62,299.95
                                                                   MICHAEL L BISCHOFF-67008-NT_KDWPEX2X +13052032729
Credit Card Charge   9/12/2021                                     SUPPLEMENTSNOOP.COM DOVER DE                                         21310 · AMEX Plat 7008                     19.99   $   62,319.94
                                                                   MICHAEL L BISCHOFF-67008-A8269208357 ADVERTISING SERVICE
Credit Card Charge   9/13/2021                                     GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                       500   $   62,819.94
Credit Card Charge   9/14/2021   20210914 Alibaba                  glaxon hoodies (orig style) remaining 50%                            21105 · AMEX CORP - M BISCHOFF - 62018   6472.93   $   69,292.87
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Credit Card Charge   9/14/2021 STK1167            Stacked3D                 For Glaxon Advertising                                             21105 · AMEX CORP - M BISCHOFF - 62018      1130    $   70,422.87
Credit Card Charge   9/14/2021                    Alibaba                                                                                      21105 · AMEX CORP - M BISCHOFF - 62018      92.7    $   70,515.57
Credit Card Charge   9/14/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $   70,715.57
                                                                            MICHAEL L BISCHOFF-67008-A0IUMSBX ADVERTISING GOOGLE
Credit Card Charge   9/14/2021                                              *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500    $   71,215.57
                                                                            THOMAS H ZENNER-61035-344155343 8004438158 ADOBE CREATIVE CLOUD
Credit Card Charge   9/15/2021                    Adobe                     Adobe Systems SAN JOSE CA                                          21310 · AMEX Plat 7008                     173.18   $   71,388.75
                                                                            MICHAEL L BISCHOFF-67008-10075888938 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   9/15/2021                                              FACEBOOK 6505434800 CA                                             21310 · AMEX Plat 7008                        900   $   72,288.75
Credit Card Charge   9/16/2021              11323 Epic Promos               Custom Glaxon T-shirts                                             21105 · AMEX CORP - M BISCHOFF - 62018     1228.7   $   73,517.45
Credit Card Charge   9/16/2021                    Klaviyo                   software                                                           21105 · AMEX CORP - M BISCHOFF - 62018      85.28   $   73,602.73
Credit Card Charge   9/16/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018        200   $   73,802.73
                                                                            MICHAEL L BISCHOFF-67008-NT_KEQYG65N +19734755085
Credit Card Charge   9/16/2021                    Social Clout Club         SOCIALCLOUTCLUB LEWES DE                                           21310 · AMEX Plat 7008                       239    $   74,041.73
                                                                            MICHAEL L BISCHOFF-67008-A0IVKVW5 ADVERTISING GOOGLE
Credit Card Charge   9/16/2021                                              *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500    $   74,541.73
Credit Card Charge   9/17/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $   74,741.73
                                                                            MICHAEL L BISCHOFF-67008-A9884811819 ADVERTISING SERVICE
Credit Card Charge   9/18/2021                                              GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                        500   $   75,241.73
Credit Card Charge   9/19/2021                    Shutterstock (v)                                                                             21105 · AMEX CORP - M BISCHOFF - 62018      31.39   $   75,273.12
Credit Card Charge   9/19/2021                    Shutterstock (v)                                                                             21105 · AMEX CORP - M BISCHOFF - 62018     107.17   $   75,380.29
                                                                            MICHAEL L BISCHOFF-67008-NT_KFQUY3AP +18887467439 SHOPIFY*
Credit Card Charge   9/19/2021                    Shopify Billing           120246607 ELK GROVE VILLAGE IL                                     21310 · AMEX Plat 7008                     219.57   $   75,599.86
                                                                            MICHAEL L BISCHOFF-67008-NT_KFQZXVMF +18887467439 SHOPIFY*
Credit Card Charge   9/19/2021                    Shopify Billing           120297961 ELK GROVE VILLAGE IL                                     21310 · AMEX Plat 7008                      84.22   $   75,684.08
                                                                            MICHAEL L BISCHOFF-67008-A0263306654 ADVERTISING SERVICE
Credit Card Charge   9/19/2021                                              GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                       500    $   76,184.08
                                                                            MICHAEL L BISCHOFF-67008-10076182477 6505434800 PAYPAL *FACEBOOK
Credit Card Charge   9/19/2021                                              ADS 6505434800 CA                                                  21310 · AMEX Plat 7008                     797.01   $   76,981.09
Credit Card Charge   9/20/2021               5282 DCS Print Shop LLC        Specimen Next Level t-shirts                                       21105 · AMEX CORP - M BISCHOFF - 62018     7323.5   $   84,304.59
                                                                            MICHAEL L BISCHOFF-67008-A0IWJP27 ADVERTISING GOOGLE
Credit Card Charge   9/20/2021                                              *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500    $   84,804.59
Credit Card Charge   9/21/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $   85,004.59
Credit Card Charge   9/21/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $   85,204.59
Credit Card Charge   9/21/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $   85,404.59
                                                                            MICHAEL L BISCHOFF-67008-344984909 ADOBE.LY/ENUS ADOBE PS
Credit Card Charge   9/21/2021                    Adobe                     CREATIVE CLD Adobe Systems SAN JOSE CA                             21310 · AMEX Plat 7008                      22.72   $   85,427.31
Credit Card Charge   9/22/2021                    Stamps.com                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018        200   $   85,627.31
                                                                            MICHAEL L BISCHOFF-67008-A1131826876 ADVERTISING SERVICE
Credit Card Charge   9/22/2021                                              GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                       500    $   86,127.31
Credit Card Charge   9/23/2021                    Stamps.com                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018       200    $   86,327.31
                                                                            MICHAEL L BISCHOFF-67008-A0IY9WTQ ADVERTISING GOOGLE
Credit Card Charge   9/23/2021                                              *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                        500   $   86,827.31
Credit Card Charge   9/24/2021           20210924 Alibaba                   Glaxon Hoodies (embroidered) - Remainder                           21105 · AMEX CORP - M BISCHOFF - 62018    6978.09   $   93,805.40
Credit Card Charge   9/24/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018        200   $   94,005.40
Credit Card Charge   9/25/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018        200   $   94,205.40
                                                                            MICHAEL L BISCHOFF-67008-A1061377945 ADVERTISING SERVICE
Credit Card Charge   9/25/2021                                              GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                       500    $   94,705.40
                                                                            THOMAS H ZENNER-61035-424220457 ADOBE.LY/ENUS ADOBE STOCK Adobe
Credit Card Charge   9/26/2021                    Adobe                     Systems SAN JOSE CA                                                21310 · AMEX Plat 7008                      32.46   $ 94,737.86
Credit Card Charge   9/27/2021           20210927 Alibaba                   Glaxon Hoodies (Orig style reorder)                                21105 · AMEX CORP - M BISCHOFF - 62018   10196.01   $ 104,933.87
                                                                            MICHAEL L BISCHOFF-67008-A0IZ8OYJ ADVERTISING GOOGLE
Credit Card Charge   9/27/2021                                              *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500    $ 105,433.87
Credit Card Charge   9/28/2021                    USPS Stamps Endicia                                                                          21105 · AMEX CORP - M BISCHOFF - 62018       200    $ 105,633.87
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                                                                           MICHAEL L BISCHOFF-67008-NT_KJNXBHPP 8778877815 MANYCHAT.COM PRO
Credit Card Charge    9/28/2021                   Manychat                 500 SAN FRANCISCO CA                                                 21310 · AMEX Plat 7008                       10             $ 105,643.87
                                                                           MICHAEL L BISCHOFF-67008-NT_KJEIQKS3 8778877815 TAPFILIATE
Credit Card Charge    9/28/2021                   Tapfiliate               AMSTERDAM NL                                                         21310 · AMEX Plat 7008                       69             $ 105,712.87
                                                                           MICHAEL L BISCHOFF-67008-A0J06GUO ADVERTISING GOOGLE
Credit Card Charge    9/28/2021                                            *ADS6424741688 CC@GOOGLE.COM CA                                      21310 · AMEX Plat 7008                      500             $ 106,212.87
                                                                           MICHAEL L BISCHOFF-67008-A0J0P8PX ADVERTISING GOOGLE
Credit Card Charge    9/29/2021                                            *ADS6424741688 CC@GOOGLE.COM CA                                      21310 · AMEX Plat 7008                       500            $ 106,712.87
Credit Card Charge    9/29/2021                   Unitel Voice V                                                                                21110 · AMEX CORP -T ZENNER - 61028         21.1            $ 106,733.97
General Journal       9/30/2021            1124                            InterCo Payment                                                      10110 · Amegy Bank - Operating *2655               37141.66 $ 69,592.31
                                                                           MICHAEL L BISCHOFF-67008-346139688 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge    9/30/2021                   Adobe                    SUBS Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     16.23            $   69,608.54
                                                                           MICHAEL L BISCHOFF-67008-NT_KK6AWRZI +19734755085
Credit Card Charge    9/30/2021                   Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                             21310 · AMEX Plat 7008                       239            $   69,847.54
Credit Card Charge    9/30/2021                   Ice Shaker               Iceshaker 26oz customer shaker bottles                               21310 · AMEX Plat 7008                   1747.13            $   71,594.67
Credit Card Charge    10/1/2021 FO.31820          Feed Optimize                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018        60            $   71,654.67
                                                                           MICHAEL L BISCHOFF-67008-A7063867150 DIGITAL GOODS: APPS
Credit Card Charge    10/1/2021                                            GOOGLE*GSUITE GBNUCO.COM GOOGLE INC CC ...                           21310 · AMEX Plat 7008                     25.39            $   71,680.06
                                                                           MICHAEL L BISCHOFF-67008-A0J1HZ2Z ADVERTISING GOOGLE
Credit Card Charge    10/1/2021                                            *ADS6424741688 CC@GOOGLE.COM CA                                      21310 · AMEX Plat 7008                      500             $   72,180.06
                                                                           THOMAS H ZENNER-61035-5U1AATL45VK WEB SERVICES Amazon Web Services
Credit Card Charge    10/2/2021                   Amazon Web Services      AWS.Amazon.com WA                                                    21310 · AMEX Plat 7008                     69.62            $   72,249.68
                                                                           MICHAEL L BISCHOFF-67008-346590961 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge    10/3/2021                   Adobe                    SUBS Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     14.99            $   72,264.67
                                                                           THOMAS H ZENNER-61035-346603151 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge    10/3/2021                   Adobe                    SUBS Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     16.23            $   72,280.90
                                                                           MICHAEL L BISCHOFF-67008-A4344895225 ADVERTISING SERVICE
Credit Card Charge    10/3/2021                                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                       500            $   72,780.90
Credit Card Charge    10/3/2021                   Shutterstock (v)                                                                              21105 · AMEX CORP - M BISCHOFF - 62018    182.94            $   72,963.84
Check                 10/4/2021                   Authorize.net            Authnet Gateway Billing 118962583 Ref # 02127                        10110 · Amegy Bank - Operating *2655          30            $   72,993.84
                                                                           MICHAEL L BISCHOFF-67008-NT_KLTEYDKZ 8778877815 TAPFILIATE
Credit Card Charge    10/4/2021                   Tapfiliate               AMSTERDAM NL                                                         21310 · AMEX Plat 7008                      149             $   73,142.84
                                                                           MICHAEL L BISCHOFF-67008-A8453600218 ADVERTISING SERVICE
Credit Card Charge    10/4/2021                                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                       500            $   73,642.84
Credit Card Charge    10/4/2021                   Sticker Mule                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    352.08            $   73,994.92
Credit Card Charge    10/4/2021                   Printed TP                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     64.95            $   74,059.87
Credit Card Charge    10/4/2021                   Zip Recruiter                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    255.84            $   74,315.71
                                                                           MICHAEL L BISCHOFF-67008-NT_KM8FNKLP +19734755085
Credit Card Charge    10/5/2021                   Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                             21310 · AMEX Plat 7008                      399             $   74,714.71
                                                                           MICHAEL L BISCHOFF-67008-A9938278498 ADVERTISING SERVICE
Credit Card Charge    10/5/2021                                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                      500             $   75,214.71
                                                                           MICHAEL L BISCHOFF-67008-347020717 ADOBE.LY/ENUS ADOBE STOCK
Credit Card Charge    10/6/2021                   Adobe                    Adobe Systems SAN JOSE CA                                            21310 · AMEX Plat 7008                     32.46            $   75,247.17
Credit Card Charge    10/6/2021                   NCN                      NCN Ingredient Technology Investor Meeting                           21310 · AMEX Plat 7008                      1500            $   76,747.17
                                                                           MICHAEL L BISCHOFF-67008-A1070827691 ADVERTISING SERVICE
Credit Card Charge    10/7/2021                                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                      500             $   77,247.17
                                                                           THOMAS H ZENNER-61035-347280710 ADOBE.LY/ENUS ADOBE PHOTOGPHY
Credit Card Charge    10/8/2021                   Adobe                    PLAN Adobe Systems SAN JOSE CA                                       21310 · AMEX Plat 7008                     10.81            $   77,257.98
                                                                           MICHAEL L BISCHOFF-67008-A3683802070 ADVERTISING SERVICE
Credit Card Charge    10/9/2021                                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                           21310 · AMEX Plat 7008                      500             $   77,757.98
                                                                           MICHAEL L BISCHOFF-67008-INV07573021INV07573021 94103 ZENDESK,
Credit Card Charge   10/10/2021                   Zendesk Inc              INC. SAN FRANCISCO CA                                                21310 · AMEX Plat 7008                    194.69            $   77,952.67
                                                                           MICHAEL L BISCHOFF-67008-347705361 ADOBE.LY/ENUS ADOBE IL CREATIVE
Credit Card Charge   10/11/2021                   Adobe                    CLD Adobe Systems SAN JOSE CA                                        21310 · AMEX Plat 7008                     22.72            $   77,975.39
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                                                           MICHAEL L BISCHOFF-67008-NT_KOGT5XL9 +18009187305
Credit Card Charge   10/12/2021   MySellerPal              MYSELLERPAL.COM FARMINGDALE NJ                                     21310 · AMEX Plat 7008                       10    $   77,985.39
                                                           MICHAEL L BISCHOFF-67008-A3065367077 ADVERTISING SERVICE
Credit Card Charge   10/12/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   78,485.39
                                                           MICHAEL L BISCHOFF-67008-NT_KOLBELVO +13052032729
Credit Card Charge   10/12/2021                            SUPPLEMENTSNOOP.COM DOVER DE                                       21310 · AMEX Plat 7008                     19.99   $   78,505.38
                                                           MICHAEL L BISCHOFF-67008-A3023771264 ADVERTISING SERVICE
Credit Card Charge   10/13/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   79,005.38
                                                           MICHAEL L BISCHOFF-67008-NT_KPLKW2AP +19734755085
Credit Card Charge   10/14/2021   Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                           21310 · AMEX Plat 7008                       239   $   79,244.38
Credit Card Charge   10/14/2021   Alibaba                  Hoodies                                                            21105 · AMEX CORP - M BISCHOFF - 62018   3058.81   $   82,303.19
Credit Card Charge   10/14/2021   Discount Mugs            Mugs                                                               21105 · AMEX CORP - M BISCHOFF - 62018   1126.45   $   83,429.64
                                                           THOMAS H ZENNER-61035-348168504 8004438158 ADOBE CREATIVE CLOUD
Credit Card Charge   10/15/2021   Adobe                    Adobe Systems SAN JOSE CA                                          21310 · AMEX Plat 7008                    173.18   $   83,602.82
                                                           MICHAEL L BISCHOFF-67008-A4797997114 ADVERTISING SERVICE
Credit Card Charge   10/15/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                       500   $   84,102.82
Credit Card Charge   10/16/2021   Klaviyo                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     85.28   $   84,188.10
                                                           MICHAEL L BISCHOFF-67008-A9172100407 ADVERTISING SERVICE
Credit Card Charge   10/17/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   84,688.10
                                                           MICHAEL L BISCHOFF-67008-NT_KR3ZWHMB +18887467439 SHOPIFY*
Credit Card Charge   10/18/2021   Shopify Billing          122882296 ELK GROVE VILLAGE IL                                     21310 · AMEX Plat 7008                    219.16   $   84,907.26
Credit Card Charge   10/18/2021   stickerapp                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     173.2   $   85,080.46
Credit Card Charge   10/18/2021   Wayfair                  office furniture - partial shipment of a $9299.12 order            21105 · AMEX CORP - M BISCHOFF - 62018   1169.58   $   86,250.04
                                                           MICHAEL L BISCHOFF-67008-NT_KR5YUPFQ +18887467439 SHOPIFY*
Credit Card Charge   10/19/2021   Shopify Billing          122909573 ELK GROVE VILLAGE IL                                     21310 · AMEX Plat 7008                     84.06   $   86,334.10
                                                           MICHAEL L BISCHOFF-67008-A6963907820 ADVERTISING SERVICE
Credit Card Charge   10/19/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                       500   $   86,834.10
Credit Card Charge   10/19/2021   GVMLED                   Photography lights                                                 21105 · AMEX CORP - M BISCHOFF - 62018       249   $   87,083.10
Credit Card Charge   10/19/2021   Shutterstock (v)                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    107.17   $   87,190.27
                                                           MICHAEL L BISCHOFF-67008-A1047624960 ADVERTISING SERVICE
Credit Card Charge   10/20/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   87,690.27
                                                           MICHAEL L BISCHOFF-67008-349079117 ADOBE.LY/ENUS ADOBE PS
Credit Card Charge   10/21/2021   Adobe                    CREATIVE CLD Adobe Systems SAN JOSE CA                             21310 · AMEX Plat 7008                     22.72   $   87,712.99
                                                           MICHAEL L BISCHOFF-67008-A4526151998 ADVERTISING SERVICE
Credit Card Charge   10/22/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   88,212.99
                                                           MICHAEL L BISCHOFF-67008-A6820537086 ADVERTISING SERVICE
Credit Card Charge   10/23/2021                            GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                         21310 · AMEX Plat 7008                      500    $   88,712.99
                                                           MICHAEL L BISCHOFF-67008-A0JB21LC ADVERTISING GOOGLE
Credit Card Charge   10/25/2021                            *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                      500    $   89,212.99
                                                           THOMAS H ZENNER-61035-349733386 ADOBE.LY/ENUS ADOBE STOCK Adobe
Credit Card Charge   10/26/2021   Adobe                    Systems SAN JOSE CA                                                21310 · AMEX Plat 7008                     32.46   $   89,245.45
Credit Card Charge   10/26/2021   Alibaba                  Hoodie Order                                                       21105 · AMEX CORP - M BISCHOFF - 62018   4123.21   $   93,368.66
                                                           MICHAEL L BISCHOFF-67008-A0JBMHA7 ADVERTISING GOOGLE
Credit Card Charge   10/27/2021                            *ADS6424741688 CC@GOOGLE.COM CA                                    21310 · AMEX Plat 7008                       500   $   93,868.66
Credit Card Charge   10/27/2021   Alibaba                  Pre-Order Sample                                                   21105 · AMEX CORP - M BISCHOFF - 62018    203.93   $   94,072.59
                                                           MICHAEL L BISCHOFF-67008-NT_KUCLLEIZ 8778877815 MANYCHAT.COM PRO
Credit Card Charge   10/28/2021   Manychat                 500 SAN FRANCISCO CA                                               21310 · AMEX Plat 7008                       10    $   94,082.59
                                                           MICHAEL L BISCHOFF-67008-NT_KUAXYS4J +19734755085
Credit Card Charge   10/28/2021   Social Clout Club        SOCIALCLOUTCLUB LEWES DE                                           21310 · AMEX Plat 7008                      239    $   94,321.59
                                                           MICHAEL L BISCHOFF-67008-NT_KURSHS4B 8778877815 TAPFILIATE
Credit Card Charge   10/28/2021   Tapfiliate               AMSTERDAM NL                                                       21310 · AMEX Plat 7008                        69   $   94,390.59
Credit Card Charge   10/28/2021   Stamps.com                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018      1000   $   95,390.59
Credit Card Charge   10/28/2021   USPS Stamps Endicia                                                                         21105 · AMEX CORP - M BISCHOFF - 62018      3000   $   98,390.59
Credit Card Charge   10/28/2021   Sam Strange                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018   1318.76   $   99,709.35
Credit Card Charge   10/28/2021   Motion Array Monthly                                                                        21105 · AMEX CORP - M BISCHOFF - 62018     29.99   $   99,739.34
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Credit Card Charge   10/28/2021 FO.32429   Feed Optimize                                                                             21105 · AMEX CORP - M BISCHOFF - 62018       60           $     99,799.34
                                                                    MICHAEL L BISCHOFF-67008-A1617152456 ADVERTISING SERVICE
Credit Card Charge   10/29/2021                                     GOOGLE*ADS6424741688 GOOGLE INC CC GOOG...                       21310 · AMEX Plat 7008                       500          $ 100,299.34
Credit Card Charge   10/30/2021            Wayfair                  Office Furniture $8,129.54 of $9,299.12                          21105 · AMEX CORP - M BISCHOFF - 62018   8129.54          $ 108,428.88
                                                                    MICHAEL L BISCHOFF-67008-350377507 ADOBE.LY/ENUS ADOBE ACROPRO
Credit Card Charge   10/31/2021            Adobe                    SUBS Adobe Systems SAN JOSE CA                                   21310 · AMEX Plat 7008                     16.23           $   108,445.11
Credit Card Charge    11/1/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   108,945.11
Check                 11/2/2021            Authorize.net            Authnet Gateway Billing 120088060   Ref # 02130                  10110 · Amegy Bank - Operating *2655          30           $   108,975.11
Credit Card Charge    11/3/2021                                     stack3d                                                          21310 · AMEX Plat 7008                      1130           $   110,105.11
Credit Card Charge    11/3/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     14.99           $   110,120.10
Credit Card Charge    11/3/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   110,620.10
Credit Card Charge    11/3/2021            Amazon Web Services                                                                       21310 · AMEX Plat 7008                     71.72           $   110,691.82
Credit Card Charge    11/3/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     16.23           $   110,708.05
Credit Card Charge    11/3/2021            Shutterstock (v)                                                                          21105 · AMEX CORP - M BISCHOFF - 62018    182.94           $   110,890.99
Credit Card Charge    11/3/2021            Wiygul Automotive                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    102.75           $   110,993.74
Credit Card Charge    11/4/2021            Tapfiliate                                                                                21310 · AMEX Plat 7008                       149           $   111,142.74
Credit Card Charge    11/4/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     86.59           $   111,229.33
Credit Card Credit    11/4/2021            Discount Mugs                                                                             21105 · AMEX CORP - M BISCHOFF - 62018             1126.45 $   110,102.88
Credit Card Charge    11/5/2021            IN *DCS Print Shop LLC                                                                    21310 · AMEX Plat 7008                    2160.5           $   112,263.38
Credit Card Charge    11/5/2021            Social Clout Club                                                                         21310 · AMEX Plat 7008                       399           $   112,662.38
Credit Card Charge    11/5/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   113,162.38
Credit Card Charge    11/5/2021            Adobe                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     37.88           $   113,200.26
Credit Card Charge    11/6/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     32.46           $   113,232.72
Credit Card Charge    11/8/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     10.81           $   113,243.53
Credit Card Charge    11/9/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   113,743.53
Credit Card Charge   11/10/2021            Zendesk Inc                                                                               21310 · AMEX Plat 7008                    193.35           $   113,936.88
Credit Card Charge   11/10/2021            Dri Maxon Computer       Maxon Computer - Cinema 4D 1 year                                21105 · AMEX CORP - M BISCHOFF - 62018    766.45           $   114,703.33
Credit Card Charge   11/11/2021            Social Clout Club                                                                         21310 · AMEX Plat 7008                       239           $   114,942.33
Credit Card Charge   11/11/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   115,442.33
Credit Card Charge   11/11/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     22.72           $   115,465.05
Credit Card Charge   11/12/2021            MySellerPal                                                                               21310 · AMEX Plat 7008                        10           $   115,475.05
Credit Card Charge   11/12/2021            Supplement Snoop                                                                          21310 · AMEX Plat 7008                     19.99           $   115,495.04
Credit Card Charge   11/13/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   115,995.04
Credit Card Charge   11/15/2021            Adobe                                                                                     21310 · AMEX Plat 7008                    173.18           $   116,168.22
Credit Card Charge   11/16/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   116,668.22
Credit Card Charge   11/16/2021            Klaviyo                  Software                                                         21105 · AMEX CORP - M BISCHOFF - 62018     85.28           $   116,753.50
Credit Card Charge   11/17/2021            Shopify                                                                                   21310 · AMEX Plat 7008                    219.16           $   116,972.66
Credit Card Charge   11/17/2021            Shopify                                                                                   21310 · AMEX Plat 7008                     84.22           $   117,056.88
Credit Card Charge   11/18/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   117,556.88
Credit Card Charge   11/19/2021            Shutterstock (v)                                                                          21105 · AMEX CORP - M BISCHOFF - 62018    107.17           $   117,664.05
Credit Card Charge   11/21/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     22.72           $   117,686.77
Credit Card Charge   11/22/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   118,186.77
Credit Card Charge   11/23/2021            BT Story Blocks Audio                                                                     21310 · AMEX Plat 7008                        15           $   118,201.77
Credit Card Charge   11/24/2021            Google Ads                                                                                21310 · AMEX Plat 7008                       500           $   118,701.77
Credit Card Charge   11/24/2021            Adobe                                                                                     21310 · AMEX Plat 7008                     57.17           $   118,758.94
Credit Card Charge   11/24/2021            Shutterstock (v)                                                                          21105 · AMEX CORP - M BISCHOFF - 62018     31.39           $   118,790.33
Credit Card Charge   11/25/2021            Social Clout Club                                                                         21310 · AMEX Plat 7008                       239           $   119,029.33
Credit Card Charge   11/26/2021            Shutterstock (v)                                                                          21105 · AMEX CORP - M BISCHOFF - 62018     48.55           $   119,077.88
Credit Card Charge   11/28/2021            USPS Stamps Endicia                                                                       21105 · AMEX CORP - M BISCHOFF - 62018      5200           $   124,277.88
Credit Card Charge   11/28/2021            Stamps.com                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      1400           $   125,677.88
Credit Card Charge   11/28/2021            Manychat                                                                                  21310 · AMEX Plat 7008                        10           $   125,687.88
Credit Card Charge   11/28/2021            Tapfiliate                                                                                21310 · AMEX Plat 7008                        69           $   125,756.88
Credit Card Charge   11/29/2021            USPS Stamps Endicia                                                                       21105 · AMEX CORP - M BISCHOFF - 62018       200           $   125,956.88
Credit Card Charge   11/29/2021            USPS Stamps Endicia                                                                       21105 · AMEX CORP - M BISCHOFF - 62018       200           $   126,156.88
Credit Card Charge   11/29/2021            USPS Stamps Endicia                                                                       21105 · AMEX CORP - M BISCHOFF - 62018       200           $   126,356.88
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General Journal      11/30/2021           1198                             reclass interco                                                                   Ask My Accountant                        11448.8             $   137,805.68
Credit Card Charge   11/30/2021                  Google Ads                                                                                                  21310 · AMEX Plat 7008                      2000             $   139,805.68
Credit Card Charge   11/30/2021                  Adobe                                                                                                       21310 · AMEX Plat 7008                     16.23             $   139,821.91
Credit Card Charge    12/1/2021                  Feed Optimize                                                                                               21105 · AMEX CORP - M BISCHOFF - 62018        60             $   139,881.91
Check                 12/2/2021                  Authorize.net             Authnet Gateway Billing 120408980    Ref # 02133                                  10110 · Amegy Bank - Operating *2655          30             $   139,911.91
Credit Card Charge    12/3/2021                  Shutterstock (v)                                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    182.94             $   140,094.85
Credit Card Charge    12/5/2021                  Adobe                     Creative Cloud                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     37.88             $   140,132.73
Credit Card Charge    12/8/2021                  stickerapp                                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    112.58             $   140,245.31
Credit Card Charge    12/9/2021                  TSheets                                                                                                     21110 · AMEX CORP -T ZENNER - 61028        81.02             $   140,326.33
Transfer              12/9/2021                                            Funds Transfer                                                                    10110 · Amegy Bank - Operating *2655               100611.75 $    39,714.58
Credit Card Charge   12/14/2021                  Sticker Mule                                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    720.36             $    40,434.94
Credit Card Charge   12/16/2021                  Klaviyo                                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018     85.28             $    40,520.22
Transfer             12/16/2021                                            Funds Transfer                                                                    10110 · Amegy Bank - Operating *2655                 18431.5 $    22,088.72
Credit Card Charge   12/17/2021                  Office Depot                                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     77.67             $    22,166.39
Credit Card Charge   12/19/2021                  Shutterstock                                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    107.17             $    22,273.56
Transfer             12/23/2021                                            Funds Transfer                                                                    10110 · Amegy Bank - Operating *2655                   37000 $   (14,726.44)
Credit Card Charge   12/26/2021                  Adobe                                                                                                       21310 · AMEX Plat 7008                    552.88             $   (14,173.56)
Credit Card Charge   12/26/2021                  Amazon Web Services                                                                                         21310 · AMEX Plat 7008                     69.62             $   (14,103.94)
Credit Card Charge   12/26/2021                  Google Ads                                                                                                  21310 · AMEX Plat 7008                      9500             $    (4,603.94)
Credit Card Charge   12/26/2021                  MySellerPal                                                                                                 21310 · AMEX Plat 7008                        10             $    (4,593.94)
Credit Card Charge   12/26/2021                  Shopify                                                                                                     21310 · AMEX Plat 7008                    303.22             $    (4,290.72)
Credit Card Charge   12/26/2021                  Social Clout Club                                                                                           21310 · AMEX Plat 7008                       877             $    (3,413.72)
Credit Card Charge   12/26/2021                  Supplement Snoop                                                                                            21310 · AMEX Plat 7008                     19.99             $    (3,393.73)
Credit Card Charge   12/26/2021                  Tapfiliate                                                                                                  21310 · AMEX Plat 7008                       149             $    (3,244.73)
Credit Card Charge   12/26/2021                  Zendesk Inc                                                                                                 21310 · AMEX Plat 7008                    193.93             $    (3,050.80)
Credit Card Charge   12/28/2021                  Tapfiliate                                                                                                  21310 · AMEX Plat 7008                        69             $    (2,981.80)
Credit Card Charge   12/28/2021                  Manychat                                                                                                    21310 · AMEX Plat 7008                        10             $    (2,971.80)
Credit Card Charge   12/28/2021                  Google Ads                                                                                                  21310 · AMEX Plat 7008                       500             $    (2,471.80)
Credit Card Charge   12/28/2021                  USPS Stamps Endicia       12/01/21 thru12/28/21                                                             21105 · AMEX CORP - M BISCHOFF - 62018      2200             $      (271.80)
Credit Card Charge   12/28/2021                  Motion Array Monthly                                                                                        21105 · AMEX CORP - M BISCHOFF - 62018     29.99             $      (241.81)
Credit Card Charge   12/29/2021                  Google Ads                                                                                                  21310 · AMEX Plat 7008                       500             $       258.19
Credit Card Charge   12/30/2021                  USPS Stamps Endicia                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018       200             $       458.19
Credit Card Charge   12/31/2021                  Adobe                                                                                                       21310 · AMEX Plat 7008                     16.23             $       474.42
Credit Card Charge     1/1/2022                  Feed Optimize                                                                                               21105 · AMEX CORP - M BISCHOFF - 62018        60             $       534.42
Credit Card Charge     1/1/2022                  Google Ads                                                                                                  21310 · AMEX Plat 7008                       500             $     1,034.42

General Journal        1/1/2022 1198R                                      Reverse of GJE 1198 -- reclass interco treatment of 6/3/21 Marlin Lease payment   6170 · Office Supplies                                648.34 $       386.08
Credit Card Charge     1/3/2022                  Shutterstock (v)                                                                                            21105 · AMEX CORP - M BISCHOFF - 62018    182.94             $       569.02
Credit Card Charge     1/3/2022                  Adobe                     Acrobat Pro Subscription                                                          21310 · AMEX Plat 7008                     14.99             $       584.01
Credit Card Charge     1/3/2022                  Google Ads                                                                                                  21310 · AMEX Plat 7008                       500             $     1,084.01
Check                  1/4/2022                  Authorize.net             Authnet Gateway Billing 120763666    Ref # 02200                                  10110 · Amegy Bank - Operating *2655          30             $     1,114.01
Credit Card Charge     1/4/2022                  Tapfiliate                                                                                                  21310 · AMEX Plat 7008                       149             $     1,263.01
Credit Card Charge     1/4/2022                  Google Ads                                                                                                  21310 · AMEX Plat 7008                       500             $     1,763.01
Credit Card Charge     1/5/2022                  Adobe                                                                                                       21105 · AMEX CORP - M BISCHOFF - 62018     37.88             $     1,800.89
Credit Card Charge     1/5/2022                  Social Clout Club                                                                                           21310 · AMEX Plat 7008                       399             $     2,199.89
General Journal        1/6/2022           1203                             Transfer in from DOD for check run                                                10110 · Amegy Bank - Operating *2655                 8960.39 $    (6,760.50)
Credit Card Charge     1/6/2022                Social Clout Club                                                                                             21310 · AMEX Plat 7008                       239             $    (6,521.50)
Credit Card Charge     1/6/2022                Google Ads                                                                                                    21310 · AMEX Plat 7008                       500             $    (6,021.50)
Credit Card Charge     1/6/2022                Google Ads                                                                                                    21310 · AMEX Plat 7008                       500             $    (5,521.50)
Credit Card Charge     1/6/2022                Adobe                       Adobe Stock                                                                       21310 · AMEX Plat 7008                     32.46             $    (5,489.04)
Check                  1/7/2022         504274 Day One Distribution        Priority 1 Check on behalf of DOD                                                 10110 · Amegy Bank - Operating *2655     1198.56             $    (4,290.48)
Check                  1/7/2022         504275 Day One Distribution        Scott William Crawford on behalf of DOD                                           10110 · Amegy Bank - Operating *2655        1000             $    (3,290.48)
Check                  1/7/2022         504276 Day One Distribution        Sportika on behalf of DOD                                                         10110 · Amegy Bank - Operating *2655         500             $    (2,790.48)
                                                                           Tushiya Dust and Shine on behalf of DOD; Bills 070014, 070015 got entered in
Check                  1/7/2022         504277 Day One Distribution        DOD                                                                               10110 · Amegy Bank - Operating *2655        880             $     (1,910.48)
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Check                 1/7/2022        504278 Day One Distribution        Worldwide Express on behalf of DOD                                 10110 · Amegy Bank - Operating *2655     1167.14         $     (743.34)
Check                 1/7/2022        504279 Day One Distribution        Worldwide Express on behalf of DOD                                 10110 · Amegy Bank - Operating *2655     4214.69         $    3,471.35
Credit Card Charge    1/7/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $    3,971.35
Credit Card Charge    1/9/2022               Octane Enterprise                                                                              21105 · AMEX CORP - M BISCHOFF - 62018     34.89         $    4,006.24
Credit Card Charge    1/9/2022               TSheets                                                                                        21110 · AMEX CORP -T ZENNER - 61028        81.02         $    4,087.26
Credit Card Charge    1/9/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $    4,587.26
Credit Card Charge   1/10/2022               Geico Auto Ins              Insurance for DOD lease car                                        21105 · AMEX CORP - M BISCHOFF - 62018    606.18         $    5,193.44
Credit Card Charge   1/10/2022               Zendesk Inc                                                                                    21310 · AMEX Plat 7008                    192.81         $    5,386.25
Credit Card Charge   1/10/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $    5,886.25
Credit Card Charge   1/11/2022               Alibaba                                                                                        21105 · AMEX CORP - M BISCHOFF - 62018   3058.81         $    8,945.06
Credit Card Charge   1/11/2022               Adobe                       Adobe Illustrator Creative Cloud                                   21310 · AMEX Plat 7008                     22.72         $    8,967.78
Credit Card Charge   1/11/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $    9,467.78

Credit Card Charge   1/12/2022               BYOND AVERAGE APPAREL                                                                          21105 · AMEX CORP - M BISCHOFF - 62018   2053.01         $   11,520.79
Credit Card Charge   1/12/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   12,020.79
Credit Card Charge   1/12/2022               MySellerPal                                                                                    21310 · AMEX Plat 7008                        10         $   12,030.79
Transfer             1/13/2022                                           DOD to ZDN funds transfer Payee:Online Xfer from DDA Day One Dis   10110 · Amegy Bank - Operating *2655               18000 $   (5,969.21)
Credit Card Charge   1/14/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   (5,469.21)
Credit Card Charge   1/15/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   (4,969.21)
Credit Card Charge   1/16/2022               Klaviyo                                                                                        21105 · AMEX CORP - M BISCHOFF - 62018     85.28         $   (4,883.93)
Credit Card Charge   1/17/2022               Shopify                                                                                        21310 · AMEX Plat 7008                    219.57         $   (4,664.36)
Credit Card Charge   1/17/2022               Shopify                                                                                        21310 · AMEX Plat 7008                     84.22         $   (4,580.14)
Credit Card Charge   1/17/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   (4,080.14)
Check                1/18/2022 WIRE          scalemysupps.com            Per invoice 1                                                      10110 · Amegy Bank - Operating *2655       25000         $   20,919.86
Check                1/18/2022 WIRE          Supplement Snoop            per invoice 1                                                      10110 · Amegy Bank - Operating *2655       15000         $   35,919.86
Credit Card Charge   1/18/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   36,419.86
Credit Card Charge   1/18/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   36,919.86
Credit Card Charge   1/19/2022               Shutterstock (v)                                                                               21105 · AMEX CORP - M BISCHOFF - 62018    107.17         $   37,027.03
Credit Card Charge   1/19/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   37,527.03
Credit Card Charge   1/19/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   38,027.03
Credit Card Charge   1/20/2022               Social Clout Club                                                                              21310 · AMEX Plat 7008                       239         $   38,266.03
Credit Card Charge   1/21/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   38,766.03
Credit Card Charge   1/21/2022               Adobe                       PS Creative Cloud                                                  21310 · AMEX Plat 7008                     22.72         $   38,788.75
Credit Card Charge   1/23/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   39,288.75
Credit Card Charge   1/24/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   39,788.75
Credit Card Charge   1/26/2022               Uber                        GNC trip                                                           21310 · AMEX Plat 7008                      46.4         $   39,835.15
Credit Card Charge   1/26/2022               Uber                        GNC Trip                                                           21310 · AMEX Plat 7008                      30.3         $   39,865.45
Credit Card Charge   1/26/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   40,365.45
Credit Card Charge   1/27/2022               Lupe Tortilla               GNC meeting                                                        21310 · AMEX Plat 7008                    215.81         $   40,581.26
Credit Card Charge   1/28/2022               Motion Array Monthly                                                                           21105 · AMEX CORP - M BISCHOFF - 62018     29.99         $   40,611.25
Credit Card Charge   1/28/2022               USPS Stamps Endicia         Jan1, 2022-Jan 28, 2022                                            21105 · AMEX CORP - M BISCHOFF - 62018      4200         $   44,811.25
Credit Card Charge   1/28/2022               Manychat                                                                                       21310 · AMEX Plat 7008                        10         $   44,821.25
Credit Card Charge   1/28/2022               Tapfiliate                                                                                     21310 · AMEX Plat 7008                        69         $   44,890.25
Credit Card Charge   1/28/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   45,390.25
Credit Card Charge   1/28/2022               SkillShare                  training subcription                                               21105 · AMEX CORP - M BISCHOFF - 62018        99         $   45,489.25
Credit Card Charge   1/29/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   45,989.25
Credit Card Charge   1/31/2022               Adobe                       Adobe Acrobat Pro subscription                                     21310 · AMEX Plat 7008                     16.23         $   46,005.48
Credit Card Charge   1/31/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   46,505.48
Credit Card Charge    2/1/2022               Feed Optimize                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018        60         $   46,565.48
Credit Card Charge    2/1/2022               Shutterstock (v)                                                                               21105 · AMEX CORP - M BISCHOFF - 62018    182.94         $   46,748.42
Check                 2/2/2022               Authorize.net               Authnet Gateway Billing 120905493    Ref # 02203                   10110 · Amegy Bank - Operating *2655          30         $   46,778.42
Credit Card Charge    2/3/2022               Social Clout Club                                                                              21310 · AMEX Plat 7008                       239         $   47,017.42
Credit Card Charge    2/3/2022               Google Ads                                                                                     21310 · AMEX Plat 7008                       500         $   47,517.42
Credit Card Charge    2/3/2022               Adobe                                                                                          21310 · AMEX Plat 7008                     14.99         $   47,532.41
Credit Card Charge    2/4/2022               Tapfiliate                                                                                     21310 · AMEX Plat 7008                       149         $   47,681.41
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Credit Card Charge    2/5/2022        Social Clout Club                                                                        21310 · AMEX Plat 7008                       399         $   48,080.41
Credit Card Charge    2/5/2022        Adobe                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     37.88         $   48,118.29
Credit Card Charge    2/6/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     32.46         $   48,150.75
Credit Card Charge    2/6/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   48,650.75
Transfer              2/7/2022                                 Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               25000 $   23,650.75
Credit Card Charge    2/8/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   24,150.75
Credit Card Charge    2/8/2022        Guitar Center            podcast equipment                                               21135 · AMEX CORP -J SAVAGE -61077       1171.19         $   25,321.94
Credit Card Charge    2/8/2022        Guitar Center            podcast equipment                                               21135 · AMEX CORP -J SAVAGE -61077         21.63         $   25,343.57
Credit Card Charge   2/10/2022        Zenner Interests {V}                                                                     21310 · AMEX Plat 7008                    194.01         $   25,537.58
Credit Card Charge   2/10/2022        Geico Auto Ins                                                                           21105 · AMEX CORP - M BISCHOFF - 62018    448.29         $   25,985.87
Credit Card Charge   2/11/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   26,485.87
Credit Card Charge   2/11/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     22.72         $   26,508.59
Credit Card Charge   2/12/2022        MySellerPal                                                                              21310 · AMEX Plat 7008                        10         $   26,518.59
Credit Card Charge   2/14/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   27,018.59
Credit Card Charge   2/15/2022        Shopify                                                                                  21310 · AMEX Plat 7008                    219.57         $   27,238.16
Credit Card Charge   2/16/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   27,738.16
Credit Card Charge   2/16/2022        Shopify                                                                                  21310 · AMEX Plat 7008                     84.22         $   27,822.38
Credit Card Charge   2/16/2022        Klaviyo                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     85.28         $   27,907.66
Credit Card Charge   2/17/2022        Social Clout Club                                                                        21310 · AMEX Plat 7008                       239         $   28,146.66
Credit Card Charge   2/17/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   28,646.66
Credit Card Charge   2/19/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   29,146.66
Credit Card Charge   2/19/2022        Facebook                                                                                 21310 · AMEX Plat 7008                    579.56         $   29,726.22
Credit Card Charge   2/19/2022        Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    107.17         $   29,833.39
Credit Card Charge   2/21/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   30,333.39
Credit Card Charge   2/22/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     22.72         $   30,356.11
Credit Card Charge   2/22/2022        Klaviyo                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    115.64         $   30,471.75
Credit Card Charge   2/23/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   30,971.75
Credit Card Charge   2/23/2022        Guitar Center            podcast equipment                                               21135 · AMEX CORP -J SAVAGE -61077          97.4         $   31,069.15
                                      Amazon Marketplace -
Credit Card Charge   2/23/2022        Other Name List          For Glaxon Mannequin                                            21135 · AMEX CORP -J SAVAGE -61077         72.52         $   31,141.67
Transfer             2/25/2022                                 Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               30000 $    1,141.67
Credit Card Charge   2/25/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $    1,641.67
Credit Card Charge   2/25/2022   1868 Ebbets Field Flannels                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      1782         $    3,423.67
Credit Card Charge   2/26/2022        USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018      4800         $    8,223.67
Credit Card Charge   2/27/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $    8,723.67
Credit Card Charge   2/28/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     16.23         $    8,739.90
Credit Card Charge   2/28/2022        Manychat                                                                                 21310 · AMEX Plat 7008                        10         $    8,749.90
Credit Card Charge   2/28/2022        Tapfiliate                                                                               21310 · AMEX Plat 7008                        69         $    8,818.90
Credit Card Charge   2/28/2022        Wingate by Wyndham       GNC meeting (conf. room in Austin/Round Rock)                   21105 · AMEX CORP - M BISCHOFF - 62018       400         $    9,218.90
Credit Card Charge    3/1/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $    9,718.90
Credit Card Charge    3/1/2022        Feed Optimize                                                                            21105 · AMEX CORP - M BISCHOFF - 62018        60         $    9,778.90
Check                 3/2/2022        Authorize.net            Authnet Gateway Billing 121348339   Ref # 02206                 10110 · Amegy Bank - Operating *2655          30         $    9,808.90
Credit Card Charge    3/2/2022        Facebook                 Facebook Ads                                                    21310 · AMEX Plat 7008                       900         $   10,708.90
Credit Card Charge    3/3/2022        Social Clout Club                                                                        21310 · AMEX Plat 7008                       239         $   10,947.90
Credit Card Charge    3/3/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     14.99         $   10,962.89
Credit Card Charge    3/3/2022        Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    182.94         $   11,145.83
                                      Amazon Marketplace -
Credit Card Charge    3/3/2022        Other Name List          Photography Background Paper                                    21135 · AMEX CORP -J SAVAGE -61077         86.59         $   11,232.42
Credit Card Charge    3/4/2022        Tapfiliate                                                                               21310 · AMEX Plat 7008                       149         $   11,381.42
Credit Card Charge    3/4/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   11,881.42
Credit Card Charge    3/5/2022        Facebook                                                                                 21310 · AMEX Plat 7008                       900         $   12,781.42
Credit Card Charge    3/5/2022        Social Clout Club                                                                        21310 · AMEX Plat 7008                       399         $   13,180.42
Credit Card Charge    3/5/2022        Adobe                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     37.88         $   13,218.30
Credit Card Charge    3/6/2022        Google Ads                                                                               21310 · AMEX Plat 7008                       500         $   13,718.30
Credit Card Charge    3/6/2022        Adobe                                                                                    21310 · AMEX Plat 7008                     32.46         $   13,750.76
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Credit Card Charge    3/8/2022   Google Ads                                                                             21310 · AMEX Plat 7008                       500         $    14,250.76
Credit Card Charge    3/8/2022   Facebook                                                                               21310 · AMEX Plat 7008                       900         $    15,150.76
Credit Card Charge    3/9/2022   Google Ads                                                                             21310 · AMEX Plat 7008                       500         $    15,650.76
Credit Card Charge    3/9/2022   Alibaba                Hoodie and Backpack order - deposit                             21105 · AMEX CORP - M BISCHOFF - 62018   5685.05         $    21,335.81
Credit Card Charge   3/10/2022   Zendesk Inc                                                                            21310 · AMEX Plat 7008                    192.34         $    21,528.15
Credit Card Charge   3/10/2022   Geico Auto Ins         Auto Insurance                                                  21105 · AMEX CORP - M BISCHOFF - 62018    448.29         $    21,976.44
Credit Card Charge   3/11/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     22.72         $    21,999.16
Credit Card Charge   3/11/2022   Facebook                                                                               21310 · AMEX Plat 7008                       900         $    22,899.16
Credit Card Charge   3/12/2022   MySellerPal                                                                            21310 · AMEX Plat 7008                        10         $    22,909.16
Credit Card Charge   3/15/2022   Google Ads                                                                             21310 · AMEX Plat 7008                       500         $    23,409.16
Credit Card Charge   3/16/2022   Facebook                                                                               21310 · AMEX Plat 7008                       900         $    24,309.16
Credit Card Charge   3/16/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    234.52         $    24,543.68
Transfer             3/17/2022                          Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               44000 $   (19,456.32)
Credit Card Charge   3/17/2022   Social Clout Club                                                                      21310 · AMEX Plat 7008                       239         $   (19,217.32)
Credit Card Charge   3/17/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     20.62         $   (19,196.70)
Credit Card Charge   3/18/2022   Shopify                                                                                21310 · AMEX Plat 7008                     84.22         $   (19,112.48)
Credit Card Charge   3/18/2022   Shopify                                                                                21310 · AMEX Plat 7008                    219.57         $   (18,892.91)
Credit Card Charge   3/18/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     19.82         $   (18,873.09)
Credit Card Charge   3/19/2022   Shutterstock (v)                                                                       21105 · AMEX CORP - M BISCHOFF - 62018    107.17         $   (18,765.92)
                                 Amazon Marketplace -
Credit Card Charge   3/20/2022   Other Name List        computer sensor for Brandon                                     21135 · AMEX CORP -J SAVAGE -61077         67.06         $ (18,698.86)
Credit Card Charge   3/21/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     22.72         $ (18,676.14)
Credit Card Charge   3/22/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     17.08         $ (18,659.06)
                                 Amazon Marketplace -
Credit Card Charge   3/22/2022   Other Name List        computer adapter for Brandon                                    21135 · AMEX CORP -J SAVAGE -61077         23.8          $   (18,635.26)
Credit Card Charge   3/28/2022   Tapfiliate                                                                             21310 · AMEX Plat 7008                       69          $   (18,566.26)
Credit Card Charge   3/28/2022   Manychat                                                                               21310 · AMEX Plat 7008                    19.75          $   (18,546.51)
Transfer             3/29/2022                          Funds Transfer                                                  10110 · Amegy Bank - Operating *2655      46000          $    27,453.49
Transfer             3/29/2022                          Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               92000 $   (64,546.51)
Transfer             3/29/2022                          Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655                  10 $   (64,556.51)
Transfer             3/29/2022                          Funds Transfer                                                  10110 · Amegy Bank - Operating *2655          10         $   (64,546.51)
Credit Card Charge   3/29/2022   USPS Stamps Endicia                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      4200         $   (60,346.51)
Credit Card Charge   3/29/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     27.72         $   (60,318.79)
Credit Card Charge   3/29/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     27.72         $   (60,291.07)
Transfer             3/30/2022                          Funds Transfer Payee:Online Xfer from DDA Day One Dis           10110 · Amegy Bank - Operating *2655               23000 $   (83,291.07)
Credit Card Charge   3/30/2022   USPS Stamps Endicia                                                                    21105 · AMEX CORP - M BISCHOFF - 62018       200         $   (83,091.07)
Credit Card Charge   3/30/2022   USPS Stamps Endicia                                                                    21105 · AMEX CORP - M BISCHOFF - 62018       200         $   (82,891.07)
Credit Card Charge   3/31/2022   Social Clout Club                                                                      21310 · AMEX Plat 7008                       239         $   (82,652.07)
Credit Card Charge   3/31/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     16.23         $   (82,635.84)
Credit Card Charge    4/1/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018     23.07         $   (82,612.77)
Credit Card Charge    4/3/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     14.99         $   (82,597.78)
Credit Card Charge    4/3/2022   Shutterstock (v)                                                                       21105 · AMEX CORP - M BISCHOFF - 62018    182.94         $   (82,414.84)
Check                 4/4/2022   Authorize.net                                                                          10110 · Amegy Bank - Operating *2655          30         $   (82,384.84)
Credit Card Charge    4/4/2022   Tapfiliate                                                                             21310 · AMEX Plat 7008                       149         $   (82,235.84)
Credit Card Charge    4/5/2022   Social Clout Club                                                                      21310 · AMEX Plat 7008                       399         $   (81,836.84)
Credit Card Charge    4/6/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     32.46         $   (81,804.38)
Credit Card Charge   4/10/2022   Zendesk Inc                                                                            21310 · AMEX Plat 7008                    193.87         $   (81,610.51)
Credit Card Charge   4/10/2022   Geico Auto Ins         Sam's Vehicle                                                   21105 · AMEX CORP - M BISCHOFF - 62018     448.3         $   (81,162.21)
Credit Card Charge   4/11/2022   Adobe                                                                                  21310 · AMEX Plat 7008                     22.72         $   (81,139.49)
Credit Card Charge   4/11/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      7.47         $   (81,132.02)
Credit Card Charge   4/11/2022   Klaviyo                                                                                21105 · AMEX CORP - M BISCHOFF - 62018      7.47         $   (81,124.55)
Credit Card Charge   4/12/2022   MySellerPal                                                                            21310 · AMEX Plat 7008                        10         $   (81,114.55)
Credit Card Charge   4/12/2022   Supplement Snoop                                                                       21310 · AMEX Plat 7008                     19.99         $   (81,094.56)
Credit Card Charge   4/14/2022   Social Clout Club                                                                      21310 · AMEX Plat 7008                       239         $   (80,855.56)
Credit Card Charge   4/15/2022   Alibaba                                                                                21105 · AMEX CORP - M BISCHOFF - 62018    164.79         $   (80,690.77)
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Credit Card Charge   4/15/2022                      Alibaba                  promo merchandise                                                                21105 · AMEX CORP - M BISCHOFF - 62018    7716.36           $ (72,974.41)
Credit Card Charge   4/15/2022                      Klaviyo                                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     538.33           $ (72,436.08)
Credit Card Charge   4/17/2022                      Shopify Billing                                                                                           21310 · AMEX Plat 7008                     219.57           $ (72,216.51)
Credit Card Charge   4/17/2022                      Shopify Billing                                                                                           21310 · AMEX Plat 7008                      84.22           $ (72,132.29)
Credit Card Charge   4/19/2022                      Shutterstock (v)                                                                                          21105 · AMEX CORP - M BISCHOFF - 62018     107.17           $ (72,025.12)
Credit Card Charge   4/21/2022                      Adobe                                                                                                     21310 · AMEX Plat 7008                      22.72           $ (72,002.40)
Credit Card Charge   4/21/2022                      Alibaba                                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018    2730.31           $ (69,272.09)
Credit Card Charge   4/28/2022                      Tapfiliate vendor                                                                                         21310 · AMEX Plat 7008                         69           $ (69,203.09)
Credit Card Charge   4/28/2022                      Social Clout Club                                                                                         21310 · AMEX Plat 7008                        239           $ (68,964.09)
Credit Card Charge   4/28/2022                      Manychat                                                                                                  21310 · AMEX Plat 7008                         15           $ (68,949.09)
Credit Card Charge   4/29/2022                      USPS Stamps Endicia      04/2/22-04/29/22                                                                 21105 · AMEX CORP - M BISCHOFF - 62018       1600           $ (67,349.09)
Credit Card Charge   4/30/2022                      Adobe                                                                                                     21310 · AMEX Plat 7008                      16.23           $ (67,332.86)
Check                 5/3/2022                      Authorize.net            Authnet Gateway Billing 122782690 Ref # 02212                                    10110 · Amegy Bank - Operating *2655           30           $ (67,302.86)
Transfer             5/13/2022                                               Funds Transfer Payee:Online Xfer from DDA Day One Dis                        *   10110 · Amegy Bank - Operating *2655                 246000 $ (313,302.86)
Credit Card Charge   5/17/2022                      Shopify                                                                                                   21310 · AMEX Plat 7008                      84.22           $ (313,218.64)
Credit Card Charge   5/19/2022                      Shutterstock (v)                                                                                          21105 · AMEX CORP - M BISCHOFF - 62018          0           $ (313,218.64)
Transfer             5/20/2022                                               Funds Transfer Payee:Online Xfer from DDA Day One Dis                        *   10110 · Amegy Bank - Operating *2655                  58000 $ (371,218.64)
Credit Card Charge   5/29/2022                      Shutterstock (v)                                                                                          21105 · AMEX CORP - M BISCHOFF - 62018         0            $ (371,218.64)

Credit Card Charge   5/31/2022               22-May Miscellaneous Vendors    Michael Bischoff charges for Day One Distributin - receivable from Day One       21105 · AMEX CORP - M BISCHOFF - 62018   11323.09            $ (359,895.55)
Credit Card Charge    6/1/2022                      Ebbets Field Flannels                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018       1782            $ (358,113.55)
Credit Card Charge    6/1/2022                      Google Suite (vendor)    Glaxon Google                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     262.82            $ (357,850.73)
Deposit               6/3/2022 Transfer             Day One Distribution     Online Xfer from DDA Day One Dist Id: 000006                                 *   10110 · Amegy Bank - Operating *2655                  250000 $ (607,850.73)
Credit                6/8/2022 CR4108               Priority 1, Inc          DOD PAID INV #164 for ZDN 06/07/22                                               20100 · Accounts Payable                            20787.72 $ (628,638.45)
Credit Memo           6/8/2022 CR4108               DOD                      InterCompany A/R - DOD DOD PAID INV #164 for ZDN 06/07/22                        12110 · Accounts Receivable              20787.72            $ (607,850.73)
Credit Card Charge    6/9/2022                      DCS Print Shop LLC                                                                                        21310 · AMEX Plat 7008                        865            $ (606,985.73)
Credit Card Charge   6/10/2022                      GEICO                    Sam's Car Ins                                                                    21105 · AMEX CORP - M BISCHOFF - 62018     497.39            $ (606,488.34)
Credit Card Charge   6/11/2022                      Shopify                                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018    2900.46            $ (603,587.88)
Deposit              6/13/2022                                               Online Xfer from DDA Day One Dist Id: 000004                                 *   10110 · Amegy Bank - Operating *2655                  140000 $ (743,587.88)
General Journal      6/13/2022 TransferDOD          DOD                      Wire transfer from DOD 6/13/2022 to pay bills                                *   10900 · Undeposited Funds                 140000             $ (603,587.88)
Credit Card Charge   6/13/2022                      Sync with Connex                                                                                          21105 · AMEX CORP - M BISCHOFF - 62018      1434             $ (602,153.88)
                                                                             05/29/22 Closing Date Amex Epayment ACH Pmt Cop000005152848Ref #
Check                6/14/2022 ACH                  American Express         02216 - Payment of Day One CC...                                             *   10110 · Amegy Bank - Operating *2655     32433.17            $ (569,720.71)
Credit Card Charge   6/15/2022                      Shipstation              Shipping                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     218.47            $ (569,502.24)
Deposit              6/16/2022                                               Online Xfer from DDA Day One Dist Id: 000006                                 *   10110 · Amegy Bank - Operating *2655                32433.17 $ (601,935.41)
Deposit              6/17/2022                      Day One Distribution     Online Xfer from DDA Day One Dist Id: 000008                                 *   10110 · Amegy Bank - Operating *2655                  150000 $ (751,935.41)
General Journal      6/17/2022 TRANSFERDOD          DOD                      Wire received 6/17/2022 for invoices                                         *   10900 · Undeposited Funds                 150000             $ (601,935.41)
Credit Card Charge   6/19/2022                      Shutterstock (v)                                                                                          21105 · AMEX CORP - M BISCHOFF - 62018    290.11             $ (601,645.30)
Credit Card Charge   6/20/2022                      Inistu Mobile Software   Mobile Sales Software                                                            21105 · AMEX CORP - M BISCHOFF - 62018    104.97             $ (601,540.33)
General Journal      6/24/2022                 1220 DOD                      Wire transfer from DOD on 5/13/2022                                          *   -SPLIT-                                   246000             $ (355,540.33)
General Journal      6/24/2022                 1220 DOD                      Wire transfer from DOD on 5/20/2022                                          *   13100 · InterCompany Receivable - DOD      58000             $ (297,540.33)
General Journal      6/24/2022                 1220 DOD                      Wire transfer from DOD on 6/03/2022                                          *   13100 · InterCompany Receivable - DOD     250000             $ (47,540.33)
Deposit              6/24/2022                      DOD                      Online Xfer from DDA Day One Dist Id: 000005                                 *   10110 · Amegy Bank - Operating *2655                   94000 $ (141,540.33)
General Journal      6/24/2022 TRANSFERDOD          DOD                      Wire received 6/24/2022 for invoices                                         *   10900 · Undeposited Funds                  94000             $ (47,540.33)
Credit Card Charge   6/28/2022                      USPS Stamps Endicia      Postage                                                                          21105 · AMEX CORP - M BISCHOFF - 62018      1400             $ (46,140.33)
Invoice              6/30/2022                 4044 DOD                      Shopify                                                                          12110 · Accounts Receivable                            84.22 $ (46,224.55)
Invoice              6/30/2022                 4044 DOD                      DCS Print Shop LLC                                                               12110 · Accounts Receivable                              865 $ (47,089.55)
Invoice              6/30/2022                 4044 DOD                      Ebbets Field Flannels                                                            12110 · Accounts Receivable                             1782 $ (48,871.55)
Invoice              6/30/2022                 4044 DOD                      GEICO                                                                            12110 · Accounts Receivable                           497.39 $ (49,368.94)
Invoice              6/30/2022                 4044 DOD                      Google Suite (vendor)                                                            12110 · Accounts Receivable                           262.82 $ (49,631.76)
Invoice              6/30/2022                 4044 DOD                      Inistu Mobile Software                                                           12110 · Accounts Receivable                           104.97 $ (49,736.73)
Invoice              6/30/2022                 4044 DOD                      Shipstation                                                                      12110 · Accounts Receivable                           218.47 $ (49,955.20)
Invoice              6/30/2022                 4044 DOD                      Shopify                                                                          12110 · Accounts Receivable                          2900.46 $ (52,855.66)
Invoice              6/30/2022                 4044 DOD                      Shutterstock (v)                                                                 12110 · Accounts Receivable                           290.11 $ (53,145.77)
Invoice              6/30/2022                 4044 DOD                      Sync with Connex                                                                 12110 · Accounts Receivable                             1434 $ (54,579.77)
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Invoice              6/30/2022               4044 DOD                        USPS Stamps Endicia                                           12110 · Accounts Receivable                            1400 $ (55,979.77)
Deposit               7/1/2022                    DOD                        Online Xfer from DDA Day One Dist Id: 000001            *     10110 · Amegy Bank - Operating *2655                 225000 $ (280,979.77)
General Journal       7/1/2022 TRANSFERDOD        DOD                        Wire transfer 7/1/2022 from DOD for invoices            *     10900 · Undeposited Funds                 225000            $ (55,979.77)
Credit Card Charge    7/1/2022                    Google Suite (vendor)                                                                    21105 · AMEX CORP - M BISCHOFF - 62018    245.18            $ (55,734.59)
Deposit               7/8/2022                    DOD                        Online Xfer from DDA Day One Dist Id: 000006            *     10110 · Amegy Bank - Operating *2655                 220000 $ (275,734.59)
General Journal       7/8/2022 TRANSFERDOD        DOD                        Wire transfer 7/8/2022 from DOD for invoices            *     10900 · Undeposited Funds                  220000           $ (55,734.59)
Credit Card Charge   7/10/2022                    GEICO                      Sam's Car Ins                                                 21105 · AMEX CORP - M BISCHOFF - 62018     497.39           $ (55,237.20)
Credit Card Charge   7/11/2022                    Shopify                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018     2692.4           $ (52,544.80)
Credit Card Charge   7/15/2022                    Shipstation                                                                              21105 · AMEX CORP - M BISCHOFF - 62018     218.47           $ (52,326.33)
Credit Card Charge   7/19/2022                    Shutterstock (v)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     290.11           $ (52,036.22)
Credit Card Charge   7/20/2022                    Inistu Mobile Software                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     104.97           $ (51,931.25)
Credit Card Charge   7/27/2022                    Alibaba                    Apparel                                                       21105 · AMEX CORP - M BISCHOFF - 62018    9499.03           $ (42,432.22)
Credit Card Charge   7/28/2022                    USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       5400           $ (37,032.22)
Deposit              7/29/2022                    DOD                        Online Xfer from DDA Day One Dist Id: 000001                  10110 · Amegy Bank - Operating *2655                 307000 $ (344,032.22)
General Journal      7/29/2022 TRANSFERDOD        DOD                        Wire transfer 7/29/2022 from DOD for invoices                 10900 · Undeposited Funds                 307000            $ (37,032.22)
Invoice              7/31/2022               4045 DOD                        Alibaba                                                       12110 · Accounts Receivable                         9499.03 $ (46,531.25)
Invoice              7/31/2022               4045 DOD                        GEICO                                                         12110 · Accounts Receivable                          497.39 $ (47,028.64)
Invoice              7/31/2022               4045 DOD                        Google Suite (vendor)                                         12110 · Accounts Receivable                          245.18 $ (47,273.82)
Invoice              7/31/2022               4045 DOD                        Inistu Mobile Software                                        12110 · Accounts Receivable                          104.97 $ (47,378.79)
Invoice              7/31/2022               4045 DOD                        Shipstation                                                   12110 · Accounts Receivable                          218.47 $ (47,597.26)
Invoice              7/31/2022               4045 DOD                        Shutterstock (v)                                              12110 · Accounts Receivable                          290.11 $ (47,887.37)
Invoice              7/31/2022               4045 DOD                        Shopify                                                       12110 · Accounts Receivable                          2692.4 $ (50,579.77)
Invoice              7/31/2022               4045 DOD                        USPS Stamps Endicia                                           12110 · Accounts Receivable                            5400 $ (55,979.77)
Credit Card Charge    8/1/2022                    Google Suite (vendor)      Glaxon Google                                                 21105 · AMEX CORP - M BISCHOFF - 62018     255.83           $ (55,723.94)
Credit Card Charge    8/8/2022                    Paypal (vendor)            PAYPAL *MAAXXWESTLL 4029357733            FL                  21310 · AMEX Plat 7008                    3066.57           $ (52,657.37)
Credit Card Charge   8/10/2022                    GEICO                      Sam's Car Ins                                                 21105 · AMEX CORP - M BISCHOFF - 62018     497.39           $ (52,159.98)
Credit Card Charge   8/11/2022                    Shopify                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    2717.31           $ (49,442.67)
Deposit              8/12/2022                    Day One Distribution       Online Xfer from DDA Day One Dist Id: 000001                  10110 · Amegy Bank - Operating *2655                 225000 $ (274,442.67)
General Journal      8/12/2022 TRANSFERDOD        DOD                        Wire transfer 8/12/2022 from DOD for invoices                 10900 · Undeposited Funds                 225000            $ (49,442.67)
Credit Card Charge   8/14/2022                    Shipstation                                                                              21105 · AMEX CORP - M BISCHOFF - 62018    218.47            $ (49,224.20)

Credit Card Charge   8/16/2022                    Expensify - Other Name List                                                              21105 · AMEX CORP - M BISCHOFF - 62018      153.5           $ (49,070.70)
Credit Card Charge   8/18/2022                    Sync with Connex                                                                         21105 · AMEX CORP - M BISCHOFF - 62018        478           $ (48,592.70)
Credit Card Charge   8/18/2022                    USPS Stamps Endicia                                                                      21105 · AMEX CORP - M BISCHOFF - 62018       4200           $ (44,392.70)
Deposit              8/19/2022                    DOD                         Online Xfer from DDA Day One Dist Id: 000001                 10110 · Amegy Bank - Operating *2655                 325000 $ (369,392.70)
General Journal      8/19/2022 TRANSFERDOD        DOD                         Wire transfer 8/19/2022 from DOD for invoices                10900 · Undeposited Funds                 325000            $ (44,392.70)
Credit Card Charge   8/20/2022                    AIR BNB                                                                                  21105 · AMEX CORP - M BISCHOFF - 62018    5622.5            $ (38,770.20)
Credit Card Charge   8/20/2022                    Inistu Mobile Software                                                                   21105 · AMEX CORP - M BISCHOFF - 62018    104.97            $ (38,665.23)
Credit Card Charge   8/20/2022                    Shutterstock                inter                                                        21105 · AMEX CORP - M BISCHOFF - 62018    290.11            $ (38,375.12)
Deposit              8/26/2022                                                Online Xfer from DDA Day One Dist Id: 000009                 10110 · Amegy Bank - Operating *2655                1995.08 $ (40,370.20)
Deposit              8/26/2022                    DOD                         Online Xfer from DDA Day One Dist Id: 000002                 10110 · Amegy Bank - Operating *2655                 400000 $ (440,370.20)
General Journal      8/26/2022 TRANSFERDOD        DOD                         Wire transfer 8/26/2022 from DOD for invoices                10900 · Undeposited Funds                  400000           $ (40,370.20)
Credit Card Charge   8/26/2022                    Alibaba                     Apparel                                                      21105 · AMEX CORP - M BISCHOFF - 62018    4179.72           $ (36,190.48)
Check                8/29/2022                                                Bmwfinancial Svs Bmwfs Pymt       Ref # 02224                10110 · Amegy Bank - Operating *2655      1995.08           $ (34,195.40)
Credit Memo          8/29/2022 INTERCOMP          DOD                         CLOSE OUT INTERCOMP                                          12110 · Accounts Receivable              55979.77           $ 21,784.37
Invoice              8/31/2022               4046 DOD                         AIR BNB                                                      12110 · Accounts Receivable                          5622.5 $ 16,161.87
Invoice              8/31/2022               4046 DOD                         Alibaba                                                      12110 · Accounts Receivable                         4179.72 $ 11,982.15
Invoice              8/31/2022               4046 DOD                         Expensify                                                    12110 · Accounts Receivable                           153.5 $ 11,828.65
Invoice              8/31/2022               4046 DOD                         GEICO                                                        12110 · Accounts Receivable                          497.39 $ 11,331.26
Invoice              8/31/2022               4046 DOD                         Google Suite (vendor)                                        12110 · Accounts Receivable                          255.83 $ 11,075.43
Invoice              8/31/2022               4046 DOD                         Inistu Mobile Software                                       12110 · Accounts Receivable                          104.97 $ 10,970.46
Invoice              8/31/2022               4046 DOD                         Paypal (vendor)                                              12110 · Accounts Receivable                         3066.57 $    7,903.89
Invoice              8/31/2022               4046 DOD                         Shipstation                                                  12110 · Accounts Receivable                          218.47 $    7,685.42
Invoice              8/31/2022               4046 DOD                         Shopify                                                      12110 · Accounts Receivable                         2717.31 $    4,968.11
Invoice              8/31/2022               4046 DOD                         Shutterstock (v)                                             12110 · Accounts Receivable                          290.11 $    4,678.00
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Invoice               8/31/2022              4046 DOD                       Sync with Connex                                                          12110 · Accounts Receivable                            478 $    4,200.00
Invoice               8/31/2022              4046 DOD                       USPS Stamps Endicia                                                       12110 · Accounts Receivable                           4200 $         -
Invoice               8/31/2022              4109 DOD                       Adobe -                                                                   12110 · Accounts Receivable                         109.12 $     (109.12)
Invoice               8/31/2022              4109 DOD                       Google Storage                                                            12110 · Accounts Receivable                           2.12 $     (111.24)
Invoice               8/31/2022              4109 DOD                       Google Suite (vendor)                                                     12110 · Accounts Receivable                         268.44 $     (379.68)
Invoice               8/31/2022              4109 DOD                       Shopify                                                                   12110 · Accounts Receivable                         303.79 $     (683.47)
Invoice               8/31/2022              4109 DOD                       Stitch Fix.                                                               12110 · Accounts Receivable                          70.33 $     (753.80)
Bill                  8/31/2022              4109 Adobe                     Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                  109.12           $     (644.68)
Bill                  8/31/2022              4109 Google Storage            Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                    2.12           $     (642.56)
Bill                  8/31/2022              4109 Google Suite (vendor)     Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                  268.44           $     (374.12)
Bill                  8/31/2022 4109-2            Shopify Billing           Charges are Stitch for DOD pd by Michaels CC 7008 Month End Total         20100 · Accounts Payable                   70.33           $     (303.79)
Bill                  8/31/2022              4109 Shopify Billing           Charges are Shopify for DOD pd by Michaels CC 7008 Month End Total        20100 · Accounts Payable                  303.79           $         -
Credit Card Charge     9/1/2022                   Google Suite (vendor)                                                                               21105 · AMEX CORP - M BISCHOFF - 62018    262.02           $      262.02
Credit Card Charge    9/10/2022                   GEICO                     Sam's Car Ins                                                             21105 · AMEX CORP - M BISCHOFF - 62018    497.39           $      759.41
Credit Card Charge    9/11/2022                   Shopify                                                                                             21105 · AMEX CORP - M BISCHOFF - 62018   2868.99           $    3,628.40
Credit Card Charge    9/13/2022                   USPS Stamps Endicia                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018       200           $    3,828.40
Credit Card Charge    9/14/2022                   Shipstation                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    218.47           $    4,046.87
Credit Card Charge    9/20/2022                   Inistu Mobile Software                                                                              21105 · AMEX CORP - M BISCHOFF - 62018    104.97           $    4,151.84
Credit Card Charge    9/20/2022                   Shutterstock (v)                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018    290.11           $    4,441.95
Credit Card Charge    9/22/2022                   AIR BNB                   Sam's Lodging                                                             21105 · AMEX CORP - M BISCHOFF - 62018   3315.85           $    7,757.80
Credit Card Charge    9/26/2022                   Alibaba                   Apparel                                                                   21105 · AMEX CORP - M BISCHOFF - 62018   8105.44           $   15,863.24
Credit Card Charge    9/27/2022                   Dunn and Bradstreet                                                                                 21105 · AMEX CORP - M BISCHOFF - 62018    247.89           $   16,111.13
Credit Card Charge    9/28/2022          20220826 Comcast (Auto)            DOD - Comcast Pmt AC#0498331 PD PER Michael's request.                    21310 · AMEX Plat 7008                     618.7           $   16,729.83
Invoice               9/28/2022          20220928 DOD                       InterCompany A/R - DOD; Paid Comcast with ZDN Amex 67008                  12110 · Accounts Receivable                          618.7 $   16,111.13
Credit Card Charge    9/28/2022                   Sync with Connex                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      717            $   16,828.13
Invoice               9/30/2022              4047 DOD                       AIR BNB                                                                   12110 · Accounts Receivable                        3315.85 $   13,512.28
Invoice               9/30/2022              4047 DOD                       Alibaba                                                                   12110 · Accounts Receivable                        8105.44 $    5,406.84
Invoice               9/30/2022              4047 DOD                       Dunn and Bradstreet                                                       12110 · Accounts Receivable                         247.89 $    5,158.95
Invoice               9/30/2022              4047 DOD                       GEICO                                                                     12110 · Accounts Receivable                         497.39 $    4,661.56
Invoice               9/30/2022              4047 DOD                       Google Suite (vendor)                                                     12110 · Accounts Receivable                         262.02 $    4,399.54
Invoice               9/30/2022              4047 DOD                       Inistu Mobile Software                                                    12110 · Accounts Receivable                         104.97 $    4,294.57
Invoice               9/30/2022              4047 DOD                       Shipstation                                                               12110 · Accounts Receivable                         218.47 $    4,076.10
Invoice               9/30/2022              4047 DOD                       Shopify                                                                   12110 · Accounts Receivable                        2868.99 $    1,207.11
Invoice               9/30/2022              4047 DOD                       Shutterstock (v)                                                          12110 · Accounts Receivable                         290.11 $      917.00
Invoice               9/30/2022              4047 DOD                       USPS Stamps Endicia                                                       12110 · Accounts Receivable                            200 $      717.00
Bill                  9/30/2022 4110-2            Shopify Billing           Charges are Stitch for DOD pd by Michaels CC 7008 Month End Total         20100 · Accounts Payable                  218.67           $      935.67
Bill                  9/30/2022              4110 Adobe                     Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                  109.12           $    1,044.79
Bill                  9/30/2022              4110 Google Storage            Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                    2.12           $    1,046.91

Bill                  9/30/2022              4110 Google Suite (vendor)     Charges are Google Suite for DOD pd by Michaels CC 7008 Month End Total   20100 · Accounts Payable                   25.38           $    1,072.29
Bill                  9/30/2022 4110-2            Google Suite (vendor)     Charges are for DOD pd by Michaels CC 7008 Month End Total                20100 · Accounts Payable                   251.3           $    1,323.59
Bill                  9/30/2022              4110 Shopify Billing           Charges are Shoptify for DOD pd by Michaels CC 7008 Month End Total       20100 · Accounts Payable                  303.79           $    1,627.38
Invoice               9/30/2022              4110 DOD                       Adobe                                                                     12110 · Accounts Receivable                         109.12 $    1,518.26
Invoice               9/30/2022              4110 DOD                       Google Storage                                                            12110 · Accounts Receivable                           2.12 $    1,516.14
Invoice               9/30/2022              4110 DOD                       Google Suite                                                              12110 · Accounts Receivable                          25.38 $    1,490.76
Invoice               9/30/2022              4110 DOD                       Google Suite (vendor)                                                     12110 · Accounts Receivable                          251.3 $    1,239.46
Invoice               9/30/2022              4110 DOD                       Shopify                                                                   12110 · Accounts Receivable                         303.79 $      935.67
Invoice               9/30/2022              4110 DOD                       Stitch Fix.                                                               12110 · Accounts Receivable                         218.67 $      717.00
Credit Card Charge    10/3/2022                   Shutterstock (v)                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018    182.94           $      899.94
                                                                            InterCompany A/R - DOD Paid Sync w/ Connex with ZDN Amex 61010; Inv#
Invoice               10/4/2022          20221004 DOD                       F9601E12-0018, F9601E12-002...                                            12110 · Accounts Receivable                            717 $      182.94
Credit Card Charge    10/9/2022                   Facebook                  (MetaPlatFor - FaceBook)                                                  21310 · AMEX Plat 7008                       900           $    1,082.94
Credit Card Charge   10/14/2022                   GEICO                     Sam's Car Ins                                                             21105 · AMEX CORP - M BISCHOFF - 62018     497.4           $    1,580.34
Credit Card Charge   10/19/2022                   Sync with Connex                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018       239           $    1,819.34
Invoice              10/31/2022              4068 DOD                       Shutterstock (v) AMEX Plat 7008                                           12110 · Accounts Receivable                         182.94 $    1,636.40
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Invoice              10/31/2022               4068 DOD                        Facebook AMEX Plat 7008                                                       12110 · Accounts Receivable                                900 $      736.40
Invoice              10/31/2022               4068 DOD                        GEICO AMEX Plat 7008                                                          12110 · Accounts Receivable                              497.4 $      239.00
Invoice              10/31/2022               4068 DOD                        Sync with Connex AMEX Plat 7008                                               12110 · Accounts Receivable                                239 $         -
General Journal      10/31/2022 Intercomp          DOD                                                                                                      12110 · Accounts Receivable                          968897.37 $ (968,897.37)
Invoice              10/31/2022               4111 DOD                        Adobe -                                                                       12110 · Accounts Receivable                             850.46 $ (969,747.83)
Invoice              10/31/2022               4111 DOD                        Google Storage                                                                12110 · Accounts Receivable                               2.12 $ (969,749.95)
Invoice              10/31/2022               4111 DOD                        Google Suite                                                                  12110 · Accounts Receivable                             549.86 $ (970,299.81)
Invoice              10/31/2022               4111 DOD                        Google Suite (vendor)                                                         12110 · Accounts Receivable                     0              $ (970,299.81)
Invoice              10/31/2022               4111 DOD                        Shopify                                                                       12110 · Accounts Receivable                             303.79 $ (970,603.60)
Invoice              10/31/2022               4111 DOD                        Stitch Fix.                                                                   12110 · Accounts Receivable                              86.06 $ (970,689.66)
Bill                 10/31/2022               4111 Adobe                      Charges are for DOD pd by Michaels CC 7008 Month End Total                    20100 · Accounts Payable                    850.46             $ (969,839.20)
Bill                 10/31/2022               4111 Google Storage             Charges are for DOD pd by Michaels CC 7008 Month End Total                    20100 · Accounts Payable                      2.12             $ (969,837.08)

Bill                 10/31/2022               4111 Google Suite (vendor)      Charges are Google Sutie for DOD pd by Michaels CC 7008 Month End Total       20100 · Accounts Payable                    549.86             $ (969,287.22)
Bill                 10/31/2022               4111 Shopify Billing            Charges are Shopify for DOD pd by Michaels CC 7008 Month End Total            20100 · Accounts Payable                    303.79             $ (968,983.43)
Bill                 10/31/2022 4111-2             Shopify Billing            Charges are Stitch for DOD pd by Michaels CC 7008 Month End Total             20100 · Accounts Payable                     86.06             $ (968,897.37)
General Journal       11/1/2022 IntercompR         DOD                        Reverse of GJE Intercomp --                                                   12110 · Accounts Receivable              968897.37             $         -
Credit Card Charge   11/10/2022                    GEICO                                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      600.31             $      600.31
Credit Card Charge   11/17/2022                    Sync with Connex                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018         239             $      839.31
Credit Card Charge   11/22/2022                    B&H Camera                 Camera for Marketing                                                          21310 · AMEX Plat 7008                     5408.17             $    6,247.48
Invoice              11/28/2022               4088 DOD                        GEICO                                                                         12110 · Accounts Receivable                             600.31 $    5,647.17
Invoice              11/28/2022               4088 DOD                        Sync with Connex                                                              12110 · Accounts Receivable                                239 $    5,408.17
Invoice              11/30/2022               4102 DOD                        InterCompany A/R - DOD Camera for Marketing                                   12110 · Accounts Receivable                            5408.17 $         -
Invoice              11/30/2022               4112 DOD                        Adobe -                                                                       12110 · Accounts Receivable                             201.13 $     (201.13)
Invoice              11/30/2022               4112 DOD                        Google Storage                                                                12110 · Accounts Receivable                     0              $     (201.13)
Invoice              11/30/2022               4112 DOD                        Google Suite                                                                  12110 · Accounts Receivable                             524.47 $     (725.60)
Invoice              11/30/2022               4112 DOD                        Google Suite (vendor)                                                         12110 · Accounts Receivable                     0              $     (725.60)
Invoice              11/30/2022               4112 DOD                        Shopify                                                                       12110 · Accounts Receivable                             303.79 $ (1,029.39)
Invoice              11/30/2022               4112 DOD                        Stitch Fix.                                                                   12110 · Accounts Receivable                             362.89 $ (1,392.28)
Bill                 11/30/2022               4112 Adobe                      Charges are for DOD pd by Michaels CC 7008 Month End Total                    20100 · Accounts Payable                    201.13             $ (1,191.15)
Bill                 11/30/2022               4112 Google Suite (vendor)      Charges are for DOD pd by Michaels CC 7008 Month End Total                    20100 · Accounts Payable                    524.47             $     (666.68)
Bill                 11/30/2022               4112 Shopify Billing            Charges are Shopify for DOD pd by Michaels CC 7008 Month End Total            20100 · Accounts Payable                    303.79             $     (362.89)
Bill                 11/30/2022 4112-2             Shopify Billing            Charges are Stitchfor DOD pd by Michaels CC 7008 Month End Total              20100 · Accounts Payable                    362.89             $         -
Check                 12/2/2022 Wire               DOD                        Transfer funder to DOD per Hanan                                              10110 · Amegy Bank - Operating *2655         20000             $ 20,000.00
                                                                              InterCompany A/R - DOD ZDN Transfer to DOD to prevent overdraft charges per
Invoice               12/2/2022               4085 DOD                        Hanan                                                                         12110 · Accounts Receivable                              20000 $        -
Credit Card Charge    12/9/2022                    Kickfurther                                                                                              21310 · AMEX Plat 7008                       3000              $   3,000.00
Credit Card Charge    12/9/2022                    Kickfurther                                                                                              21310 · AMEX Plat 7008                       3000              $   6,000.00
Check                12/13/2022 Wire               DOD                         Transfer funder to DOD per Hanan                                             10110 · Amegy Bank - Operating *2655       122000              $ 128,000.00
Invoice              12/13/2022               4103 DOD                         InterCompany A/R - DOD ZDN Transfer to DOD to pay bills per Hanan            12110 · Accounts Receivable                             122000 $   6,000.00
Credit Card Charge   12/14/2022                    Kickfurther                                                                                              21310 · AMEX Plat 7008                       3000              $   9,000.00
Invoice              12/20/2022 2022FranTax        DOD                         Franchise Tax Penalty 50%                                                    12110 · Accounts Receivable                            3050.36 $   5,949.64
Invoice              12/20/2022 2022FranTax        DOD                         Franchise Tax Paid 11/11/22 50%                                              12110 · Accounts Receivable                            5576.55 $     373.09
Invoice              12/20/2022 2022FranTax        DOD                         Franchise Tax Paid 05/12/22 50%                                              12110 · Accounts Receivable                               9000 $ (8,626.91)
                                                   Texas Comptroller of Public
Bill                 12/20/2022 2022FranTax        Accounts                    Franchise Tax Penalty 50%                                                    20100 · Accounts Payable                   3050.36             $    (5,576.55)
                                                   Texas Comptroller of Public
Bill                 12/20/2022 2022FranTax        Accounts                    Franchise Tax Paid 11/11/22 50%                                              20100 · Accounts Payable                   5576.55             $          -
                                                   Texas Comptroller of Public
Bill                 12/20/2022 2022FranTax        Accounts                    Franchise Tax Paid 05/12/22 50%                                              20100 · Accounts Payable                     9000             $     9,000.00
Credit               12/27/2022 CR 4127            Priority 1, Inc             DOD # 9092125 was charged this instead of ZDN                                20100 · Accounts Payable                                 5200 $     3,800.00
Credit Memo          12/27/2022 CR4127             DOD                         InterCompany A/R - DOD Paid Priority 1 Invoice #9092125                      12110 · Accounts Receivable                   5200            $     9,000.00
Credit Card Charge     1/1/2023                    Google Suite (vendor)                                                                                    21105 · AMEX CORP - M BISCHOFF - 62018      268.63            $     9,268.63
Credit Card Charge     1/1/2023                    Google Suite (vendor)       Invoice number: 4637216655; Summary for Dec 1, 2022 - Dec 31, 2022           21105 · AMEX CORP - M BISCHOFF - 62018      255.84            $     9,524.47
Credit Card Charge     1/1/2023                    Intuit                                                                                                   21105 · AMEX CORP - M BISCHOFF - 62018     1060.06            $    10,584.53
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Credit Card Charge    1/1/2023        GEICO                                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    598.59           $   11,183.12
Credit Card Charge    1/1/2023        Aelfric Enden            shirts for promotion                                                21310 · AMEX Plat 7008                      99.9           $   11,283.02
Credit Card Charge    1/1/2023        Google Suite (vendor)                                                                        21310 · AMEX Plat 7008                     25.39           $   11,308.41
Credit Card Charge    1/1/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   11,508.41
Credit Card Charge    1/1/2023        Google Suite (vendor)                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    273.58           $   11,781.99
Credit Card Charge    1/1/2023        Google Suite (vendor)                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    255.84           $   12,037.83
Invoice               1/1/2023   4245 DOD                      Kickfurther 12/09/2022                                              12110 · Accounts Receivable                           3000 $    9,037.83
Invoice               1/1/2023   4245 DOD                      Kickfurther 12/09/2022                                              12110 · Accounts Receivable                           3000 $    6,037.83
Invoice               1/1/2023   4245 DOD                      Kickfurther 12/14/2022                                              12110 · Accounts Receivable                           3000 $    3,037.83
Credit Card Charge    1/3/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    3,237.83
Credit Card Charge    1/3/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    3,437.83
Credit Card Charge    1/4/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    3,637.83
Credit Card Charge    1/5/2023        Social Clout Club                                                                            21310 · AMEX Plat 7008                       499           $    4,136.83
Credit Card Charge    1/6/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    4,336.83
Credit Card Charge    1/7/2023        Ultracor Active          Having company logo put on these shirts                             21310 · AMEX Plat 7008                       774           $    5,110.83
Credit Card Charge    1/9/2023        Vuori Clothing           Having company logo put on these shirtsClothing store               21310 · AMEX Plat 7008                    348.58           $    5,459.41
Credit Card Charge    1/9/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    5,659.41
Credit Card Charge   1/10/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    5,859.41
Credit Card Charge   1/10/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    6,059.41
Credit Card Charge   1/10/2023        GEICO                                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    598.59           $    6,658.00
Credit Card Charge   1/11/2023        Shopify                                                                                      21310 · AMEX Plat 7008                    219.57           $    6,877.57
Credit Card Charge   1/11/2023        Shopify                                                                                      21310 · AMEX Plat 7008                     84.22           $    6,961.79
Credit Card Charge   1/12/2023        Supplement Snoop                                                                             21310 · AMEX Plat 7008                     19.99           $    6,981.78
Credit Card Charge   1/12/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $    7,181.78
Credit Card Charge   1/14/2023        Kickfurther                                                                                  21310 · AMEX Plat 7008                      3000           $   10,181.78
Credit Card Charge   1/15/2023        Jolie Water              showerhead for warehouse bathroom.                                  21310 · AMEX Plat 7008                       165           $   10,346.78
Credit Card Charge   1/16/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   10,546.78
Credit Card Charge   1/16/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   10,746.78
Credit Card Charge   1/17/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   10,946.78
Credit Card Charge   1/17/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   11,146.78
Credit Card Charge   1/17/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   11,346.78
Credit Card Charge   1/17/2023        Sync with Connex                                                                             21105 · AMEX CORP - M BISCHOFF - 62018       239           $   11,585.78
Credit Card Charge   1/19/2023        Stamps.com                                                                                   21310 · AMEX Plat 7008                       200           $   11,785.78
Credit Card Charge   1/23/2023        Shipstation                                                                                  21310 · AMEX Plat 7008                       200           $   11,985.78
Credit Card Charge   1/24/2023        Shipstation                                                                                  21310 · AMEX Plat 7008                       200           $   12,185.78
Invoice              1/28/2023   4163 DOD                      GEICO                                                               12110 · Accounts Receivable                         598.59 $   11,587.19
Invoice              1/28/2023   4163 DOD                      Google Suite (vendor)                                               12110 · Accounts Receivable                         554.81 $   11,032.38
Invoice              1/28/2023   4163 DOD                      Shipstation                                                         12110 · Accounts Receivable                            400 $   10,632.38
Invoice              1/28/2023   4163 DOD                      Shopify                                                             12110 · Accounts Receivable                         303.79 $   10,328.59
Invoice              1/28/2023   4163 DOD                      Social Clout Club                                                   12110 · Accounts Receivable                            499 $    9,829.59
Invoice              1/28/2023   4163 DOD                      Stamps.com                                                          12110 · Accounts Receivable                           2800 $    7,029.59
Invoice              1/28/2023   4163 DOD                      Supplement Snoop                                                    12110 · Accounts Receivable                          19.99 $    7,009.60
Invoice              1/28/2023   4163 DOD                      Sync with Connex                                                    12110 · Accounts Receivable                            239 $    6,770.60
Invoice              1/31/2023   4164 DOD                      Google Suite Dec 2022 Credit card charges                           12110 · Accounts Receivable                         524.47 $    6,246.13
Invoice              1/31/2023   4164 DOD                      Intuit Dec 2022 Credit card charges                                 12110 · Accounts Receivable                        1060.06 $    5,186.07
Invoice              1/31/2023   4164 DOD                      GEICO Dec 2022 Credit card charges                                  12110 · Accounts Receivable                         598.59 $    4,587.48
Invoice              1/31/2023   4164 DOD                      Stamps.com Dec 2022 Credit card charges                             12110 · Accounts Receivable                            200 $    4,387.48
Invoice              1/31/2023   4170 DOD                      Aelfric Enden - Retail Store                                        12110 · Accounts Receivable                           99.9 $    4,287.58
Invoice              1/31/2023   4170 DOD                      Ultracor Active                                                     12110 · Accounts Receivable                            774 $    3,513.58
Invoice              1/31/2023   4170 DOD                      Vuori-Clothing Encinitas                                            12110 · Accounts Receivable                         348.58 $    3,165.00
Invoice              1/31/2023   4170 DOD                      Jolie Water                                                         12110 · Accounts Receivable                            165 $    3,000.00
Invoice              1/31/2023   4245 DOD                      Kickfurther 1/14/2023                                               12110 · Accounts Receivable                           3000 $         -
Invoice              1/31/2023   4417 DOD                      50% Travel Expenses from ZD to DOD JAMUARY 2023 total = $15026.05   12110 · Accounts Receivable                        7513.03 $   (7,513.03)
General Journal      1/31/2023   4417                          50% Travel Expenses from ZD to DOD                                  73000 · Travel & Entertainment           7513.03           $         -
Credit Card Charge    2/1/2023        Google Suite (vendor)                                                                        21105 · AMEX CORP - M BISCHOFF - 62018    285.12           $      285.12
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Credit Card Charge    2/1/2023        Google Suite (vendor)    Invoice number: 4653731412; Summary for Jan 1, 2023 - Jan 31, 2023   21105 · AMEX CORP - M BISCHOFF - 62018    255.84           $      540.96
Credit Card Charge    2/1/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $      740.96
Credit Card Charge    2/1/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $      940.96
Credit Card Charge    2/1/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $    1,140.96
Credit Card Charge    2/1/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $    1,340.96
Credit Card Charge    2/1/2023        Tapfiliate                                                                                    21310 · AMEX Plat 7008                        69           $    1,409.96
Credit Card Charge    2/3/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $    1,609.96
Credit Card Charge    2/4/2023        Tapfiliate                                                                                    21310 · AMEX Plat 7008                       149           $    1,758.96
Credit Card Charge    2/5/2023        Social Clout Club                                                                             21310 · AMEX Plat 7008                       499           $    2,257.96
Credit Card Charge    2/6/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $    2,457.96
Credit Card Charge    2/7/2023        Shipstation                                                                                   21310 · AMEX Plat 7008                       200           $    2,657.96
Credit Card Charge    2/9/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    2,857.96
Credit Card Charge   2/10/2023        GEICO                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    598.59           $    3,456.55
Credit Card Charge   2/10/2023        Shopify                                                                                       21310 · AMEX Plat 7008                    219.57           $    3,676.12
Credit Card Charge   2/10/2023        Shopify                                                                                       21310 · AMEX Plat 7008                     84.22           $    3,760.34
Credit Card Charge   2/13/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    3,960.34
Credit Card Charge   2/14/2023        Kickfurther                                                                                   21310 · AMEX Plat 7008                      3000           $    6,960.34
Credit Card Charge   2/14/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    7,160.34
Credit Card Charge   2/15/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    7,360.34
Credit Card Charge   2/16/2023        Sync with Connex                                                                              21105 · AMEX CORP - M BISCHOFF - 62018       239           $    7,599.34
Credit Card Charge   2/16/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    7,799.34
Credit Card Charge   2/20/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    7,999.34
Credit Card Charge   2/21/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    8,199.34
Credit Card Charge   2/22/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    8,399.34
Credit Card Charge   2/23/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    8,599.34
Credit Card Charge   2/27/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    8,799.34
Invoice              2/28/2023   4212 DOD                      Goggle Suite (vendor)                                                12110 · Accounts Receivable                         540.96 $    8,258.38
Invoice              2/28/2023   4212 DOD                      Shipstation                                                          12110 · Accounts Receivable                           1400 $    6,858.38
Invoice              2/28/2023   4212 DOD                      Shopify                                                              12110 · Accounts Receivable                         303.79 $    6,554.59
Invoice              2/28/2023   4212 DOD                      Social Clout Club                                                    12110 · Accounts Receivable                            499 $    6,055.59
Invoice              2/28/2023   4212 DOD                      Stamps.com                                                           12110 · Accounts Receivable                           2200 $    3,855.59
Invoice              2/28/2023   4212 DOD                      Tapfiliate                                                           12110 · Accounts Receivable                            287 $    3,568.59
Credit Card Charge   2/28/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                      200            $    3,768.59
Credit Card Charge   2/28/2023        Tapfiliate                                                                                    21310 · AMEX Plat 7008                       69            $    3,837.59
Invoice              2/28/2023   4212 DOD                      GEICO                                                                12110 · Accounts Receivable                         598.59 $    3,239.00
Invoice              2/28/2023   4212 DOD                      Sync with Connex                                                     12110 · Accounts Receivable                            239 $    3,000.00
Invoice              2/28/2023   4245 DOD                      Kickfurther 2/14/2023                                                12110 · Accounts Receivable                           3000 $         -
Invoice              2/28/2023   4416 DOD                      50% Travel Expenses from ZD to DOD FEBRUARY 2023 total = $4,347.86   12110 · Accounts Receivable                        2173.93 $   (2,173.93)
General Journal      2/28/2023   4416                          50% Travel Expenses from ZD to DOD                                   73000 · Travel & Entertainment           2173.93           $         -
Credit Card Charge    3/1/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                        10           $       10.00
Credit Card Charge    3/1/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $      210.00
Credit Card Charge    3/2/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $      410.00
Credit Card Charge    3/4/2023        Tapfiliate                                                                                    21310 · AMEX Plat 7008                       149           $      559.00
Credit Card Charge    3/5/2023        Social Clout Club                                                                             21310 · AMEX Plat 7008                       499           $    1,058.00
Credit Card Charge    3/6/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    1,258.00
Credit Card Charge    3/6/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    1,458.00
Credit Card Charge    3/6/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    1,658.00
Credit Card Charge    3/7/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    1,858.00
Credit Card Charge    3/9/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    2,058.00
Credit Card Charge   3/10/2023        GEICO                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018    598.59           $    2,656.59
Credit Card Charge   3/10/2023        Facebook                                                                                      21310 · AMEX Plat 7008                       900           $    3,556.59
Credit Card Charge   3/12/2023        Facebook                                                                                      21310 · AMEX Plat 7008                       900           $    4,456.59
Credit Card Charge   3/13/2023        Stamps.com                                                                                    21310 · AMEX Plat 7008                       200           $    4,656.59
Credit Card Charge   3/13/2023        Shopify                                                                                       21310 · AMEX Plat 7008                    219.57           $    4,876.16
Credit Card Charge   3/13/2023        Shopify                                                                                       21310 · AMEX Plat 7008                     84.22           $    4,960.38
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Credit Card Charge   3/14/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $     5,160.38
Credit Card Charge   3/14/2023             Facebook                                                                                  21310 · AMEX Plat 7008                      900            $     6,060.38
Credit Card Charge   3/15/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $     6,260.38
Credit Card Charge   3/15/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $     6,460.38
Credit Card Charge   3/15/2023             Kickfurther                                                                               21310 · AMEX Plat 7008                     3000            $     9,460.38
Credit Card Charge   3/17/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $     9,660.38
Credit Card Charge   3/20/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $     9,860.38
Credit Card Charge   3/21/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $    10,060.38
Credit Card Charge   3/21/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $    10,260.38
Credit Card Charge   3/22/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $    10,460.38
Credit Card Charge   3/24/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $    10,660.38
Credit Card Charge   3/27/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                      200            $    10,860.38
Invoice              3/31/2023        4243 DOD                      Facebook                                                         12110 · Accounts Receivable                           2700 $     8,160.38
Invoice              3/31/2023        4243 DOD                      Shopify                                                          12110 · Accounts Receivable                         303.79 $     7,856.59
Invoice              3/31/2023        4243 DOD                      Social Clout Club                                                12110 · Accounts Receivable                            499 $     7,357.59
Invoice              3/31/2023        4243 DOD                      Stamps.com                                                       12110 · Accounts Receivable                           3610 $     3,747.59
Invoice              3/31/2023        4243 DOD                      Tapfiliate                                                       12110 · Accounts Receivable                            149 $     3,598.59
Invoice              3/31/2023        4243 DOD                      GEICO                                                            12110 · Accounts Receivable                         598.59 $     3,000.00
Invoice              3/31/2023        4245 DOD                      Kickfurther 3/15/2023                                            12110 · Accounts Receivable                           3000 $          -
Invoice              3/31/2023        4408 DOD                      50% Travel Expenses from ZD to DOD MARCH 2023 total = $9156.71   12110 · Accounts Receivable                        4578.36 $    (4,578.36)
General Journal      3/31/2023        4408                          50% Travel Expenses from ZD to DOD                               73000 · Travel & Entertainment           4578.36           $          -
Credit Card Charge    4/1/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                         0           $          -
Credit Card Charge    4/1/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $       200.00
Credit Card Charge    4/1/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $       400.00
Credit Card Charge    4/1/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                         0           $       400.00
Credit Card Charge    4/1/2023             Tapfiliate vendor                                                                         21310 · AMEX Plat 7008                        69           $       469.00
Credit Card Charge    4/1/2023             Google Suite (vendor)    Invoice number: 4693476637; Invoice number: 4693476637           21105 · AMEX CORP - M BISCHOFF - 62018    255.84           $       724.84
Credit Card Charge    4/2/2023             Google Suite (vendor)                                                                     21105 · AMEX CORP - M BISCHOFF - 62018    283.06           $     1,007.90
Credit Card Charge    4/3/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     1,207.90
Credit Card Charge    4/3/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     1,407.90
Credit Card Charge    4/3/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     1,607.90
Credit Card Charge    4/3/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     1,807.90
Credit Card Charge    4/4/2023             Tapfiliate vendor                                                                         21310 · AMEX Plat 7008                       149           $     1,956.90
Credit Card Charge    4/5/2023             Social Clout Club                                                                         21310 · AMEX Plat 7008                       499           $     2,455.90
Credit Card Charge    4/6/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     2,655.90
Credit Card Charge   4/10/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     2,855.90
Credit Card Charge   4/10/2023             GEICO                                                                                     21105 · AMEX CORP - M BISCHOFF - 62018   1066.53           $     3,922.43
Credit Card Charge   4/11/2023             Shopify                                                                                   21310 · AMEX Plat 7008                    219.57           $     4,142.00
Credit Card Charge   4/11/2023             Shopify                                                                                   21310 · AMEX Plat 7008                     84.22           $     4,226.22
Credit Card Charge   4/12/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     4,426.22
Credit Card Charge   4/14/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     4,626.22
Credit Card Charge   4/15/2023             Kickfurther                                                                               21310 · AMEX Plat 7008                      3000           $     7,626.22
Credit Card Charge   4/18/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $     7,826.22
Credit Card Charge   4/20/2023             Proforma                 MB paid for DOD invoice no. 659686                               21310 · AMEX Plat 7008                   6368.05           $    14,194.27
Credit Card Charge   4/24/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $    14,394.27
Credit Card Charge   4/24/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $    14,594.27
Credit Card Charge   4/25/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $    14,794.27
Check                4/27/2023 Wire        DOD                      Transfer funder to DOD per Hanan                                 10110 · Amegy Bank - Operating *2655      126000           $   140,794.27
Credit Card Charge   4/27/2023             Stamps.com                                                                                21310 · AMEX Plat 7008                       200           $   140,994.27
Credit Card Charge   4/28/2023             Tapfiliate                                                                                21310 · AMEX Plat 7008                        69           $   141,063.27
Invoice              4/30/2023        4255 DOD                      Goggle Suite (vendor)                                            12110 · Accounts Receivable                          538.9 $   140,524.37
Invoice              4/30/2023        4255 DOD                      Shipstation                                                      12110 · Accounts Receivable                   0            $   140,524.37
Invoice              4/30/2023        4255 DOD                      Shopify                                                          12110 · Accounts Receivable                         303.79 $   140,220.58
Invoice              4/30/2023        4255 DOD                      Social Clout Club                                                12110 · Accounts Receivable                            499 $   139,721.58
Invoice              4/30/2023        4255 DOD                      Stamps.com                                                       12110 · Accounts Receivable                           3000 $   136,721.58
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Invoice              4/30/2023        4255 DOD                      Tapfiliate                                                           12110 · Accounts Receivable                              287 $ 136,434.58
Invoice              4/30/2023        4255 DOD                      GEICO                                                                12110 · Accounts Receivable                          1066.53 $ 135,368.05
Invoice              4/30/2023        4255 DOD                      DOD                                                                  12110 · Accounts Receivable                           126000 $   9,368.05
Invoice              4/30/2023        4255 DOD                      ProForma                                                             12110 · Accounts Receivable                          6368.05 $   3,000.00
Invoice              4/30/2023        4249 DOD                      Kickfurther 4/14/2023                                                12110 · Accounts Receivable                             3000 $        -
Invoice              4/30/2023        4409 DOD                      50% Travel Expenses from ZD to DOD APRIL 2023 total = $4320.79       12110 · Accounts Receivable                           2160.4 $ (2,160.40)
General Journal      4/30/2023        4409                          50% Travel Expenses from ZD to DOD                                   73000 · Travel & Entertainment             2160.4            $        -
Credit Card Charge    5/1/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $     200.00
Credit Card Charge    5/1/2023             Google Suite (vendor)    Invoice number: 4714083756; Summary for Apr 1, 2023 - Apr 30, 2023   21105 · AMEX CORP - M BISCHOFF - 62018     267.84            $     467.84
Credit Card Charge    5/1/2023             Google Suite (vendor)                                                                         21105 · AMEX CORP - M BISCHOFF - 62018     300.61            $     768.45
Credit Card Charge    5/1/2023             Consolidated Label                                                                            21310 · AMEX Plat 7008                   20123.09            $ 20,891.54
Credit Card Charge    5/4/2023             Tapfiliate                                                                                    21310 · AMEX Plat 7008                        149            $ 21,040.54
Credit Card Charge    5/4/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $ 21,240.54
Credit Card Charge    5/5/2023             Social Clout Club                                                                             21310 · AMEX Plat 7008                        499            $ 21,739.54
Invoice               5/5/2023        4285 DOD                      Consolidated Label Co. invoice no. 451774                            12110 · Accounts Receivable                          1807.48 $ 19,932.06
Credit Card Charge    5/9/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $ 20,132.06
Credit Card Charge   5/10/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $ 20,332.06
Credit Card Charge   5/10/2023             GEICO                                                                                         21105 · AMEX CORP - M BISCHOFF - 62018      20.51            $ 20,352.57
Credit Card Charge   5/11/2023             Shopify                                                                                       21310 · AMEX Plat 7008                     247.29            $ 20,599.86
Credit Card Charge   5/11/2023             Shopify                                                                                       21310 · AMEX Plat 7008                     111.93            $ 20,711.79
Credit Card Charge   5/11/2023             Consolidated Label                                                                            21310 · AMEX Plat 7008                    1807.48            $ 22,519.27
Credit Card Charge   5/15/2023             Kickfurther                                                                                   21310 · AMEX Plat 7008                       3000            $ 25,519.27
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 450983                            12110 · Accounts Receivable                          3050.81 $ 22,468.46
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 450820                            12110 · Accounts Receivable                          4438.39 $ 18,030.07
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 451386                            12110 · Accounts Receivable                           964.45 $ 17,065.62
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 451706                            12110 · Accounts Receivable                          8760.99 $   8,304.63
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 451811                            12110 · Accounts Receivable                          2908.45 $   5,396.18
Invoice              5/16/2023        4266 DOD                      Consolidated Label Co. invoice no. 451774                            12110 · Accounts Receivable                    0             $   5,396.18
Credit Card Charge   5/18/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                       200             $   5,596.18
Check                5/19/2023 Wire        DOD                      Transfer funder to DOD per Hanan                                     10110 · Amegy Bank - Operating *2655        4000             $   9,596.18
                                                                    AMERICAN EXPRESS; ZDN paid 61,239.11 for DOD AMEX and DOD paid
Invoice              5/22/2023        4273 DOD                      $19,108.53 for ZDN AMEX                                              12110 · Accounts Receivable                         42130.58 $ (32,534.40)
Bill                 5/22/2023             American Express         Intercompany payment of cc from opposite company bank account        20100 · Accounts Payable                 42130.58            $   9,596.18
Check                5/24/2023 Wire        DOD                      Transfer funder to DOD per Hanan                                     10110 · Amegy Bank - Operating *2655        42000            $ 51,596.18
Credit Card Charge   5/24/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $ 51,796.18
Invoice              5/24/2023        4282 DOD                      Consolidated Label Co. invoice no. 452038                            12110 · Accounts Receivable                          9037.54 $ 42,758.64
Credit Card Charge   5/25/2023             Consolidated Label                                                                            21310 · AMEX Plat 7008                    9037.54            $ 51,796.18
Credit Card Charge   5/28/2023             Tapfiliate vendor                                                                             21310 · AMEX Plat 7008                         69            $ 51,865.18
Invoice              5/31/2023        4286 DOD                      Goggle Suite (vendor)                                                12110 · Accounts Receivable                           568.45 $ 51,296.73
Invoice              5/31/2023        4286 DOD                      Shopify                                                              12110 · Accounts Receivable                           359.22 $ 50,937.51
Invoice              5/31/2023        4286 DOD                      Social Clout Club                                                    12110 · Accounts Receivable                              499 $ 50,438.51
Invoice              5/31/2023        4286 DOD                      Stamps.com                                                           12110 · Accounts Receivable                             1400 $ 49,038.51
Invoice              5/31/2023        4286 DOD                      Tapfiliate                                                           12110 · Accounts Receivable                              218 $ 48,820.51
Invoice              5/31/2023        4286 DOD                      GEICO                                                                12110 · Accounts Receivable                            20.51 $ 48,800.00
Invoice              5/31/2023        4286 DOD                      DOD                                                                  12110 · Accounts Receivable                             4000 $ 44,800.00
Invoice              5/31/2023        4286 DOD                      DOD                                                                  12110 · Accounts Receivable                            42000 $   2,800.00
Credit Card Charge   5/31/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                       200             $   3,000.00
Invoice              5/31/2023        4247 DOD                      Kickfurther 5/14/2023                                                12110 · Accounts Receivable                             3000 $        -
Invoice              5/31/2023        4410 DOD                      50% Travel Expenses from ZD to DOD MAY 2023 total = $11189.79        12110 · Accounts Receivable                           5594.9 $ (5,594.90)
General Journal      5/31/2023        4410                          50% Travel Expenses from ZD to DOD                                   73000 · Travel & Entertainment             5594.9            $        -
Credit Card Charge    6/1/2023             Google Suite (vendor)    Invoice number: 4733540118; Summary for May 1, 2023 - May 31, 2023   21310 · AMEX Plat 7008                     255.84            $     255.84
Credit Card Charge    6/4/2023             Tapfiliate vendor                                                                             21310 · AMEX Plat 7008                        149            $     404.84
Credit Card Charge    6/5/2023             Stamps.com                                                                                    21310 · AMEX Plat 7008                        200            $     604.84
Credit Card Charge    6/5/2023             Social Clout Club                                                                             21310 · AMEX Plat 7008                        499            $   1,103.84
Invoice               6/6/2023        4287 DOD                      Consolidated Label Co. invoice no. 453731                            12110 · Accounts Receivable                          2803.81 $ (1,699.97)
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Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 453730                                        12110 · Accounts Receivable                  4434.97 $    (6,134.94)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 454303                                        12110 · Accounts Receivable                  2636.66 $    (8,771.60)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 454631                                        12110 · Accounts Receivable                   4438.9 $   (13,210.50)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 454632                                        12110 · Accounts Receivable                  2355.24 $   (15,565.74)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 454855                                        12110 · Accounts Receivable                   567.39 $   (16,133.13)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 455109                                        12110 · Accounts Receivable                  3359.72 $   (19,492.85)
Invoice               6/6/2023   4287 DOD                      Consolidated Label Co. invoice no. 456741                                        12110 · Accounts Receivable                 11075.25 $   (30,568.10)
Credit Card Charge    6/6/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   (30,368.10)
Credit Card Charge    6/6/2023        Consolidated Label                                                                                        21310 · AMEX Plat 7008           31671.94            $     1,303.84
Credit Card Charge    6/7/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $     1,503.84
Credit Card Charge   6/10/2023        Shopify Billing                                                                                           21310 · AMEX Plat 7008             247.29            $     1,751.13
Credit Card Charge   6/10/2023        Shopify Billing                                                                                           21310 · AMEX Plat 7008             111.93            $     1,863.06
Credit Card Charge   6/12/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $     2,063.06
Credit Card Charge   6/13/2023        DCS Print Shop LLC       MB paid for DOD invoice no. 6212 dated 5-24-23                                   21310 · AMEX Plat 7008             5749.9            $     7,812.96
Credit Card Charge   6/14/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $     8,012.96
Credit Card Charge   6/15/2023        Kickfurther                                                                                               21310 · AMEX Plat 7008               3000            $    11,012.96
Credit Card Charge   6/19/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $    11,212.96
Credit Card Charge   6/21/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $    11,412.96
Credit Card Charge   6/26/2023        Consolidated Label                                                                                        21310 · AMEX Plat 7008            2156.12            $    13,569.08
Invoice              6/26/2023   4305 DOD                      Consolidated Label Co. invoice no. 462582                                        12110 · Accounts Receivable                  2156.12 $    11,412.96
Credit Card Charge   6/26/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008               200             $    11,612.96
Credit Card Charge   6/28/2023        Tapfiliate vendor                                                                                         21310 · AMEX Plat 7008                69             $    11,681.96
Invoice              6/30/2023   4307 DOD                      DCS Print Shop LLC                                                               12110 · Accounts Receivable                   5749.9 $     5,932.06
Invoice              6/30/2023   4307 DOD                      Shopify                                                                          12110 · Accounts Receivable                   359.22 $     5,572.84
Invoice              6/30/2023   4307 DOD                      Social Clout Club                                                                12110 · Accounts Receivable                      499 $     5,073.84
Invoice              6/30/2023   4307 DOD                      Stamps.com                                                                       12110 · Accounts Receivable                     1600 $     3,473.84
Invoice              6/30/2023   4307 DOD                      Tapfiliate                                                                       12110 · Accounts Receivable                      218 $     3,255.84
Invoice              6/30/2023   4307 DOD                      Google                                                                           12110 · Accounts Receivable                   255.84 $     3,000.00
Invoice              6/30/2023   4248 DOD                      Kickfurther 6/14/2023                                                            12110 · Accounts Receivable                     3000 $          -
Invoice              6/30/2023   4411 DOD                      50% Travel Expenses from ZD to DOD JUNE 2023 total = $15130.18                   12110 · Accounts Receivable                  7565.09 $    (7,565.09)
General Journal      6/30/2023   4411                          50% Travel Expenses from ZD to DOD                                               73000 · Travel & Entertainment    7565.09            $          -
Credit Card Charge    7/1/2023        Google Suite (vendor)    Invoice number: 4751906638; Summary for Jun 1, 2023 - Jun 30, 2023               21310 · AMEX Plat 7008             268.63            $       268.63
Credit Card Charge    7/4/2023        Tapfiliate vendor                                                                                         21310 · AMEX Plat 7008                149            $       417.63
Credit Card Charge    7/5/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $       617.63
Credit Card Charge    7/5/2023        Social Clout Club                                                                                         21310 · AMEX Plat 7008                499            $     1,116.63
Credit Card Charge   7/10/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $     1,316.63
Credit Card Charge   7/10/2023        Shopify Billing                                                                                           21310 · AMEX Plat 7008             247.29            $     1,563.92
                                                               Leslie Law PLLC invoice no. 2624; split between two companies; total invoice =
Invoice              7/11/2023   4322 DOD                      $16688.70                                                                        12110 · Accounts Receivable                  8344.35 $ (6,780.43)
Credit Card Charge   7/11/2023        Shopify Billing                                                                                           21310 · AMEX Plat 7008             111.93            $ (6,668.50)
Bill                 7/11/2023   4322 Leslie Law PLLC          Outside General Counsel Services                                                 20100 · Accounts Payable          8344.35            $   1,675.85
Credit Card Charge   7/13/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   1,875.85
Credit Card Charge   7/14/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   2,075.85
Invoice              7/17/2023   4313 DOD                      Kickfurther                                                                      12110 · Accounts Receivable                 38675.83 $ (36,599.98)
Bill                 7/18/2023        Kickfurther              Invoice 10432-1 for Glaxon Co-Op #3                                              20100 · Accounts Payable         38675.83            $   2,075.85
Credit Card Charge   7/19/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   2,275.85
Credit Card Charge   7/20/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   2,475.85
Credit Card Charge   7/24/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008                200            $   2,675.85
Credit Card Charge   7/28/2023        Tapfiliate vendor                                                                                         21310 · AMEX Plat 7008                 69            $   2,744.85
Invoice              7/31/2023   4325 DOD                      Google                                                                           12110 · Accounts Receivable                   268.63 $   2,476.22
Invoice              7/31/2023   4325 DOD                      Shopify                                                                          12110 · Accounts Receivable                   359.22 $   2,117.00
Invoice              7/31/2023   4325 DOD                      Social Clout Club                                                                12110 · Accounts Receivable                      499 $   1,618.00
Invoice              7/31/2023   4325 DOD                      Stamps.com                                                                       12110 · Accounts Receivable                     1600 $      18.00
Invoice              7/31/2023   4325 DOD                      Tapfiliate                                                                       12110 · Accounts Receivable                      218 $    (200.00)
Credit Card Charge   7/31/2023        Stamps.com                                                                                                21310 · AMEX Plat 7008               200             $        -
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Invoice              7/31/2023   4412 DOD                        50% Travel Expenses from ZD to DOD JULY 2023 total = $12965.50                    12110 · Accounts Receivable                  6482.75 $ (6,482.75)
General Journal      7/31/2023   4412                            50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment    6482.75            $        -
Credit Card Charge    8/1/2023        Google Suite (vendor)      Invoice number: 4774345316; Summary for Jul 1, 2023 - Jul 31, 2023                21310 · AMEX Plat 7008             268.63            $     268.63
Invoice               8/1/2023   4324 DOD                        Kickfurther Co-Op #3:Sales Period 2                                               12110 · Accounts Receivable                 38675.83 $ (38,407.20)
Bill                  8/1/2023        Kickfurther                                                                                                  20100 · Accounts Payable         38675.83            $     268.63

Credit Card Charge    8/1/2023          Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008               900             $    1,168.63
Credit Card Charge    8/2/2023          Stamps.com                                                                                                 21310 · AMEX Plat 7008               200             $    1,368.63

Credit Card Charge    8/3/2023          Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008               900             $    2,268.63
Credit Card Charge    8/4/2023          Tapfiliate vendor                                                                                          21310 · AMEX Plat 7008               149             $    2,417.63
Credit Card Charge    8/5/2023          Social Clout Club                                                                                          21310 · AMEX Plat 7008               499             $    2,916.63

Credit Card Charge    8/5/2023          Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008               900             $    3,816.63

Credit Card Charge    8/6/2023          Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                900            $    4,716.63
Credit Card Charge    8/7/2023          Stamps.com                                                                                                 21310 · AMEX Plat 7008                200            $    4,916.63
Credit Card Charge    8/9/2023          Shopify Billing                                                                                            21310 · AMEX Plat 7008             247.29            $    5,163.92
Credit Card Charge   8/10/2023          Shopify Billing                                                                                            21310 · AMEX Plat 7008             111.93            $    5,275.85

Credit Card Charge   8/10/2023        Paypal (vendor)            Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                900            $    6,175.85
Bill                 8/14/2023   4365 Leslie Law PLLC            Outside General Counsel Services                                                  20100 · Accounts Payable         11450.89            $   17,626.74
                                                                 Leslie Law PLLC invoice no. 2640; split between two companies; total invoice =
Invoice              8/14/2023   4365 DOD                        $22901.79                                                                         12110 · Accounts Receivable                 11450.89 $    6,175.85
Credit Card Charge   8/15/2023        Kickfurther                Merchandise & Supplies-General Retail                                             21310 · AMEX Plat 7008               4000            $   10,175.85
Credit Card Charge   8/16/2023        Stamps.com                                                                                                   21310 · AMEX Plat 7008                200            $   10,375.85
Bill                 8/20/2023        Kickfurther                Invoice 10432-3 for Glaxon Co-Op #3                                               20100 · Accounts Payable         38675.84            $   49,051.69
Invoice              8/20/2023   4349 DOD                        Kickfurther Co-Op #3:Sales Period 2                                               12110 · Accounts Receivable                 38675.84 $   10,375.85
Credit Card Charge   8/21/2023        Stamps.com                                                                                                   21310 · AMEX Plat 7008                200            $   10,575.85
Bill                 8/28/2023        Kickfurther                Invoice 10588-1 for Glaxon Co-Op #4                                               20100 · Accounts Payable         25164.36            $   35,740.21
Invoice              8/28/2023   4350 DOD                        This is for consignment #4                                                        12110 · Accounts Receivable                 25164.36 $   10,575.85
Credit Card Charge   8/28/2023        Stamps.com                                                                                                   21310 · AMEX Plat 7008               200             $   10,775.85
Invoice              8/30/2023   4413 DOD                        50% Travel Expenses from ZERO to DOD AUGUST 2023 total = $1705.13                 12110 · Accounts Receivable                   852.57 $    9,923.28
Invoice              8/31/2023   4348 DOD                        Google                                                                            12110 · Accounts Receivable                   268.63 $    9,654.65
Invoice              8/31/2023   4348 DOD                        Shopify                                                                           12110 · Accounts Receivable                   359.22 $    9,295.43
Invoice              8/31/2023   4348 DOD                        Social Clout Club                                                                 12110 · Accounts Receivable                      499 $    8,796.43
Invoice              8/31/2023   4348 DOD                        Stamps.com                                                                        12110 · Accounts Receivable                     1000 $    7,796.43
Invoice              8/31/2023   4348 DOD                        Tapfiliate                                                                        12110 · Accounts Receivable                      149 $    7,647.43
Invoice              8/31/2023   4348 DOD                        KICKFURTHER                                                                       12110 · Accounts Receivable                     4000 $    3,647.43
                                                                 PayPal - these are the "Meta" Facebook advertising charged on MB Platinum for
Invoice              8/31/2023   4348 DOD                        DOD                                                                               12110 · Accounts Receivable                    5400 $    (1,752.57)

Credit Card Charge   8/31/2023          Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                900            $     (852.57)
General Journal      8/31/2023   4413                            50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment     852.57            $         -
Credit Card Charge    9/1/2023          Google Suite (vendor)    Invoice number: 4799034090; Summary for Aug 1, 2023 - Aug 31, 2023                21310 · AMEX Plat 7008             268.63            $      268.63
Credit Card Charge    9/1/2023          Tapfiliate vendor                                                                                          21310 · AMEX Plat 7008                 69            $      337.63
Credit Card Charge    9/5/2023          Social Clout Club                                                                                          21310 · AMEX Plat 7008                499            $      836.63
Credit Card Charge    9/8/2023          Shopify Billing                                                                                            21310 · AMEX Plat 7008             247.29            $    1,083.92
Credit Card Charge    9/8/2023          Tapfiliate vendor                                                                                          21310 · AMEX Plat 7008                149            $    1,232.92
Credit Card Charge    9/9/2023          Shopify Billing                                                                                            21310 · AMEX Plat 7008             111.93            $    1,344.85
Bill                 9/12/2023          Kickfurther              Invoice 10588-2 for Glaxon Co-Op #4                                               20100 · Accounts Payable         25198.32            $   26,543.17
                                                                 Leslie Law PLLC invoice no. 2649; split between two companies; total invoice =
Invoice              9/12/2023   4366 DOD                        $1636.25                                                                          12110 · Accounts Receivable                   818.13 $   25,725.04
Bill                 9/12/2023   4366 Leslie Law PLLC            Outside General Counsel Services                                                  20100 · Accounts Payable           818.13            $   26,543.17
Bill                 9/14/2023        Kickfurther                Invoice 10589-1 for Glaxon Co-Op #5                                               20100 · Accounts Payable         44209.72            $   70,752.89
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Credit Card Charge    9/14/2023             Paypal (vendor)            Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                    900             $    71,652.89
Bill                  9/15/2023             Kickfurther                Invoice 10432-5 for Glaxon Co-Op #3                                               20100 · Accounts Payable             38675.83             $   110,328.72
Credit Card Charge    9/15/2023             Kickfurther                Merchandise & Supplies-General Retail                                             21310 · AMEX Plat 7008                   4000             $   114,328.72
Bill                  9/27/2023             Kickfurther                Invoice 10588-3 for Glaxon Co-Op #4                                               20100 · Accounts Payable             25164.36             $   139,493.08
Credit Card Charge    9/28/2023             Tapfiliate vendor                                                                                            21310 · AMEX Plat 7008                     69             $   139,562.08
Bill                  9/29/2023             Kickfurther                Invoice 10589-2 for Glaxon Co-Op #5                                               20100 · Accounts Payable             44082.64             $   183,644.72
Invoice               9/30/2023        4377 DOD                        Google                                                                            12110 · Accounts Receivable                        268.63 $   183,376.09
Invoice               9/30/2023        4377 DOD                        Shopify                                                                           12110 · Accounts Receivable                        359.22 $   183,016.87
Invoice               9/30/2023        4377 DOD                        Social Clout Club                                                                 12110 · Accounts Receivable                           499 $   182,517.87
Invoice               9/30/2023        4377 DOD                        Stamps.com                                                                        12110 · Accounts Receivable                0              $   182,517.87
Invoice               9/30/2023        4377 DOD                        Tapfiliate                                                                        12110 · Accounts Receivable                           287 $   182,230.87
Invoice               9/30/2023        4377 DOD                        KICKFURTHER                                                                       12110 · Accounts Receivable                     181330.87 $       900.00
                                                                       PayPal - these are the "Meta" Facebook advertising charged on MB Platinum for
Invoice               9/30/2023        4377 DOD                        DOD                                                                               12110 · Accounts Receivable                          900 $           -

Invoice               9/30/2023        4414 DOD                        50% Travel Expenses from ZERO to DOD SEPTEMBER 2023 total = $6014.71              12110 · Accounts Receivable                       3007.36 $    (3,007.36)
General Journal       9/30/2023        4414                            50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment        3007.36             $          -
Credit Card Charge    10/1/2023             Google Suite (vendor)      Invoice number: 4799034090; Summary for Sept 1, 2023 - Sept 30, 2023              21310 · AMEX Plat 7008                 268.63             $       268.63
Bill                  10/3/2023             Kickfurther                Invoice 10432-5 for Glaxon Co-Op #3                                               20100 · Accounts Payable             38675.83             $    38,944.46
Credit Card Charge    10/4/2023             Tapfiliate vendor                                                                                            21310 · AMEX Plat 7008                    149             $    39,093.46
Credit Card Charge    10/5/2023             Social Clout Club                                                                                            21310 · AMEX Plat 7008                    499             $    39,592.46
Credit Card Charge    10/8/2023             Shopify Billing            Business Services-Conferences & Training per CC statement                         21310 · AMEX Plat 7008                 247.29             $    39,839.75
Credit Card Charge    10/8/2023             Shopify Billing            Business Services-Conferences & Training per CC statement                         21310 · AMEX Plat 7008                 111.93             $    39,951.68
                                                                       Leslie Law PLLC invoice no. 2669; split between two companies; total invoice =
Invoice              10/10/2023        4384 DOD                        $1847.50                                                                          12110 · Accounts Receivable                        923.75 $    39,027.93
Bill                 10/10/2023        4384 Leslie Law PLLC            Outside General Counsel Services                                                  20100 · Accounts Payable               923.75             $    39,951.68
Bill                 10/12/2023             Kickfurther                Invoice 10588-4 for Glaxon Co-Op #4                                               20100 · Accounts Payable             25673.76             $    65,625.44
Bill                 10/14/2023             Kickfurther                Invoice 10589-3 for Glaxon Co-Op #5                                               20100 · Accounts Payable              44195.6             $   109,821.04
Bill                 10/15/2023             Kickfurther                Invoice 10432-7 for Glaxon Co-Op #3                                               20100 · Accounts Payable             38675.84             $   148,496.88
Credit Card Charge   10/15/2023             Kickfurther                Merchandise & Supplies-General Retail                                             21310 · AMEX Plat 7008                   4000             $   152,496.88
Bill                 10/27/2023             Kickfurther                Invoice 10588-5 for Glaxon Co-Op #4                                               20100 · Accounts Payable             25164.36             $   177,661.24
Credit Card Charge   10/28/2023             Tapfiliate vendor                                                                                            21310 · AMEX Plat 7008                     69             $   177,730.24
Bill                 10/29/2023             Kickfurther                Invoice 10589-4 for Glaxon Co-Op #5                                               20100 · Accounts Payable              21391.8             $   199,122.04
Bill                 10/30/2023             Kickfurther                Invoice 10432-8 for Glaxon Co-Op #3                                               20100 · Accounts Payable             38675.84             $   237,797.88
Invoice              10/31/2023        4396 DOD                        Goggle                                                                            12110 · Accounts Receivable                        268.63 $   237,529.25
Invoice              10/31/2023        4396 DOD                        Shopify                                                                           12110 · Accounts Receivable                        359.22 $   237,170.03
Invoice              10/31/2023        4396 DOD                        Social Clout Club                                                                 12110 · Accounts Receivable                           499 $   236,671.03
Invoice              10/31/2023        4396 DOD                        Tapfiliate                                                                        12110 · Accounts Receivable                           218 $   236,453.03
Invoice              10/31/2023        4396 DOD                        KICKFURTHER                                                                       12110 · Accounts Receivable                     236453.03 $          -
Invoice              10/31/2023        4415 DOD                        50% Travel Expenses from ZERO to DOD OCTOBER 2023 total = $6776.91                12110 · Accounts Receivable                       3388.46 $    (3,388.46)
General Journal      10/31/2023        4415                            50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment        3388.46             $          -
Credit Card Charge   10/31/2023             Stamps.com                                                                                                   21310 · AMEX Plat 7008                    200             $       200.00
Invoice              10/31/2023        4396 DOD                        STAMP                                                                             12110 · Accounts Receivable                           200 $          -
Credit Card Charge    11/1/2023             Google Suite (vendor)      Invoice number: 4838221683; Summary for Oct 1, 2023 - Oct 31, 2023                21310 · AMEX Plat 7008                 268.63             $       268.63

Credit Card Charge    11/3/2023             Worldwide Express (8605)                                                                                     21310 · AMEX Plat 7008                9238.44            $      9,507.07
Credit Card Charge    11/4/2023             Tapfiliate vendor                                                                                            21310 · AMEX Plat 7008                    149            $      9,656.07
Credit Card Charge    11/5/2023             Social Clout Club                                                                                            21310 · AMEX Plat 7008                    499            $     10,155.07
Credit Card Charge    11/7/2023             Stamps.com                                                                                                   21310 · AMEX Plat 7008                    200            $     10,355.07
Credit Card Charge    11/7/2023             Shopify Billing                                                                                              21310 · AMEX Plat 7008                 111.93            $     10,467.00
Credit Card Charge    11/7/2023             Shopify Billing                                                                                              21310 · AMEX Plat 7008                 247.29            $     10,714.29

Credit Card Charge   11/11/2023             Paypal (vendor)            Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                   900             $     11,614.29
Check                11/13/2023 Wire        DOD                        Transfer funder to DOD                                                            10120 · Amegy Bank - Savings *9226      1000             $     12,614.29
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Credit Card Charge   11/14/2023                   Kickfurther               Merchandise & Supplies-General Retail                                             21310 · AMEX Plat 7008                     4000           $    16,614.29

Credit Card Charge   11/15/2023                   Paypal (vendor)           Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                      900           $    17,514.29

Credit Card Charge   11/19/2023                   Paypal (vendor)           Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                      900            $    18,414.29
Check                11/20/2023 Wire              DOD                       Transfer funder to DOD per Hanan                                                  10110 · Amegy Bank - Operating *2655       9900            $    28,314.29
Invoice              11/30/2023              4426 DOD                       Goggle                                                                            12110 · Accounts Receivable                         268.63 $    28,045.66
Invoice              11/30/2023              4426 DOD                       Shopify                                                                           12110 · Accounts Receivable                         359.22 $    27,686.44
Invoice              11/30/2023              4426 DOD                       Social Clout Club                                                                 12110 · Accounts Receivable                            499 $    27,187.44
Invoice              11/30/2023              4426 DOD                       Tapfiliate                                                                        12110 · Accounts Receivable                            149 $    27,038.44
Invoice              11/30/2023              4426 DOD                       KICKFURTHER                                                                       12110 · Accounts Receivable                           4000 $    23,038.44
Invoice              11/30/2023              4426 DOD                       STAMP                                                                             12110 · Accounts Receivable                            450 $    22,588.44
Invoice              11/30/2023              4426 DOD                       WORLDWIDE EXPRESS                                                                 12110 · Accounts Receivable                        9238.44 $    13,350.00
Invoice              11/30/2023              4426 DOD                       Paypal (vendor) "Meta" Facebook                                                   12110 · Accounts Receivable                           2700 $    10,650.00
Invoice              11/30/2023              4426 DOD                       DOD                                                                               12110 · Accounts Receivable                          10900 $      (250.00)
Invoice              11/30/2023              4430 DOD                       50% Travel Expenses from ZERO to DOD NOVEMBR 2023 total = $2822.94                12110 · Accounts Receivable                        1411.47 $    (1,661.47)
General Journal      11/30/2023              4430                           50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment           1411.47           $      (250.00)
Credit Card Charge   11/30/2023                   Stamps.com                                                                                                  21310 · AMEX Plat 7008                       250           $          -
Credit Card Charge   11/30/2023                   TikTok Ads                                                                                                  21310 · AMEX Plat 7008                       200           $       200.00
Invoice              11/30/2023              4426 DOD                       TIKTOK                                                                            12110 · Accounts Receivable                            200 $          -
Credit Card Charge    12/1/2023                   Google Suite (vendor)     Invoice number: 4859652928; Summary for Nov 1, 2023 - Nov 30, 2023                21310 · AMEX Plat 7008                    268.63           $       268.63
Credit Card Charge    12/1/2023                   Google Suite (vendor)     DOD expenses paid by MB's platinumn credit card - G Suite Business                21310 · AMEX Plat 7008                    245.61           $       514.24
Credit Card Charge    12/4/2023                   St. Denis Companies                                                                                         21310 · AMEX Plat 7008                    679.14           $     1,193.38
Credit Card Charge    12/5/2023                   Stamps.com                                                                                                  21310 · AMEX Plat 7008                        10           $     1,203.38
Credit Card Charge    12/5/2023                   Stamps.com                                                                                                  21310 · AMEX Plat 7008                       100           $     1,303.38
Credit Card Charge    12/5/2023                   TikTok Ads                                                                                                  21310 · AMEX Plat 7008                       500           $     1,803.38
Credit Card Charge    12/6/2023                   Tapfiliate vendor                                                                                           21310 · AMEX Plat 7008                        69           $     1,872.38
Credit Card Charge    12/7/2023                   Shopify Billing                                                                                             21310 · AMEX Plat 7008                    111.93           $     1,984.31
Invoice               12/7/2023              4448 DOD                       Goggle                                                                            12110 · Accounts Receivable                         514.24 $     1,470.07
Invoice               12/7/2023              4448 DOD                       Shopify                                                                           12110 · Accounts Receivable                         359.22 $     1,110.85
Invoice               12/7/2023              4448 DOD                       ST. DENIS                                                                         12110 · Accounts Receivable                         679.14 $       431.71
Invoice               12/7/2023              4448 DOD                       Tapfiliate                                                                        12110 · Accounts Receivable                             69 $       362.71
Invoice               12/7/2023              4448 DOD                       KICKFURTHER                                                                       12110 · Accounts Receivable                           4000 $    (3,637.29)
Invoice               12/7/2023              4448 DOD                       STAMP                                                                             12110 · Accounts Receivable                            110 $    (3,747.29)
Invoice               12/7/2023              4448 DOD                       TIKTOK                                                                            12110 · Accounts Receivable                           1000 $    (4,747.29)
Invoice               12/7/2023              4448 DOD                       DOD                                                                               12110 · Accounts Receivable                           7600 $   (12,347.29)
Invoice               12/7/2023              4448 DOD                       DOD                                                                               12110 · Accounts Receivable                           7000 $   (19,347.29)
Invoice               12/7/2023              4448 DOD                       WORLDWIDE                                                                         12110 · Accounts Receivable                   0            $   (19,347.29)
Invoice               12/7/2023              4448 DOD                       GORGIAS                                                                           12110 · Accounts Receivable                          66.39 $   (19,413.68)
Credit Card Charge   12/21/2023                   Kickfurther               Merchandise & Supplies-General Retail                                             21310 · AMEX Plat 7008                      4000           $   (15,413.68)
Credit Card Charge   12/21/2023                   TikTok Ads                                                                                                  21310 · AMEX Plat 7008                       500           $   (14,913.68)
Credit Card Charge   12/23/2023                   Shopify Billing                                                                                             21310 · AMEX Plat 7008                    247.29           $   (14,666.39)
Check                12/26/2023 Wire              DOD                       Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655        7000           $    (7,666.39)
Credit Card Charge   12/26/2023                   GORGIAS                                                                                                     21200 · Chase United Visa                  66.39           $    (7,600.00)
Check                12/29/2023 Wire              DOD                       Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655        7600           $          -
Invoice              12/31/2023              4431 DOD                       50% Travel Expenses from ZERO to DOD DECEMBER 2023 total = $547.52                12110 · Accounts Receivable                         273.76 $      (273.76)
General Journal      12/31/2023              4431                           50% Travel Expenses from ZD to DOD                                                73000 · Travel & Entertainment            273.76           $          -
General Journal        1/2/2024 GOOGLE            Google Suite (vendor)     Invoice number: 4879951518; Summary for Dec 1, 2023 - Dec 31, 2023                25150 · Shareholder Loans                 290.09           $       290.09
General Journal        1/3/2024 01032024CF        Cash Fund                 Payment for CASH FUND ST loan                                                     24236 · ST Loan - CashFund (Credibily)                5000 $    (4,709.91)

Credit Card Charge     1/6/2024                   Worldwide Express (8605)                                                                                    21310 · AMEX Plat 7008                   7891.66          $     3,181.75
Credit Card Charge    1/15/2024                   Gorgias Inc.             customer service platform per EXPENSIFY                                            21200 · Chase United Visa                  63.84          $     3,245.59
Credit Card Charge    1/19/2024                   PGC Logistics, LLC       paid for invoices 81645 81657 82128; pgc is an DOD vendor                          21200 · Chase United Visa                 772.97          $     4,018.56
Credit Card Charge    1/19/2024                   Kickfurther              Merchandise & Supplies-General Retail                                              21310 · AMEX Plat 7008                      4000          $     8,018.56
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                   Credit Card Charge   1/20/2024             Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                      10.49           $     8,029.05

                   Credit Card Charge   1/20/2024             Paypal (vendor)          Business Services-Advertising Services- for "Meta" Facebook advertising for DOD   21310 · AMEX Plat 7008                     359.03            $    8,388.08
                   Credit Card Charge   1/20/2024             Shopify Billing                                                                                            21310 · AMEX Plat 7008                     247.29            $    8,635.37
                   Credit Card Charge   1/20/2024             Shopify Billing                                                                                            21310 · AMEX Plat 7008                     111.93            $    8,747.30
                   Check                1/26/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         2000            $   10,747.30
                   Invoice              1/30/2024        4450 DOD                      Facebook                                                                          12110 · Accounts Receivable                           369.52 $   10,377.78
                   Invoice              1/30/2024        4450 DOD                      Shopify                                                                           12110 · Accounts Receivable                           359.22 $   10,018.56
                   Invoice              1/30/2024        4450 DOD                      PGC Logistics, LLC                                                                12110 · Accounts Receivable                           772.97 $    9,245.59
                   Invoice              1/30/2024        4450 DOD                      DOD                                                                               12110 · Accounts Receivable                             2000 $    7,245.59
                   Invoice              1/30/2024        4450 DOD                      KICKFURTHER                                                                       12110 · Accounts Receivable                             4000 $    3,245.59
                   Invoice              1/30/2024        4450 DOD                      Google                                                                            12110 · Accounts Receivable                           290.09 $    2,955.50
                   Invoice              1/30/2024        4450 DOD                      Payment for CASH FUND ST loan                                                     12110 · Accounts Receivable                 5000             $    7,955.50
                   Invoice              1/30/2024        4450 DOD                      Gorgias Inc                                                                       12110 · Accounts Receivable                            63.84 $    7,891.66
                   Invoice              1/30/2024        4450 DOD                      WorldWide Express (7717)                                                          12110 · Accounts Receivable                          7891.66 $         -
                   Check                 2/2/2024             Google Suite (vendor)    Memo:2469216Dg33S266Sb 6103 Google *Gsuite_Zerodaycc@Go                           10110 · Amegy Bank - Operating *2655       294.22            $      294.22
                   Check                2/15/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         4000            $    4,294.22
                   Check                 3/4/2024             Google Suite (vendor)    2469216Ea31S2Lqn0 6103 Google *Gsuite_Gbnuco.Cc@Go                                10110 · Amegy Bank - Operating *2655         0.79            $    4,295.01
                   Check                 3/4/2024             Google Suite (vendor)    2469216Ea31S2Lqn0 6103 Google *Gsuite_Gbnuco.Cc@Go                                10110 · Amegy Bank - Operating *2655       294.22            $    4,589.23
                   Check                 3/5/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         9950            $   14,539.23
                   Check                 3/8/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         6500            $   21,039.23
                   Check                3/12/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         4000            $   25,039.23
                   Check                3/13/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         2000            $   27,039.23
                   Check                3/13/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         1500            $   28,539.23
                   Check                3/14/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         1000            $   29,539.23
                   Check                3/14/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655         3500            $   33,039.23
                   Check                3/14/2024 Wire        DOD                      Transfer funder to DOD                                                            10110 · Amegy Bank - Operating *2655          360            $   33,399.23

Total 13100 ·
InterCompany
Receivable - DOD                                                                                                                                                                                                5836946.59 5803547.36 $   33,399.23
TOTAL                                                                                                                                                                                                           5836946.59 5803547.36 $   33,399.23
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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

      No.
          Yes. State the nature of the information collected and retained.

                Billing details of bank and credit card information, shipping address
                details all stored in shipping application and QuickBooks.
                Does the debtor have a privacy policy about that information?
                 No
                 Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and          Last 4 digits of           Type of account or          Date account was                Last balance
               Address                                 account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                                Case number (if known) 24-31134




      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.                                             Sales and marketing entity for                    EIN:
            Day One Distribution LLC                                                                                XX-XXXXXXX
            12502 Exchange Drive                     private-labeled nutritional
            Suite 448                                supplement products.                              From-To      08/30/2019 - present
            Stafford, TX 77477

   25.2.                                             Joint business venture between                    EIN:
            Zero Torque Manufacturing,
            LLC                                      Torque Lifestyle Brands, Inc.
            Attn: David Lovatt                       (51%) and Zero Day Nutrition                      From-To      07/21/21
            11427 West I-70 Frontage                 Company (49%). Business
            Road North                               never was funded or operated
            Wheat Ridge, CO 80033

   25.3.                                                                                               EIN:
            Talisman LLC dba Sender
            Brand
            1043 Cameron Crossing                                                                      From-To      06/01/22 - present
            Drive
            Westerville, OH 43081


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Melton & Melton LLP                                                                                                2022
                    6002 Rogerdale Rd., Suite 200
                    Stafford, TX 77477
      26a.2.        Hanan Soliman                                                                                                      08/22/22 - 12/13/23
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.3.        Chadwick Rood
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.4.        Stewart Nixon
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.5.        Thomas Zennen



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

            None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.



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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.  SBA (Texas Gulf Bank)
                    900 Town & Country Lane
                    Suite 100
                    Houston, TX 77024

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Michael L. Bischoff, Jr.                12502 Exchange Dr., Suite 448                                                                 100
                                                                                                      President and sole shareholder
                                              Stafford, TX 77477



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value
                      To be supplemented
31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134




   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 11, 2024
   Michael Bischoff with permission by /s/ Melissa A. Haselden
                                                                Michael Bischoff
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                      United States Bankruptcy Court
                                                               Southern District of Texas
 In re    Zero Day Nutrition Company f/k/a GB Nutrition Company                                                   Case No.       24-31134
                                                            Debtor(s)                                             Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Michael L. Bischoff, Jr.                                                          100%                                       Shares
c/o Zero Day Nutrition Company
12502 Exchange Dr, Suite 448
Stafford, TX 77477


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.


                                                                                             Michael Bischoff with permission by /s/ Melissa A. Haselden
Date April 11, 2024                                                      Signature
                                                                                        Michael Bischoff

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
